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 The relief described hereinbelow is SO ORDERED.
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 Signed September 09, 2022.                
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                                                        Ronald B. King
                                                United States Bankruptcy Judge
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         &DPHRQIRUFRQVLGHUDWLRQWKHPRWLRQ WKH³Motion´ RI*UHJRU\60LOOLJDQFKDSWHU

  WUXVWHH LQ WKH DERYHFDSWLRQHG EDQNUXSWF\ FDVHV WKH ³Trustee´  IRU DQ RUGHU SXUVXDQW WR

  VHFWLRQVDQGRIWLWOHRIWKH8QLWHG6WDWHV&RGH WKH³Bankruptcy Code´ 5XOHV

  DQGRIWKH)HGHUDO5XOHVRI%DQNUXSWF\3URFHGXUH WKH³Bankruptcy Rules´ DQGWKH/RFDO

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   &DSLWDOL]HGWHUPVXVHGEXWQRWGHILQHGKHUHLQVKDOOKDYHWKHPHDQLQJVDVFULEHGWRWKHPLQ6DOHV&RQWUDFW DVGHILQHG
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      L  DSSURYLQJ D  ELG SURFHGXUHV IRU WKH VDOH RI FHUWDLQ UHDO HVWDWH WKH ³Property´  RZQHG E\

  'HEWRUV'DU\O*UHJ6PLWK ³Smith” DQG&DQDGLDQ5LYHU5DQFK//&DQG'DUUHQ.HLWK5HHG

      ³Reed´DQGWRJHWKHUZLWKWKH7UXVWHHWKH³Sellers´ LQFOXGLQJWKHDSSURYDORID6WDONLQJ+RUVH

  %LGGHU E  HVWDEOLVKLQJ D GDWH IRU DQ DXFWLRQ LI WKH 7UXVWHH UHFHLYHV RQH RU PRUH WLPHO\ DQG

  DFFHSWDEOH4XDOLILHG%LGV WKH³Auction´ DQGDILQDOKHDULQJ WKH³Sale Hearing´ WRDSSURYHWKH

  VDOHRIWKH3URSHUW\ WKH³Sale Transaction´  F DSSURYLQJWKHIRUPDQGPDQQHURIQRWLFHRIWKH

  $XFWLRQDQG6DOH+HDULQJDQG G JUDQWLQJUHODWHGUHOLHIDQGDQ LL RUGHU D DSSURYLQJWKHVDOHRI

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  VHFWLRQVDQGRIWKH%DQNUXSWF\&RGHDQG E JUDQWLQJUHODWHGUHOLHIDOODVPRUHIXOO\

  GHVFULEHGLQWKH0RWLRQDQGWKLV&RXUWKDYLQJHQWHUHGDQRUGHURQ-XO\ 'RF  WKH

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  DGGLWLRQDO4XDOLILHG%LGGHUKDYLQJVXEPLWWHGDFRPSHWLQJELGIRUWKH3URSHUW\DQGWKH6WDONLQJ

  +RUVH %LGGHU KDYLQJ GHFOLQHG WR VXEPLW D KLJKHU ELG SULRU WR WKH VFKHGXOHG $XFWLRQ DQG WKH

  7UXVWHH KDYLQJGHWHUPLQHGWKDW3XUFKDVHUUHSUHVHQWVWKHKLJKHVWDQGRWKHUZLVHEHVWELGIRU WKH

  3URSHUW\DQGDILQDOKHDULQJ WKH³Sale Hearing´ WRDSSURYHWKHVDOHRIWKH3URSHUW\ WKH³Sale

  Transaction´ KDYLQJEHHQKHOGRQ6HSWHPEHUWRFRQVLGHUDSSURYDORIWKH6DOHV&RQWUDFW

      DVGHILQHGKHUHLQ DQGWKH&RXUWKDYLQJGHWHUPLQHGWKDWQRWLFHRIWKH0RWLRQZDVDGHTXDWHDQG

  VXIILFLHQWDQGDOOVXFKSDUWLHVKDYLQJEHHQDIIRUGHGGXHSURFHVVDQGDQRSSRUWXQLW\WREHKHDUG

  ZLWK UHVSHFWWRWKH0RWLRQDQGDOOUHOLHIUHTXHVWHGWKHUHLQDQGWKH &RXUWKDYLQJ UHYLHZHGDQG

  FRQVLGHUHG L WKH0RWLRQ LL WKHREMHFWLRQVDQGUHVSRQVLYHSOHDGLQJVILOHGLQFRQQHFWLRQZLWK

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  E\5HHG7KHRWKHUDFUHVWKDWFRPSULVHWKH3URSHUW\LVRZQHGE\&DQDGLDQ5LYHU5DQFK//&


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  6DOH +HDULQJDQGWKH6DOH+HDULQJKDYLQJEHHQKHOGDQGDIWHUGXHGHOLEHUDWLRQDQGVXIILFLHQW

  FDXVHDSSHDULQJWKHUHIRUKHUHE\ILQGVDQGGHWHUPLQHVWKDW

           $       -XULVGLFWLRQDQG9HQXH7KH&RXUWKDVMXULVGLFWLRQWRFRQVLGHUWKH0RWLRQDQGWKH

  UHOLHI UHTXHVWHG WKHUHLQ SXUVXDQW WR  86&   DQG  DQG WKH Standing Order of

  Reference from the United States District Court for the Western District of TexasWKHFRQVLGHUDWLRQ

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  DUHVHFWLRQV D DQGRIWKH%DQNUXSWF\&RGH%DQNUXSWF\5XOHVDQG

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  3URFHGXUHV2UGHU DQGWKH6DOH1RWLFHDQGWKHSURSRVHGHQWU\RIWKLV2UGHUWRWKH6DOH1RWLFH

  3DUWLHVZDVDGHTXDWHDQGVXIILFLHQWXQGHUWKHFLUFXPVWDQFHVRIWKHVHFKDSWHUFDVHVDQGVXFK

  QRWLFH FRPSOLHG ZLWK DOO DSSOLFDEOH UHTXLUHPHQWV XQGHU WKH %DQNUXSWF\ &RGH WKH %DQNUXSWF\

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  ZHUHQRWUHDVRQDEO\DVFHUWDLQHGE\WKH7UXVWHHQRWLFHZDVVXIILFLHQWDQGUHDVRQDEO\FDOFXODWHG

  XQGHUWKHFLUFXPVWDQFHVWRUHDFKVXFKHQWLWLHV$FFRUGLQJO\QRIXUWKHUQRWLFHRIRUKHDULQJRQ

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  DGGXFHGDWWKH6DOH+HDULQJDQG LL WKHUHSUHVHQWDWLRQVRIFRXQVHOPDGHRQWKHUHFRUGDWWKH6DOH

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  WR SURGXFH WKH KLJKHVW DQG RWKHUZLVH EHVW RIIHU IRU WKH 3URSHUW\ LQ FRPSOLDQFH ZLWK WKH %LG

  3URFHGXUHV2UGHU7KH%LG3URFHGXUHVZHUHVXEVWDQWLYHO\DQGSURFHGXUDOO\IDLUWRDOOSDUWLHV7KH

  VDOHSURFHVV%LG3URFHGXUHVDQG$XFWLRQZHUHQRQFROOXVLYHGXO\QRWLFHGDQGDIIRUGHGDIXOO

  IDLU DQG UHDVRQDEOH RSSRUWXQLW\ IRU DQ\ 3HUVRQ WR PDNH D KLJKHU DQG RWKHUZLVH EHWWHU RIIHU WR

  SXUFKDVHWKH3URSHUW\7KHELGGLQJDQGUHODWHGSURFHGXUHVHVWDEOLVKHGE\WKH%LG3URFHGXUHV2UGHU

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  DFDVKELGLQWKHDPRXQWRI WKH³Purchase Price´ VXEMHFWWRDGMXVWPHQWDVVHWIRUWK

  LQ WKDW FHUWDLQ 6DOHV &RQWUDFW GDWHG DV RI 6HSWHPEHU   DV DPHQGHG VXSSOHPHQWHG RU

  RWKHUZLVHPRGLILHGIURPWLPHWRWLPHLQFOXGLQJDOO([KLELWV6FKHGXOHVDQG$SSHQGLFHVWKHUHWR

   WKH³Sales Contract´DWWDFKHGKHUHWRDV([KLELW E\DQGDPRQJWKH7UXVWHH5HHGDQG5LFKDUG

  (ULF 0XUGRFN DQG /LVD $QQ 0XUGRFN WKH ³Purchaser´  7KH 3XUFKDVHU LV DSSURYHG DV WKH

  6XFFHVVIXO%LGGHUDVVXFKWHUPLVGHILQHGLQWKH%LG3URFHGXUHVIRUWKH3URSHUW\RQWKHWHUPVVHW

  IRUWKLQWKH6DOHV&RQWUDFWE\DQGDPRQJWKH3XUFKDVHUWKH7UXVWHHDQG5HHG

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  RIIHUHG WKH QH[W KLJKHVW RU RWKHUZLVH EHVW 4XDOLILHG %LG ZKLFK LV DFDVK ELG LQ WKH DPRXQW RI

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  $JUHHPHQW DVGHILQHGEHORZ %URDFKLVDSSURYHGDVWKH%DFN8S%LGGHUDVVXFKWHUPLVGHILQHG

  LQWKH%LG3URFHGXUHVIRUWKH3URSHUW\RQWKHWHUPVVHWIRUWKLQWKHIRUPRIWKH%DFN8S%LGGHU¶V

  6DOHV&RQWUDFW WKH³Back-Up Bidder Agreement´ DWWDFKHGKHUHWRDV([KLELW

           +       'XH$XWKRULW\7KH7UXVWHHDQG5HHGKDYHHDFKDSSURYHGWKH6DOHV&RQWUDFWDQG

  WKH FRQVXPPDWLRQ RI WKH 6DOH 7UDQVDFWLRQ RQ EHKDOI RI WKH 6HOOHUV DQG WKH 6HOOHUV¶ VDOH RI WKH




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  3URSHUW\WRWKH3XUFKDVHUKDVEHHQGXO\DQGYDOLGO\DXWKRUL]HGE\DOOQHFHVVDU\FRUSRUDWHRURWKHU

  HQWLW\DFWLRQ7KH6HOOHUVKDYHIXOOSRZHUDQGDXWKRULW\WRH[HFXWHWKH6DOHV&RQWUDFWDQGDOORWKHU

  GRFXPHQWV FRQWHPSODWHG WKHUHE\ DQG WR FRQVXPPDWH WKH 6DOH 7UDQVDFWLRQ  1R FRQVHQWV RU

  DSSURYDOVRWKHUWKDQWKRVHH[SUHVVO\SURYLGHGIRULQWKH6DOHV&RQWUDFWDUHUHTXLUHGIRUWKH6HOOHUV

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  LQWHUHVW 7KH 7UXVWHH KDV GHPRQVWUDWHG JRRG VXIILFLHQW DQG VRXQG EXVLQHVV SXUSRVHV DQG

  MXVWLILFDWLRQVIRUWKHVDOHWRWKH3XUFKDVHUSXUVXDQWWRVHFWLRQ E RIWKH%DQNUXSWF\&RGH6XFK

  EXVLQHVVSXUSRVHVDQGMXVWLILFDWLRQVLQFOXGHEXWDUHQRWOLPLWHGWRWKDWWKH6DOHV&RQWUDFWDQGWKH

  FORVLQJWKHUHRQZLOOSUHVHQWWKHEHVWRSSRUWXQLW\WRUHDOL]HWKHYDOXHRIWKH3URSHUW\DQGDYRLG

  GHFOLQHDQGGHYDOXDWLRQRIWKH3URSHUW\

           -       7KHFRQVLGHUDWLRQWREHSURYLGHGE\WKH3XUFKDVHUSXUVXDQWWRWKH6DOHV&RQWUDFW

   L LV IDLU DQG UHDVRQDEOH LL  LV WKH KLJKHVW DQG RWKHUZLVH EHVW RIIHU IRU WKH 3URSHUW\ LLL ZLOO

  SURYLGH D JUHDWHU UHFRYHU\ IRU WKH 'HEWRUV¶ FUHGLWRUV WKDQ ZRXOG EH SURYLGHG E\ DQ\ RWKHU

  SUDFWLFDOO\ DYDLODEOH DOWHUQDWLYH DQG LY  FRQVWLWXWHV UHDVRQDEO\ HTXLYDOHQW YDOXH DQG IDLU

  FRQVLGHUDWLRQ ,Q UHDFKLQJ WKLV GHWHUPLQDWLRQ WKH &RXUW KDV WDNHQ LQWR DFFRXQW ERWK WKH

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  FRQVWLWXWHVWKHKLJKHVWDQGRWKHUZLVHEHVWRIIHUIRUWKH3URSHUW\LVDUHVXOWRIGXHGHOLEHUDWLRQE\

  WKH7UXVWHHDQGFRQVWLWXWHVDYDOLGDQGVRXQGH[HUFLVHRIWKH7UXVWHH¶VEXVLQHVVMXGJPHQW(QWU\

  RI DQ RUGHU DSSURYLQJ WKH 6DOH 0RWLRQ6DOHV&RQWUDFWDQGWKH6DOH7UDQVDFWLRQLVDQHFHVVDU\

  FRQGLWLRQSUHFHGHQWWRWKH3XUFKDVHUFRQVXPPDWLQJWKH6DOH7UDQVDFWLRQ




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           .       $UP¶V/HQJWK6DOH7KH6DOHV &RQWUDFW ZDVQHJRWLDWHG SURSRVHGDQGHQWHUHG

  LQWRE\WKH7UXVWHH5HHGDQGWKH3XUFKDVHUZLWKRXWFROOXVLRQLQJRRGIDLWKDQGZDVWKHUHVXOWRI

  DUP¶VOHQJWKEDUJDLQLQJEHWZHHQWKHSDUWLHVUHSUHVHQWHGE\LQGHSHQGHQWFRXQVHO7KH%DFN8S

  %LGGHU$JUHHPHQWZDVQHJRWLDWHGDQGSURSRVHGE\WKH7UXVWHH5HHGDQG%URDFKLQJRRGIDLWK

  ZLWKRXWFROOXVLRQDQGZDVWKHUHVXOWRIDUP¶VOHQJWKEDUJDLQLQJEHWZHHQWKHSDUWLHVUHSUHVHQWHG

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           /       *RRG )DLWK 3XUFKDVHU 7KH 3XUFKDVHU LV D JRRG IDLWK SXUFKDVHU XQGHU

  VHFWLRQ P RIWKH%DQNUXSWF\&RGHDQGDVVXFKLVHQWLWOHGWRDOORIWKHSURWHFWLRQVDIIRUGHG

  WKHUHE\ 7KH 3XUFKDVHU LV DFWLQJ LQ JRRG IDLWK ZLWKLQ WKH PHDQLQJ RI VHFWLRQ  P  LQ

  FRQVXPPDWLQJWKH6DOH7UDQVDFWLRQ7KH3XUFKDVHUKDVSURFHHGHGLQJRRGIDLWKLQDOOUHVSHFWVLQ

  WKDWinter alia L WKH3XUFKDVHUUHFRJQL]HGWKDWWKH7UXVWHHZDVIUHHWRGHDOZLWKDQ\RWKHUSDUW\

  LQWHUHVWHGLQDFTXLULQJWKH3URSHUW\ LL WKH3XUFKDVHUFRPSOLHGZLWKWKHSURYLVLRQVRIWKH%LG

  3URFHGXUHV2UGHU LLL WKH3XUFKDVHU¶VELGZDVVXEMHFWHGWRWKHFRPSHWLWLYHELGSURFHGXUHVVHW

  IRUWKLQWKH%LG3URFHGXUHV2UGHU LY QRFRPPRQLGHQWLW\RIGLUHFWRUVRURIILFHUVH[LVWVDPRQJ

  WKH3XUFKDVHU6HOOHUVDQGWKH'HEWRUVDQG Y DOOSD\PHQWVWREHPDGHE\WKH3XUFKDVHUDQGDOO

  RWKHU PDWHULDO DJUHHPHQWV RU DUUDQJHPHQWV HQWHUHG LQWR E\ WKH 3XUFKDVHU DQG WKH 6HOOHUV LQ

  FRQQHFWLRQZLWKWKH6DOH7UDQVDFWLRQKDYHEHHQGLVFORVHG

           0       /HJDO9DOLGDQG%LQGLQJ7UDQVIHU7KH6HOOHUVDUHWKHVROHDQGODZIXORZQHUVRI

  WKH3URSHUW\RURWKHUZLVHKDYHDYDOLGHQIRUFHDEOHSURSHUW\LQWHUHVWLQVXFKDQGWLWOHWR D  L DQ

  XQGLYLGHG  LQWHUHVW LQ WKH  DFUHV RI WKH 3URSHUW\ LV YHVWHG LQ WKH 'HEWRU 6PLWK¶V HVWDWH




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  ZLWKLQWKHPHDQLQJRIVHFWLRQ D RIWKH%DQNUXSWF\&RGHDQG LL WKHUHPDLQLQJLQWHUHVW

  LV KHOG E\ 5HHG DQG E  D  LQWHUHVW LQ  DFUHV RI WKH 3URSHUW\ LV YHVWHG LQ WKH 'HEWRU

  &DQDGLDQ5LYHU5DQFK//&¶VHVWDWHZLWKLQWKHPHDQLQJRIVHFWLRQ D RIWKH%DQNUXSWF\&RGH

  7KH6HOOHUVKDYHDOOULJKWWLWOHDQGLQWHUHVWLQWKH3URSHUW\UHTXLUHGWRWUDQVIHUDQGFRQYH\WKH

  3URSHUW\WRWKH3XUFKDVHU7KHWUDQVIHURIWKH3URSHUW\WRWKH3XUFKDVHUZLOOEHDOHJDOYDOLGDQG

  HIIHFWLYH WUDQVIHU RI WKH 3URSHUW\ DQG H[FHSW DV SURYLGHG LQ WKH 6DOHV &RQWUDFW ZLOO YHVW WKH

  3XUFKDVHUZLWKDOOULJKWWLWOHDQGLQWHUHVWRIWKH6HOOHUVWRWKH3URSHUW\IUHHDQGFOHDURIDOOOLHQV

  FODLPVHQFXPEUDQFHVDQGRWKHULQWHUHVWVRIDQ\NLQGDQGHYHU\NLQGZKDWVRHYHU LQFOXGLQJOLHQV

  FODLPVHQFXPEUDQFHVDQGRWKHULQWHUHVWVRIDQ\*RYHUQPHQWDO$XWKRULW\DVGHILQHGLQWKH6DOHV

  &RQWUDFW RWKHUWKDQWKRVHOLHQVFODLPVHQFXPEUDQFHVDQGRWKHULQWHUHVWVVSHFLILFDOO\DVVXPHG

  E\WKH3XUFKDVHUSXUVXDQWWRWKH6DOHV&RQWUDFW7KHVDOHRIWKH3URSHUW\VKDOODOVREHIUHHDQG

  FOHDURIWKRVHOLHQVFODLPVHQFXPEUDQFHVDQGRWKHULQWHUHVWVWKDWSXUSRUWWRJLYHWRDQ\SDUW\D

  ULJKWRURSWLRQWRHIIHFWXDWHDQ\IRUIHLWXUHPRGLILFDWLRQRUWHUPLQDWLRQRIWKH6HOOHUV¶LQWHUHVWVLQ

  WKH3URSHUW\RUDQ\VLPLODUULJKWV

           1       7KH 6DOHV &RQWUDFW LV D YDOLG DQG ELQGLQJ FRQWUDFW EHWZHHQ WKH 6HOOHUV DQG WKH

  3XUFKDVHUZKLFKLVDQGVKDOOEHHQIRUFHDEOHDFFRUGLQJWRLWVWHUPV

           2       )UHHDQG&OHDU7KH3XUFKDVHUZRXOGQRWKDYHHQWHUHGLQWRWKH6DOHV&RQWUDFWDQG

  ZRXOGQRWFRQVXPPDWHWKH6DOH7UDQVDFWLRQWKXVDGYHUVHO\DIIHFWLQJWKH'HEWRUV¶HVWDWHVDQGWKHLU

  FUHGLWRUVLIWKHWUDQVIHURIWKH3URSHUW\WRWKH3XUFKDVHUZDVQRWIUHHDQGFOHDURIDOOOLHQVFODLPV

  HQFXPEUDQFHVDQGRWKHULQWHUHVWVRIDQ\NLQGRUQDWXUHZKDWVRHYHURULIWKH3XUFKDVHUZRXOGRU

  LQWKHIXWXUHFRXOGEHOLDEOHIRUDQ\VXFKOLHQFODLPHQFXPEUDQFHRURWKHULQWHUHVW$VDOHRIWKH

  3URSHUW\ RWKHU WKDQ RQH IUHH DQG FOHDU RI DQ\ OLHQV FODLPV HQFXPEUDQFHV DQG RWKHU LQWHUHVWV




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  ZRXOG DGYHUVHO\ LPSDFW WKH 'HEWRUV¶ HVWDWHV DQG ZRXOG \LHOG VXEVWDQWLDOO\ OHVV YDOXH IRU WKH

  HVWDWHV

           3       6XEMHFWWRWKHSURYLVLRQVRIWKLV2UGHUDQGH[FHSWDVPD\EHVSHFLILFDOO\SURYLGHG

  LQ WKH 6DOHV &RQWUDFW WKH 6HOOHUV PD\ VHOO WKH 3URSHUW\ IUHH DQG FOHDU RI DOO OLHQV FODLPV

  HQFXPEUDQFHVDQGRWKHULQWHUHVWVRIDQ\NLQGRUQDWXUHZKDWVRHYHUEHFDXVHLQHDFKFDVHRQHRU

  PRUHRIWKHVWDQGDUGVVHWIRUWKLQVHFWLRQ I  WKURXJK  RIWKH%DQNUXSWF\&RGHKDYHEHHQ

  VDWLVILHG (DFK HQWLW\ ZLWK D OLHQ FODLP HQFXPEUDQFH RU RWKHU LQWHUHVW LQ WKH 3URSHUW\ WR EH

  WUDQVIHUUHGRQWKHGDWHWKH6DOH7UDQVDFWLRQLVFRQVXPPDWHG WKH³Closing Date´  L KDVVXEMHFW

  WRWKHWHUPVDQGFRQGLWLRQVRIWKLV2UGHUFRQVHQWHGWRWKH6DOH7UDQVDFWLRQRULVGHHPHGWRKDYH

  FRQVHQWHG LL FRXOGEHFRPSHOOHGLQDOHJDORUHTXLWDEOHSURFHHGLQJWRDFFHSWPRQH\VDWLVIDFWLRQ

  RIVXFKOLHQFODLPHQFXPEUDQFHRURWKHULQWHUHVWRU LLL RWKHUZLVHIDOOVZLWKLQWKHSURYLVLRQVRI

  VHFWLRQ I RIWKH%DQNUXSWF\&RGH7KRVHKROGHUVRIOLHQVFODLPVHQFXPEUDQFHVDQGRWKHU

  LQWHUHVWV ZKR GLG QRW REMHFW WR WKH 0RWLRQ DUH GHHPHG WR KDYH FRQVHQWHG SXUVXDQW WR VHFWLRQ

   I  RIWKH%DQNUXSWF\&RGH

           4       1RWD6XE5RVD3ODQ7KH6DOHV&RQWUDFWDQG6DOH7UDQVDFWLRQGRQRWFRQVWLWXWH

  DQ LPSHUPLVVLEOH sub rosa FKDSWHU  SODQ IRU ZKLFK DSSURYDO KDV EHHQ VRXJKW ZLWKRXW WKH

  SURWHFWLRQVWKDWDGLVFORVXUHVWDWHPHQWZRXOGDIIRUG7KH6DOHV&RQWUDFWDQGWKH6DOH7UDQVDFWLRQ

  QHLWKHULPSHUPLVVLEO\UHVWUXFWXUHWKHULJKWVRIWKH'HEWRUV¶FUHGLWRUVQRULPSHUPLVVLEO\GLFWDWHWKH

  WHUPVRIDSODQIRUWKH'HEWRUV

           5       1R)UDXGXOHQW7UDQVIHU7KH6DOHV&RQWUDFWZDVQRWHQWHUHGLQWRIRUWKHSXUSRVH

  RIKLQGHULQJGHOD\LQJRUGHIUDXGLQJFUHGLWRUVXQGHUWKH%DQNUXSWF\&RGHRUXQGHUWKHODZVRI

  WKH8QLWHG6WDWHVRUDQ\VWDWHWHUULWRU\RUSRVVHVVLRQWKHUHRIRUWKH'LVWULFWRI&ROXPELD7KH

  6HOOHUVDQGWKH3XUFKDVHUDUHQRWHQWHULQJLQWRWKH6DOH7UDQVDFWLRQIUDXGXOHQWO\




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           6       1R6XFFHVVRU/LDELOLW\7KH3XUFKDVHU L LVQRWDQGVKDOOQRWEHFRQVLGHUHGD

  VXFFHVVRULQLQWHUHVWWRWKH'HEWRUV LL KDVQRWde facto RURWKHUZLVHPHUJHGZLWKRULQWRWKH

  'HEWRUV LLL LVQRWDFRQWLQXDWLRQRUVXEVWDQWLDOFRQWLQXDWLRQRIWKH'HEWRUVRUDQ\HQWHUSULVHRI

  WKH'HEWRUVDQG LY LVQRWKROGLQJWKHPVHOYHVRXWWRWKHSXEOLFDVDFRQWLQXDWLRQRIWKH'HEWRUV

  ([FHSWDVRWKHUZLVHVSHFLILFDOO\SURYLGHGLQWKH6DOHV&RQWUDFWWKHWUDQVIHURIWKH3URSHUW\WRWKH

  3XUFKDVHUGRHVQRWDQGZLOOQRWVXEMHFWWKH3XUFKDVHUWRDQ\OLDELOLW\ZKDWVRHYHUZLWKUHVSHFWWR

  WKH RSHUDWLRQ RI WKH 'HEWRUV¶ EXVLQHVVHV EHIRUH WKH &ORVLQJ 'DWH RU E\ UHDVRQ RI VXFK WUDQVIHU

  XQGHUWKHODZVRIWKH8QLWHG6WDWHVDQ\VWDWHWHUULWRU\RUSRVVHVVLRQWKHUHRIRUWKH'LVWULFWRI

  &ROXPELD EDVHG LQ ZKROH RU LQ SDUW GLUHFWO\ RU LQGLUHFWO\ RQ DQ\ WKHRU\ RI ODZ RU HTXLW\

  LQFOXGLQJZLWKRXWOLPLWDWLRQDQ\WKHRU\RIDQWLWUXVWVXFFHVVRUWUDQVIHUHHRUDVVLJQHHOLDELOLW\

           7       3URPSW &RQVXPPDWLRQ 7LPH LV RI WKH HVVHQFH LQ FRQVXPPDWLQJ WKH 6DOH

  7UDQVDFWLRQ7KH7UXVWHHKDVGHPRQVWUDWHGFRPSHOOLQJFLUFXPVWDQFHVDQGDJRRGVXIILFLHQWDQG

  VRXQG EXVLQHVV SXUSRVH DQG MXVWLILFDWLRQ IRU WKH LPPHGLDWH DSSURYDO DQG FRQVXPPDWLRQ RI WKH

  WUDQVDFWLRQFRQWHPSODWHGE\WKH6DOHV&RQWUDFWLQFOXGLQJZLWKRXWOLPLWDWLRQWKH6DOH7UDQVDFWLRQ

           8       *RRGDQG6XIILFLHQW&DXVH7KHUHLVRWKHUJRRGDQGVXIILFLHQWFDXVHWRJUDQWWKH

  UHOLHIUHTXHVWHGLQWKH0RWLRQDQGDSSURYHWKH6DOHV&RQWUDFWDQGWKH6DOH7UDQVDFWLRQ

           9       /HJDO DQG )DFWXDO %DVHV 7KH ILQGLQJV RI IDFW DQG FRQFOXVLRQV RI ODZ KHUHLQ

  FRQVWLWXWHWKH&RXUW¶VILQGLQJVRIIDFWDQGFRQFOXVLRQVRIODZIRUWKHSXUSRVHVRI%DQNUXSWF\5XOH

  PDGHDSSOLFDEOHSXUVXDQWWR%DQNUXSWF\5XOH7RWKHH[WHQWDQ\ILQGLQJVRIIDFWVDUH

  FRQFOXVLRQVRIODZWKH\DUHDGRSWHGDVVXFK7RWKHH[WHQWDQ\FRQFOXVLRQVRIODZDUHILQGLQJVRI

  IDFWWKH\DUHDGRSWHGDVVXFK7KH&RXUW¶VILQGLQJVVKDOODOVRLQFOXGHDQ\RUDOILQGLQJVRIIDFWDQG

  FRQFOXVLRQVRIODZPDGHE\WKH&RXUWGXULQJRUDWWKHFRQFOXVLRQRIWKH6DOH+HDULQJ




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           12:7+(5()25(,7,6+(5(%<25'(5('7+$7

                                                 *HQHUDO3URYLVLRQV

                  7KH QRWLFH RI WKH 6DOH 0RWLRQ DQG 6DOH +HDULQJ DUH DSSURYHG DV EHLQJ IDLU

  UHDVRQDEOHDQGDGHTXDWHXQGHUWKHFLUFXPVWDQFHVDQGDQ\DGGLWLRQDOQRWLFHDVPD\RWKHUZLVHEH

  UHTXLUHGXQGHUVWDWHDQGIHGHUDOODZLVKHUHE\GHHPHGVDWLVILHG

                  7KH0RWLRQLV*5$17('WRWKHH[WHQWVHWIRUWKKHUHLQ

                  $OOREMHFWLRQVWRWKHUHOLHIUHTXHVWHGLQWKH0RWLRQRUWKHHQWU\RIWKLV2UGHULIDQ\

  WKDWKDYHQRWEHHQZLWKGUDZQZDLYHGRUVHWWOHGDVDQQRXQFHGWRWKH&RXUWDWWKH6DOH+HDULQJDUH

  GHQLHGDQGRYHUUXOHGLQWKHLUHQWLUHW\RQWKHPHULWVZLWKSUHMXGLFH

                                   $SSURYDORI)UHHDQG&OHDU6DOHRIWKH3URSHUW\

                  7KH 6DOHV &RQWUDFW DOO H[KLELWV DQG VFKHGXOHV WKHUHWR DQG DOO RI WKH WHUPV DQG

  FRQGLWLRQVWKHUHRIDUHKHUHE\DSSURYHG7KH7UXVWHHVKDOOILOHILQDOYHUVLRQVRIWKH6DOHV&RQWUDFW

  DQGDOORWKHUDQFLOODU\GRFXPHQWVZLWKWKH&RXUWXSRQFORVLQJWKH6DOH7UDQVDFWLRQ

                  3XUVXDQWWRVHFWLRQVDQGRIWKH%DQNUXSWF\&RGHWKH7UXVWHHLVDXWKRUL]HG

  WR L H[HFXWHGHOLYHUDQGSHUIRUPXQGHUFRQVXPPDWHDQGLPSOHPHQWWKH6DOHV&RQWUDFWDQGWKH

  6DOH7UDQVDFWLRQWRJHWKHUZLWKDOODGGLWLRQDOLQVWUXPHQWVDQGGRFXPHQWVWKDWDUHUHTXHVWHGE\WKH

  3XUFKDVHUDQGPD\EHUHDVRQDEO\QHFHVVDU\RUGHVLUDEOHWRLPSOHPHQWWKH6DOHV&RQWUDFWDQGWKH

  6DOH7UDQVDFWLRQDQG LL WDNHDQ\DQGDOODFWLRQVDVWKH\GHHPQHFHVVDU\DSSURSULDWHRUDGYLVDEOH

  IRUWKHSXUSRVHRIDVVLJQLQJWUDQVIHUULQJJUDQWLQJFRQYH\LQJDQGFRQIHUULQJWRWKH3XUFKDVHURU

  UHGXFLQJWRSRVVHVVLRQWKH3URSHUW\RUDVPD\EHQHFHVVDU\RUDSSURSULDWHWRWKHSHUIRUPDQFHRI

  WKHREOLJDWLRQVDVFRQWHPSODWHGE\WKH6DOHV&RQWUDFWDQGWKH6DOH7UDQVDFWLRQLQFOXGLQJZLWKRXW

  OLPLWDWLRQDQ\DQGDOODFWLRQVUHDVRQDEO\UHTXHVWHGE\WKH3XUFKDVHUZKLFKDUHFRQVLVWHQWZLWKWKH

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                  3XUVXDQWWRVHFWLRQV D DQG I RIWKH%DQNUXSWF\&RGHXSRQWKH&ORVLQJ

  'DWH L WKHWUDQVIHURIWKH3URSHUW\WRWKH3XUFKDVHUSXUVXDQWWRWKH6DOHV&RQWUDFWVKDOOFRQVWLWXWH

  DOHJDOYDOLGDQGHIIHFWLYHWUDQVIHURIWKH3URSHUW\DQGVKDOOYHVWWKH3XUFKDVHUZLWKDOOULJKWWLWOH

  DQGLQWHUHVWLQDQGWRWKH3URSHUW\ LL WKH3URSHUW\VKDOOEHWUDQVIHUUHGWRWKH3XUFKDVHUIUHHDQG

  FOHDURIDOOOLHQVFODLPVHQFXPEUDQFHVDQGRWKHULQWHUHVWVRIDQ\NLQGDQGHYHU\NLQGZKDWVRHYHU

   LQFOXGLQJ EXW QRW OLPLWHG WR DQ\ OLHQV FODLPV HQFXPEUDQFHV DQG RWKHU LQWHUHVWV RI DQ\

  *RYHUQPHQWDO$XWKRULW\DQ\FODLPVRUDVVHUWLRQVEDVHGRQDQ\WKHRU\RIVXFFHVVRURUWUDQVIHUHH

  OLDELOLW\ DQG DQ\ UHVWULFWLRQ RQ WKH XVH WUDQVIHU UHFHLSW RI LQFRPH RU RWKHU H[HUFLVH RI DQ\

  DWWULEXWHVRIRZQHUVKLSRIWKH3URSHUW\ RWKHUWKDQWKRVHOLHQVFODLPVHQFXPEUDQFHVDQGRWKHU

  LQWHUHVWVVSHFLILFDOO\DVVXPHGE\WKH3XUFKDVHUSXUVXDQWWRWKH6DOHV&RQWUDFWDQG LLL DOO3HUVRQV

  DUHIRUHYHUSURKLELWHGDQGHQMRLQHGIURPFRPPHQFLQJRUFRQWLQXLQJLQDQ\PDQQHUDQ\DFWLRQRU

  RWKHU SURFHHGLQJ ZKHWKHU LQ ODZ RU HTXLW\ DJDLQVW 3XUFKDVHU ZLWK UHVSHFW WR DQ\ VXFK OLHQV

  FODLPV HQFXPEUDQFHV DQG RWKHU LQWHUHVWV LQFOXGLQJ EXW QRW OLPLWHG WR DQ\ OLHQV FODLPV

  HQFXPEUDQFHV DQG RWKHU LQWHUHVWV RI DQ\ *RYHUQPHQWDO $XWKRULW\ DV GHILQHG LQ WKH 6DOHV

  &RQWUDFW DQ\FODLPVRUDVVHUWLRQVEDVHGRQDQ\WKHRU\RIVXFFHVVRURUWUDQVIHUHHOLDELOLW\DQGDQ\

  UHVWULFWLRQRQWKHXVHWUDQVIHUUHFHLSWRILQFRPHRURWKHUH[HUFLVHRIDQ\DWWULEXWHVRIRZQHUVKLS

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  LQWHUHVWVHQFXPEHUHGWKH3URSHUW\SULRUWRWKHSURSRVHGVDOH7KH7UXVWHHVKDOOEHDXWKRUL]HGWR

  GLVWULEXWHWKHSURFHHGVIURPWKH6DOHXSRQFORVLQJLQWKHHVWLPDWHGDPRXQWVVHWIRUWKLQWKHFKDUW

  DWWDFKHGKHUHWRDV([KLELW:KHQWKHHVWLPDWHGDPRXQWVLQ([KLELWDUHILQDOL]HGDQGSDLGWKH

  7UXVWHHVKDOOILOHDQXSGDWHG([KLELWZLWKWKH&RXUW




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                  2QWKH&ORVLQJ'DWHWKLV2UGHUVKDOOEHFRQVWUXHGDQGVKDOOFRQVWLWXWHIRUDQ\DQG

  DOO SXUSRVHV D IXOO DQG FRPSOHWH JHQHUDO DVVLJQPHQW FRQYH\DQFH DQG WUDQVIHU RI WKH 6HOOHUV¶

  LQWHUHVWLQWKH3URSHUW\RUDELOORIVDOHWUDQVIHUULQJJRRGDQGPDUNHWDEOHWLWOHLQWKH3URSHUW\

                  3XUVXDQWWRWKH6DOHV&RQWUDFWDQGWKLV2UGHUWKHWUDQVIHUDQGDVVLJQPHQWRIWKH

  3URSHUW\VKDOOEHHIIHFWXDWHGRQWKHWHUPVVHWIRUWKWKHUHLQDQGKHUHLQDQGVKDOOQRWEHUHVWULFWHG

  RUSURKLELWHGQRWZLWKVWDQGLQJDQ\DOOHJHGDSSURYDOULJKWVFRQVHQWULJKWVSUHIHUHQWLDOSXUFKDVH

  ULJKWVULJKWVRISXUFKDVHULJKWVRIILUVWUHIXVDOULJKWVRIILUVWRIIHURUVLPLODUULJKWVZLWKUHVSHFW

  WRWKH6HOOHUV¶WUDQVIHUVDOHYHVWLQJDVVXPSWLRQDQGRUDVVLJQPHQWRIWKH3URSHUW\

                 7KLV 2UGHU LV DQG VKDOO EH HIIHFWLYH DV D GHWHUPLQDWLRQ WKDW DOO OLHQV FODLPV

  HQFXPEUDQFHV DQG RWKHU LQWHUHVWV VKDOO EH DQG DUH ZLWKRXW IXUWKHU DFWLRQ E\ DQ\ 3HUVRQ

  XQFRQGLWLRQDOO\UHOHDVHGGLVFKDUJHGDQGWHUPLQDWHGZLWKUHVSHFWWRWKH3URSHUW\DVRIWKH&ORVLQJ

  'DWHH[FHSWDVPD\RWKHUZLVHEHVHWIRUWKLQWKH6DOHV&RQWUDFW

                 ([FHSWDVRWKHUZLVHSURYLGHGKHUHLQRULQWKH6DOHV&RQWUDFWRQWKH&ORVLQJ'DWH

  WKH'HEWRUV¶FUHGLWRUVDUHDXWKRUL]HGDQGGLUHFWHGWRH[HFXWHVXFKGRFXPHQWVDQGLQVWUXPHQWVDQG

  WRWDNHDOORWKHUDFWLRQVDVPD\EHUHDVRQDEO\QHFHVVDU\WRGRFXPHQWDQGHIIHFWXDWHWKHUHOHDVHRI

  WKHLUOLHQVFODLPVHQFXPEUDQFHVDQGRWKHULQWHUHVWVLQWKH3URSHUW\LIDQ\DVVXFKOLHQVFODLPV

  HQFXPEUDQFHVDQGRWKHULQWHUHVWVPD\KDYHEHHQUHFRUGHGRUPD\RWKHUZLVHH[LVW,IDQ\VXFK

  FUHGLWRUIDLOVWRH[HFXWHDQ\VXFKGRFXPHQWVRULQVWUXPHQWVRUWDNHDQ\VXFKDFWLRQVWKH7UXVWHH

  LVDXWKRUL]HGWRH[HFXWHVXFKGRFXPHQWVDQGLQVWUXPHQWVDQGWRWDNHVXFKDFWLRQVRQEHKDOIRIWKH

  FUHGLWRUVRDVWRGRFXPHQWWKHUHOHDVHRIVXFKOLHQVFODLPVHQFXPEUDQFHVDQGRWKHULQWHUHVWV




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                                           1R6XFFHVVRU/LDELOLW\

                 7KH3XUFKDVHUDQGLWVDIILOLDWHVVXFFHVVRUVDQGDVVLJQVVKDOOQRWEHGHHPHGDVD

  UHVXOWRIDQ\DFWLRQWDNHQLQFRQQHFWLRQZLWKWKHWUDQVIHURIWKH3URSHUW\WR L EHDVXFFHVVRUWR

  WKH'HEWRUVRUWKHHVWDWHV LL KDYHde facto RURWKHUZLVHPHUJHGRUFRQVROLGDWHGZLWKRULQWRWKH

  'HEWRUVRUWKHHVWDWHVRU LLL EHDFRQWLQXDWLRQRUVXEVWDQWLDOFRQWLQXDWLRQRIWKH'HEWRUVRUDQ\

  HQWHUSULVH RI WKH 'HEWRUV DQG WKH 3XUFKDVHU VKDOO KDYH QR VXFFHVVRU WUDQVIHUHH RU YLFDULRXV

  OLDELOLW\RIDQ\NLQGRUFKDUDFWHULQFOXGLQJEXWQRWOLPLWHGWRXQGHUDQ\WKHRU\RIIRUHLJQIHGHUDO

  VWDWHRUORFDODQWLWUXVWHQYLURQPHQWDOVXFFHVVRUWD[DVVLJQHHRUWUDQVIHUHHOLDELOLW\ODERUSURGXFW

  OLDELOLW\ HPSOR\PHQW de facto PHUJHU VXEVWDQWLDO FRQWLQXLW\ RU RWKHU ODZ UXOH RU UHJXODWLRQ

  ZKHWKHU NQRZQRUXQNQRZQDVRIWKH&ORVLQJ'DWHQRZH[LVWLQJRUKHUHDIWHUDULVLQJZKHWKHU

  DVVHUWHGRUXQDVVHUWHGIL[HGRUFRQWLQJHQWOLTXLGDWHGRUXQOLTXLGDWHGZLWKUHVSHFWWRWKH'HEWRUV

  RUDQ\REOLJDWLRQVRIWKH'HEWRUVDULVLQJSULRUWRWKH&ORVLQJ'DWHLQFOXGLQJEXWQRWOLPLWHGWR

  OLDELOLWLHV RQ DFFRXQW RI DQ\ WD[HV RU RWKHU *RYHUQPHQWDO $XWKRULW\ IHHV FRQWULEXWLRQV RU

  VXUFKDUJHVDULVLQJDFFUXLQJRUSD\DEOHXQGHURXWRILQFRQQHFWLRQZLWKRULQDQ\ZD\UHODWLQJ

  WRWKHRSHUDWLRQRIWKH3URSHUW\SULRUWRWKH&ORVLQJ'DWH([FHSWDVRWKHUZLVHSURYLGHGKHUHLQRU

  LQWKH6DOHV&RQWUDFWWKHWUDQVIHURIWKH3URSHUW\WRWKH3XUFKDVHUSXUVXDQWWRWKH6DOHV&RQWUDFW

  VKDOOQRWUHVXOWLQWKH3XUFKDVHURULWVDIILOLDWHVPHPEHUVRUVKDUHKROGHUVRUWKH3URSHUW\KDYLQJ

  DQ\OLDELOLW\RUUHVSRQVLELOLW\IRURUEHLQJUHTXLUHGWRVDWLVI\LQDQ\PDQQHUZKHWKHULQODZRULQ

  HTXLW\ZKHWKHUE\SD\PHQWVHWRIIRURWKHUZLVHGLUHFWO\RULQGLUHFWO\ L DQ\FODLPDJDLQVWWKH

  'HEWRUVRUDJDLQVWDQ\LQVLGHURIWKH'HEWRUVRU LL DQ\OLHQFODLPHQFXPEUDQFHRURWKHULQWHUHVW

                 8SRQWKH&ORVLQJDQGH[FHSWDVRWKHUZLVHH[SUHVVO\SURYLGHGLQWKH6DOHV&RQWUDFW

  WKH3XUFKDVHUVKDOOQRWEHOLDEOHIRUDQ\FODLPVDJDLQVWDQGOLDELOLWLHVRIWKH'HEWRUVRUDQ\RIWKH

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                 7KH3XUFKDVHUKDVJLYHQVXEVWDQWLDOFRQVLGHUDWLRQXQGHUWKH6DOHV&RQWUDFWWRWKH

  6PLWK HVWDWH 7KH FRQVLGHUDWLRQ JLYHQ E\ WKH 3XUFKDVHU VKDOO FRQVWLWXWH YDOLG DQG YDOXDEOH

  FRQVLGHUDWLRQ IRU WKH UHOHDVHV RI DQ\ SRWHQWLDO FODLPV RI VXFFHVVRU RU WUDQVIHUHH OLDELOLW\ RI WKH

  3XUFKDVHUZKLFKUHOHDVHVVKDOOEHGHHPHGWRKDYH EHHQ JLYHQLQ IDYRURI WKH3XUFKDVHUE\DOO

  KROGHUVRIOLHQVFODLPVHQFXPEUDQFHVDQGRWKHULQWHUHVWVDJDLQVWWKH'HEWRUVRUWKH3URSHUW\

                                            1R)UDXGXOHQW7UDQVIHU

                 7KHFRQVLGHUDWLRQSURYLGHGE\WKH3XUFKDVHUXQGHUWKH6DOHV&RQWUDFWFRQVWLWXWHV

   L UHDVRQDEO\HTXLYDOHQWYDOXHXQGHUWKH%DQNUXSWF\&RGHDQGWKH8QLIRUP)UDXGXOHQW7UDQVIHU

  $FW LL IDLUFRQVLGHUDWLRQXQGHUWKH8QLIRUP)UDXGXOHQW&RQYH\DQFH$FWDQG LLL UHDVRQDEO\

  HTXLYDOHQWYDOXHIDLUFRQVLGHUDWLRQDQGIDLUYDOXHXQGHUDQ\RWKHUDSSOLFDEOH/DZVRIWKH8QLWHG

  6WDWHVDQ\VWDWHWHUULWRU\RUSRVVHVVLRQWKHUHRIRUWKH'LVWULFWRI&ROXPELD7KHFRQVLGHUDWLRQ

  SURYLGHGE\WKH3XUFKDVHUIRUWKH3URSHUW\XQGHUWKH6DOHV&RQWUDFWLVIDLUDQGUHDVRQDEOHDQGPD\

  QRWEHDYRLGHGXQGHUVHFWLRQ Q RIWKH%DQNUXSWF\&RGH

                                                   *RRG)DLWK

                 7KH 6DOHV &RQWUDFW DQG WKH 6DOH 7UDQVDFWLRQ DUH XQGHUWDNHQ E\ WKH 3XUFKDVHU

  ZLWKRXWFROOXVLRQDQGLQJRRGIDLWKDVWKDWWHUPLVXVHGLQVHFWLRQ P RIWKH%DQNUXSWF\&RGH

  DQGDFFRUGLQJO\WKHUHYHUVDORUPRGLILFDWLRQRQDSSHDORIWKHDXWKRUL]DWLRQSURYLGHGKHUHLQWR

  FRQVXPPDWHWKH6DOHV&RQWUDFWDQGWKH6DOH7UDQVDFWLRQVKDOOQRWDIIHFWWKHYDOLGLW\RIWKHVDOHRI

  WKH3URSHUW\WRWKH3XUFKDVHUXQOHVVWKLV2UGHULVGXO\VWD\HGSHQGLQJVXFKDSSHDO7KH3XUFKDVHU

  LV D JRRG IDLWK SXUFKDVHU RI WKH 3URSHUW\ DQG LV HQWLWOHG WR DOO RI WKH EHQHILWV DQG SURWHFWLRQV

  DIIRUGHGE\VHFWLRQ P RIWKH%DQNUXSWF\&RGH

                                             $GGLWLRQDO3URYLVLRQV

                 7KLV 2UGHU LV DQG VKDOO EH ELQGLQJ XSRQ DQG VKDOO JRYHUQ DFWV RI DOO HQWLWLHV

  LQFOXGLQJ ZLWKRXW OLPLWDWLRQ DOO ILOLQJ DJHQWV ILOLQJ RIILFHUV WLWOH DJHQWV WLWOH FRPSDQLHV


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  UHFRUGHUV RI PRUWJDJHV UHFRUGHUV RI IHHV UHJLVWUDUV RI GHHGV DGPLQLVWUDWLYH DJHQFLHV

  JRYHUQPHQWDO GHSDUWPHQWV VHFUHWDULHV RI VWDWH IHGHUDO VWDWH DQG ORFDO RIILFLDOV DQG DOO RWKHU

  3HUVRQVZKRPD\EHUHTXLUHGE\RSHUDWLRQRIODZWKHGXWLHVRIWKHLURIILFHRUFRQWUDFWWRDFFHSW

  ILOH UHJLVWHU RU RWKHUZLVH UHFRUG RU UHOHDVH DQ\ GRFXPHQWV RU LQVWUXPHQWV WKDW UHIOHFW WKDW WKH

  3XUFKDVHU LV WKH DVVLJQHH DQG RZQHU RI WKH 3URSHUW\ IUHH DQG FOHDU RI DOO OLHQV FODLPV

  HQFXPEUDQFHVDQGRWKHULQWHUHVWV DOOVXFKHQWLWLHVEHLQJUHIHUUHGWRDV³Recording Officers´ $OO

  5HFRUGLQJ 2IILFHUV DUH DXWKRUL]HG DQG VSHFLILFDOO\ GLUHFWHG WR VWULNH UHFRUGHG /LHQV FODLPV

  HQFXPEUDQFHVDQGLQWHUHVWVDJDLQVWWKH3URSHUW\UHFRUGHGSULRUWRWKHGDWHRIWKLV2UGHUXQOHVVWKH

  6DOHV &RQWUDFW H[SUHVVO\ SURYLGHV WKDW WKH 3XUFKDVHU LV DFTXLULQJ WKH 3URSHUW\ VXEMHFW WR VXFK

  FODLPV/LHQVDQGLQWHUHVWV

                 )ROORZLQJWKH&ORVLQJ'DWHQRKROGHURIDQ\OLHQFODLPHQFXPEUDQFHRURWKHU

  LQWHUHVW RQ WKH 3URSHUW\ RU RWKHU SDUW\ LQ LQWHUHVW PD\ LQWHUIHUH ZLWK WKH 3XUFKDVHU¶V XVH DQG

  HQMR\PHQWRIWKH3URSHUW\EDVHGRQRUUHODWHGWRVXFKOLHQFODLPHQFXPEUDQFHRURWKHULQWHUHVW

  RUDQ\DFWLRQVWKDWWKH7UXVWHHRU'HEWRUVPD\WDNHLQWKHLUFKDSWHUFDVHVDQGQRSDUW\PD\

  WDNH DQ\ DFWLRQ WR SUHYHQW LQWHUIHUH ZLWK RU RWKHUZLVH HQMRLQ FRQVXPPDWLRQ RI WKH 6DOH

  7UDQVDFWLRQ

                 ([FHSW DV H[SUHVVO\ SHUPLWWHG RU RWKHUZLVH VSHFLILFDOO\ SURYLGHG E\ WKH 6DOHV

  &RQWUDFW RU WKLV 2UGHU DOO SHUVRQV DQG HQWLWLHV LQFOXGLQJ EXW QRW OLPLWHG WR DOO GHEW VHFXULW\

  KROGHUVHTXLW\VHFXULW\KROGHUVJRYHUQPHQWDOWD[DQGUHJXODWRU\DXWKRULWLHVOHQGHUVWUDGHDQG

  RWKHUFUHGLWRUVKROGLQJLQWHUHVWVRIDQ\NLQGRUQDWXUHZKDWVRHYHUDJDLQVWRULQWKH'HEWRURUWKH

  3URSHUW\ ZKHWKHUOHJDORUHTXLWDEOHVHFXUHGRUXQVHFXUHGPDWXUHGRUXQPDWXUHGFRQWLQJHQWRU

  QRQFRQWLQJHQWVHQLRURUVXERUGLQDWHG DULVLQJXQGHURURXWRILQFRQQHFWLRQZLWKRULQDQ\ZD\

  UHODWLQJWRWKH'HEWRUVWKH3URSHUW\WKHRZQHUVKLSRURSHUDWLRQRIWKH3URSHUW\SULRUWRWKHFORVLQJ




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  RIWKHVDOHRUWKHVDOHRIWKH3URSHUW\DUHIRUHYHUEDUUHGHVWRSSHGDQGSHUPDQHQWO\HQMRLQHGIURP

  DVVHUWLQJ DJDLQVW WKH 3XUFKDVHU LWV VXFFHVVRUV RU DVVLJQV LWV SURSHUW\ RU WKH 3URSHUW\ VXFK

  SHUVRQV¶RUHQWLWLHV¶LQWHUHVWV

                 1REXONVDOHVODZRUDQ\VLPLODUODZRIDQ\VWDWHRURWKHUMXULVGLFWLRQVKDOODSSO\LQ

  DQ\ ZD\ WR WKH WUDQVDFWLRQV DXWKRUL]HG KHUHLQ LQFOXGLQJ WKH 6DOHV &RQWUDFW DQG WKH 6DOH

  7UDQVDFWLRQ

                 7KHWHUPVDQGSURYLVLRQVRIWKH6DOHV&RQWUDFWWKHDQFLOODU\DJUHHPHQWVDQGWKLV

  2UGHU VKDOO EH ELQGLQJ LQ DOO UHVSHFWV XSRQ DQG VKDOO LQXUH WR WKH EHQHILW RI WKH 7UXVWHH WKH

  3XUFKDVHUDQGLWVUHVSHFWLYHDIILOLDWHVVXFFHVVRUVDQGDVVLJQVWKH'HEWRUV¶HVWDWHVDOOFUHGLWRUV

  RI ZKHWKHUNQRZQRUXQNQRZQ DQGDQ\DIIHFWHGWKLUGSDUWLHVQRWZLWKVWDQGLQJWKHGLVPLVVDORI

  WKH'HEWRUV¶FDVHVRUFRQYHUVLRQRIWKH'HEWRUV¶FDVHVWRFDVHVXQGHUFKDSWHUDVWRZKLFKWUXVWHH

  VXFKWHUPVDQGSURYLVLRQVOLNHZLVHVKDOOEHELQGLQJDQGQRWVXEMHFWWRUHMHFWLRQRUDYRLGDQFH7KH

  6DOHV&RQWUDFWWKH6DOH7UDQVDFWLRQDQGWKLV2UGHUVKDOOEHHQIRUFHDEOHDJDLQVWDQGELQGLQJXSRQ

  DQGVKDOOQRWEHVXEMHFWWRUHMHFWLRQRUDYRLGDQFHE\DQ\FKDSWHUWUXVWHHDSSRLQWHGLQWKH&KDSWHU

  &DVHV)XUWKHUQRWKLQJFRQWDLQHGLQDQ\SODQFRQILUPHGLQWKHVH&KDSWHU&DVHVRUDQ\RUGHU

  FRQILUPLQJDQ\SODQRUDQ\RWKHURUGHUHQWHUHGLQWKHVHFDVHVVKDOOFRQIOLFWZLWKRUGHURJDWHIURP

  WKHSURYLVLRQVRIWKH6DOHV&RQWUDFWRUWKHWHUPVRIWKLV2UGHU

                 7KH6DOHV&RQWUDFWDQGDQ\UHODWHGDJUHHPHQWVGRFXPHQWVRURWKHULQVWUXPHQWV

  PD\EHDPHQGHGE\WKHSDUWLHVLQDZULWLQJVLJQHGE\VXFKSDUWLHVZLWKRXWIXUWKHURUGHURIWKH

  &RXUWSURYLGHGWKDWDQ\VXFKDPHQGPHQWGRHVQRWKDYHDPDWHULDODGYHUVHHIIHFWRQWKH'HEWRUV

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                 7KHIDLOXUHWRLQFOXGHVSHFLILFDOO\DQ\SDUWLFXODUSURYLVLRQRIWKH6DOHV&RQWUDFWLQ

  WKLV2UGHUVKDOOQRWGLPLQLVKRULPSDLUWKHHIIHFWLYHQHVVRIVXFKSURYLVLRQLWEHLQJWKHLQWHQWRI

  WKH&RXUWWKDWWKH6DOHV&RQWUDFWEHDXWKRUL]HGDQGDSSURYHGLQLWVHQWLUHW\

                 7RWKHH[WHQWRIDQ\LQFRQVLVWHQF\EHWZHHQWKHSURYLVLRQVRIWKLV2UGHUWKH6DOHV

  &RQWUDFWDQGDQ\GRFXPHQWVH[HFXWHGLQFRQQHFWLRQWKHUHZLWKWKHSURYLVLRQVFRQWDLQHGLQWKLV

  2UGHUWKH6DOHV&RQWUDFWDQGDQ\GRFXPHQWVH[HFXWHGLQFRQQHFWLRQWKHUHZLWKVKDOOJRYHUQLQ

  WKDWRUGHU

                 1RWKLQJLQWKLV2UGHUWKH6DOHV&RQWUDFWRUDQ\GRFXPHQWH[HFXWHGLQFRQQHFWLRQ

  ZLWKWKHFRQVXPPDWLRQWKHUHRIVKDOODXWKRUL]HRUFRQVWLWXWHDWUDQVIHURIWLWOHWRSURSHUW\ZKLFKLV

  H[FOXGHGIURPWKHSURSHUW\RIWKH'HEWRUV¶HVWDWHVSXUVXDQWWRVHFWLRQ E  RIWKH%DQNUXSWF\

  &RGH

                 1RWZLWKVWDQGLQJ DQ\WKLQJ WR WKH FRQWUDU\ LQ WKH %LG 3URFHGXUHV RU WKH %LG

  3URFHGXUHV2UGHU%URDFKVKDOONHHSKLV%DFN8S%LG DVGHILQHGLQWKH%LG3URFHGXUHV RSHQDQG

  LUUHYRFDEOHXQWLOWKHILUVWWRRFFXURI L QLQHW\  GD\VDIWHUWKHFRPSOHWLRQRIWKH$XFWLRQ LL 

  FRQVXPPDWLRQRIWKHWUDQVDFWLRQZLWKWKH6XFFHVVIXO%LGGHURU LLL WKH%DFN8S%LGGHU¶VUHFHLSW

  RIQRWLFHIURPWKH7UXVWHHRIWKHUHOHDVHE\WKH7UXVWHHRIWKH%DFN8S%LGGHU¶VREOLJDWLRQV,IWKH

  3XUFKDVHUIDLOVWRFRQVXPPDWHWKHDSSURYHG6DOH7UDQVDFWLRQEHFDXVHRIDEUHDFKRUIDLOXUHWR

  SHUIRUPRQWKHSDUWRIWKH3XUFKDVHURURWKHUZLVHWKH7UXVWHHVKDOOEHDXWKRUL]HGEXWQRWUHTXLUHG

  WRGHHP%URDFKWKH3XUFKDVHUDQGWRFRQVXPPDWHWKHVDOHZLWK%URDFKZLWKRXWIXUWKHURUGHURI

  WKLV &RXUW ,Q VXFK HYHQW %URDFK VKDOO EH GHHPHG WKH 3XUFKDVHU DQG WKH %DFN8S %LGGHU

  $JUHHPHQWVKDOOEHGHHPHGWKH6DOHV&RQWUDFWIRUSXUSRVHVRIWKLV2UGHU

                 7KHSURYLVLRQVRIWKLV2UGHUDUHQRQVHYHUDEOHDQGPXWXDOO\GHSHQGHQW+HDGLQJV

  DUHLQFOXGHGLQWKLV2UGHUIRUHDVHRIUHIHUHQFHRQO\




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                 7KHSURYLVLRQVRIWKLV2UGHUDXWKRUL]LQJWKHVDOHDQGDVVLJQPHQWRIWKH3URSHUW\

  IUHHDQGFOHDURIDOOOLHQVFODLPVHQFXPEUDQFHVDQGRWKHULQWHUHVWVVKDOOEHVHOIH[HFXWLQJDQG

  QRWZLWKVWDQGLQJ WKH IDLOXUH RI WKH 6HOOHUV WKH 3XUFKDVHU RU DQ\ RWKHU SDUW\ WR H[HFXWH ILOH RU

  REWDLQUHOHDVHVWHUPLQDWLRQVWDWHPHQWVDVVLJQPHQWVFRQVHQWVRURWKHULQVWUXPHQWVWRHIIHFWXDWH

  FRQVXPPDWHDQGRULPSOHPHQWWKHSURYLVLRQVKHUHRIDOOOLHQVFODLPVHQFXPEUDQFHVDQGRWKHU

  LQWHUHVWV RWKHUWKDQWKRVHH[SUHVVO\DVVXPHGE\WKH3XUFKDVHURUSHUPLWWHGWRVXUYLYHXQGHUWKH

  6DOHV &RQWUDFW  RQ RU DJDLQVW VXFK 3URSHUW\ LI DQ\ VKDOO EH GHHPHG UHOHDVHG GLVFKDUJHG DQG

  WHUPLQDWHG

                 )URPWLPHWRWLPHDVDQGZKHQUHTXHVWHGE\DQ\3DUW\HDFK3DUW\WRWKH6DOHV

  &RQWUDFWVKDOOH[HFXWHDQGGHOLYHURUFDXVHWREHH[HFXWHGDQGGHOLYHUHGDOOVXFKGRFXPHQWVDQG

  LQVWUXPHQWVDQGVKDOOWDNHRUFDXVHWREHWDNHQDOOVXFKIXUWKHURURWKHUDFWLRQVDVVXFKRWKHUSDUW\

  PD\UHDVRQDEO\GHHPQHFHVVDU\RUGHVLUDEOHWRFRQVXPPDWHWKH6DOH7UDQVDFWLRQLQFOXGLQJVXFK

  DFWLRQVDVPD\EHQHFHVVDU\WRYHVWSHUIHFWRUFRQILUPRIUHFRUGRURWKHUZLVHLQ3XUFKDVHULWV

  ULJKWWLWOHDQGLQWHUHVWLQDQGWRWKH3URSHUW\

                 1RWZLWKVWDQGLQJ WKH SURYLVLRQV RI %DQNUXSWF\ 5XOH  K  WKLV 2UGHU VKDOO EH

  HIIHFWLYHDQGHQIRUFHDEOHLPPHGLDWHO\DQGVKDOOQRWEHVWD\HG7LPHLVRIWKHHVVHQFHLQFORVLQJ

  WKH6DOH7UDQVDFWLRQDQGWKH7UXVWHHDQGWKH3XUFKDVHULQWHQGWRFORVHWKH6DOH7UDQVDFWLRQDVVRRQ

  DVSUDFWLFDEOH$Q\SDUW\REMHFWLQJWRWKLV2UGHUPXVWH[HUFLVHGXHGLOLJHQFHLQILOLQJDQDSSHDO

  DQGSXUVXLQJDVWD\RUULVNLWVDSSHDOEHLQJGLVPLVVHGDVPRRW

                 ,QWKHHYHQWWKLV2UGHULVVXEMHFWWR$SSHDODQGDVDUHVXOWRIVXFK$SSHDOWKH6DOH

  7UDQVDFWLRQLVWKHUHDIWHUXQZRXQGDQGWLWOHWRWKH3URSHUW\LVGLYHVWHGIURP3XUFKDVHUDQGRUUH

  YHVWHGLQWKH6HOOHUV VXFKUHVXOWLQJGLYHVWLWXUHD³Divestiture´ 3XUFKDVHUVKDOOEHHQWLWOHGWRD

  IXOODQGLPPHGLDWHUHIXQGRIWKH3XUFKDVH3ULFHIURP6HOOHUVLQFDVKLQSURSRUWLRQDWHVKDUHWR




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  WKHLU UHVSHFWLYH RZQHUVKLS LQWHUHVWV 6PLWK¶V  UHIXQG REOLJDWLRQ WKH ³Smith Refund

  Obligation´5HHG¶VUHIXQGREOLJDWLRQWKH³Reed Refund Obligation´DQGWRJHWKHUZLWKWKH

  6PLWK5HIXQG2EOLJDWLRQWKH³Refund Obligations´ 7KH6PLWK5HIXQG2EOLJDWLRQVKDOOEHIXOO\

  VHFXUHGE\DSULPLQJILUVWSULRULW\OLHQRQWKH6PLWKHVWDWH¶VLQWHUHVWLQWKH3URSHUW\ZKLFKVKDOO

  EHGHHPHGWRDXWRPDWLFDOO\DULVHXSRQWKHWULJJHULQJRIWKH6PLWK5HIXQG2EOLJDWLRQ7KH5HHG

  5HIXQG 2EOLJDWLRQ VKDOO EH VHFXUHG E\ D SULPLQJ ILUVW SULRULW\ OLHQ RQ 5HHG¶V LQWHUHVW LQ WKH

  3URSHUW\ZKLFKVKDOOEHGHHPHGWRDXWRPDWLFDOO\DULVHXSRQWKHWULJJHULQJRIWKH5HHG5HIXQG

  2EOLJDWLRQ 6HOOHUV VKDOO GLVFKDUJH WKH 5HIXQG 2EOLJDWLRQV IXOO\ DQG ILQDOO\ ZLWKLQ  GD\V

  IROORZLQJWKHHQWU\RIDILQDOQRQDSSHDODEOHRUGHUSURYLGLQJIRUWKH'LYHVWLWXUHRIWKH3URSHUW\

  6KRXOG WKH 6HOOHUV QRW WLPHO\ IXOO\ DQG ILQDOO\ GLVFKDUJH WKH 5HIXQG 2EOLJDWLRQV WKHQ WKH

  3XUFKDVHUVPD\VHHNDQRUGHURIWKLV&RXUWMXGLFLDOO\IRUHFORVLQJWKHLUSULPLQJOLHQVDQGRUSXUVXH

  DQRQMXGLFLDOIRUHFORVXUHLQDFFRUGDQFHZLWKWKHWHUPVRIWKHWKHQFXUUHQW2NODKRPD6WDWH%DU

  IRUPRIGHHGRIWUXVWZKLFKZLOOEHGHHPHGLQFRUSRUDWHGLQWRWKLV2UGHUWRJRYHUQWKHSULPLQJ

  OLHQV ZLWKWKHULJKWRIWKH3XUFKDVHUVWRDSSRLQWVXEVWLWXWHWUXVWHHV $FRS\RIWKLV2UGHUVKDOOEH

  UHFRUGHGLQWKHUHDOSURSHUW\UHFRUGVRIWKH&RXQW\LQZKLFKWKH3URSHUW\LVORFDWHGLIDQ$SSHDO

  LVILOHGEXWWKH$SSHDO LQFOXGLQJDQ\VXEVHTXHQW$SSHDOVRIWKHVDPHVXEMHFWPDWWHU LVGLVPLVVHG

  RUGHQLHGRUWKHVDOHDXWKRUL]HGE\WKLV2UGHULVDIILUPHGRURWKHUZLVHXQDIIHFWHGE\VDLG$SSHDO V 

  RQDFFRXQWRISDUDJUDSKRIWKLV2UGHUDQGWKH3URSHUW\LVWKXVQRWVXEMHFWWR'LYHVWLWXUHWKHQ

  WKH6HOOHUVPD\UHFRUGDQDIILGDYLWVRVWDWLQJ1RWKLQJLQWKLV2UGHURUDVWRWKLVVSHFLILFSURYLVLRQ

  RI WKLV 2UGHU VKDOO EH FRQVLGHUHG WR DIIHFW SDUDJUDSK  RI WKLV 2UGHU QRU EH LQ DQ\ ZD\ EH

  FRQVLGHUHGZLWKUHJDUGWRDQ\GHWHUPLQDWLRQRIZKDWLVUHTXLUHGWRVHFXUHDVWD\SHQGLQJDSSHDOLI

  DVWD\SHQGLQJDSSHDOLVVRXJKWE\DQ\REMHFWLQJSDUW\




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  LPSOHPHQW DQG HQIRUFH WKH WHUPV DQG SURYLVLRQV RI WKLV 2UGHU DQG WKH 6DOHV &RQWUDFW DOO

  DPHQGPHQWV WKHUHWR DQG DQ\ ZDLYHUV DQG FRQVHQWV WKHUHXQGHU DQG HDFK RI WKH DJUHHPHQWV

  H[HFXWHGLQFRQQHFWLRQWKHUHZLWKLQFOXGLQJEXWQRWOLPLWHGWRUHWDLQLQJMXULVGLFWLRQWR L FRPSHO

  GHOLYHU\RIWKH3URSHUW\WRWKH3XUFKDVHU LL LQWHUSUHWLPSOHPHQWDQGHQIRUFHWKHSURYLVLRQVRI

  WKLV2UGHUDQGWKH6DOHV&RQWUDFW LLL DGMXGLFDWHLIQHFHVVDU\DQ\DQGDOOGLVSXWHVDULVLQJRXWRI

  FRQFHUQLQJRURWKHUZLVHUHODWLQJLQDQ\ZD\WRWKH6DOH7UDQVDFWLRQDQG LY SURWHFWWKH3XUFKDVHU

  DJDLQVW DQ\ /LHQV HQFXPEUDQFHV FODLPV DQG LQWHUHVWV LQ WKH 3URSHUW\ RI DQ\ NLQG RU QDWXUH

  ZKDWVRHYHU

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        21-60162-rbk Doc#533        Filed 09/09/22 Entered 09/09/22 15:54:33 Main Document Pg 22 of
                                                              58 Lenna Rd
    Farm and Ranch Contract: Canadian River Ranch - 439 Acre Parcel,
                                                                                           3URSHUW\,GHQWL¿HU
                                                          OKLAHOMA REAL ESTATE COMMISSION
                                         This is a legally binding contract; if not understood, seek legal advice from an attorney.
                       This form is recommended for use by only licensees who specialize in farm, ranch, and recreational land transactions

                              OKLAHOMA UNIFORM CONTRACT OF SALE OF REAL ESTATE
                                      FARM, RANCH, AND RECREATIONAL LAND
      CONTRACT DOCUMENTS. 7KH&RQWUDFWLVGH¿QHGDVWKLVGRFXPHQWZLWKWKHIROORZLQJDWWDFKPHQWV V 
      (check supplements as applicable)
                        /HJDO'HVFULSWLRQ                                                 6XSSOHPHQW
                        Accessories                                                              Exhibit A
                        5XUDO3URSHUW\&RQYHQWLRQDO/RDQ                                      Exhibit B
                        6HOOHU)LQDQFLQJ                                                    _____________________________________________
                                                                                                 Addendum
                        5HPRYDORI/LYHVWRFN                                               _____________________________________________

      PARTIES.7+(&2175$&7LVHQWHUHGLQWREHWZHHQGregory S. Milligan, in his capacity as Ch. 11 Trustee for Canadian River
      BRanch
         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB´6HOOHU´
               LLC and Daryl G. Smith, owner of 90% undivided interest, and Darren K.&Julie Reed, owners 10% undivided interest
      DQGBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB´%X\HU´
            Richard Eric and Lisa Ann Murdock or assigns
      7KH3DUWLHV¶VLJQDWXUHVDWWKHHQGRIWKH&RQWUDFWZKLFKLQFOXGHVDQ\DWWDFKPHQWVRUGRFXPHQWVLQFRUSRUDWHGE\UHIHUHQFHZLWKGHOLYHU\WRWKHLU
      UHVSHFWLYH%URNHUVLIDSSOLFDEOHZLOOFUHDWHDYDOLGDQGELQGLQJ&RQWUDFWZKLFKVHWVIRUWKWKHLUFRPSOHWHXQGHUVWDQGLQJRIWKHWHUPVRIWKH&RQWUDFW
      7KLVDJUHHPHQWVKDOOEHELQGLQJXSRQDQGLQXUHWRWKHEHQH¿WRIWKH3DUWLHVKHUHWRDQGWKHLUUHVSHFWLYHKHLUVVXFFHVVRUVDQGSHUPLWWHGDVVLJQV7KH
      &RQWUDFWVKDOOEHH[HFXWHGE\RULJLQDOVLJQDWXUHVRIWKH3DUWLHVRUE\VLJQDWXUHVDVUHÀHFWHGRQVHSDUDWHLGHQWLFDO&RQWUDFWFRXQWHUSDUWV FDUERQ
      SKRWRID[RURWKHUHOHFWURQLFFRS\ 7KH3DUWLHVDJUHHWKDWDVWRDOODVSHFWVRIWKLVWUDQVDFWLRQLQYROYLQJGRFXPHQWVDQHOHFWURQLFVLJQDWXUHVKDOOKDYH
      WKHVDPHIRUFHDQGHႇHFWDVDQRULJLQDOVLJQDWXUHSXUVXDQWWRWKHSURYLVLRQVRIWKH8QLIRUP(OHFWURQLF7UDQVDFWLRQV$FW$2NODKRPD6WDWXWHV
      6HFWLRQHWVHT$OOSULRUYHUEDORUZULWWHQQHJRWLDWLRQVUHSUHVHQWDWLRQVDQGDJUHHPHQWVDUHVXSHUVHGHGE\WKH&RQWUDFWZKLFKPD\RQO\EH
      PRGL¿HGRUDVVLJQHGE\DIXUWKHUZULWWHQDJUHHPHQWRI%X\HUDQG6HOOHU
      1. PURPOSE7KHXQGHUVLJQHG%X\HUKHUHE\DJUHHVWRSXUFKDVHIURPWKHXQGHUVLJQHG6HOOHUWKHIROORZLQJUHDOSURSHUW\WRZLW


      2. PROPERTY7KHODQGDSSXUWHQDQFHVLPSURYHPHQWVDFFHVVRULHVDQGFURSVDUHFROOHFWLYHO\UHIHUUHGWRDVWKH³3URSHUW\´
         A.                                McIntosh
                LAND.7KHODQGVLWXDWHGLQBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB &RXQW\2NODKRPDGHVFULEHGDVIROORZV
                Property ID #s 0000-13-10N-14E-3-001-00 (160 acres); 0000-14-10N-14E-4-001-00 (159 acres);
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBor
                0000-23-10N-14E-1-002-00  (120 acres)                                                             as described on
                the attached Legal Description SupplementDOVRNQRZQDV SURSHUW\DGGUHVV]LSFRGH 
                                                                                                                                                                      
                     (Check one)
                     WRJHWKHUZLWKDOORI6HOOHU¶VULJKWWLWOHLQWHUHVWDQGHVWDWHLQDQGWRRLOJDVDQGRWKHUPLQHUDOVLQDQGXQGHUWKH/DQGQRWSUHYLRXVO\
                     UHVHUYHG RU FRQYH\HG RI UHFRUG 7KH 6HOOHU GRHV QRW ZDUUDQW WKH DPRXQW RI PLQHUDOV RZQHG RU WKDW WKH 6HOOHU RZQV DQ\ PLQHUDOV
                     ZKDWVRHYHUXQOHVVVSHFL¿FDOO\SURYLGHGLQWKH6SHFLDO3URYLVLRQV3DUDJUDSKRIWKH&RQWUDFW
                     OR
                        OHVVDQGH[FHSWDOORLOJDVDQGRWKHUPLQHUDOVUHODWHGWRWKHH[WUDFWLRQRIRLO JDVDQGWKHIROORZLQJVSHFL¿FPLQHUDOLQWHUHVWV
                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB LQ DQG XQGHU WKH /DQG DOO
                     RWKHUXQVSHFL¿HGPLQHUDOVLQDQGXQGHUWKHODQGZLOOWUDQVIHUZLWKWKHVXUIDFHULJKWV
                   WRJHWKHUZLWKDOORIWKHEXLOGLQJVVWUXFWXUHVDQGLPSURYHPHQWVLQRQRUXQGHUWKH/DQGDQGH[LVWLQJUXUDOZDWHUWDSULJKWVLIDQ\
                      LQFOXGLQJDSSOLFDEOHFHUWL¿FDWHVDQGDOOULJKWVWKHUHWR WKH³,PSURYHPHQWV´ 
                   WRJHWKHUZLWKDOORIWKHDSSXUWHQDQFHVEHORQJLQJWKHUHWRDQGDOORI6HOOHU¶VULJKWWLWOHDQGLQWHUHVWLQDQGWRDOOVWUHHWVDOOH\VDQGRWKHU
                     SXEOLFZD\VDGMDFHQWWRWKH/DQG
                   WRJHWKHUZLWKDOOULJKWVWRDQ\1DWXUDO*DVVXSSO\DJUHHPHQWVZLWK1DWXUDO*DVPLQHUDORZQHUVOHDVHKROGHUVRUSURGXFHUVLIDQ\The
                      6HOOHUGRHVQRWZDUUDQWWKHIXWXUHH[HFXWLRQRIWKHVHDJUHHPHQWV
                   VXEMHFWWRH[LVWLQJ]RQLQJRUGLQDQFHVUHVWULFWLRQVHDVHPHQWVULJKWVRIZD\DQGBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


         B.     IMPROVEMENTS  7KH IROORZLQJ LWHPV LI H[LVWLQJ RQ WKH 3URSHUW\ XQOHVV RWKHUZLVH H[FOXGHG VKDOO UHPDLQ ZLWK WKH 3URSHUW\ DW QR
                DGGLWLRQDOFRVWWR%X\HU
                   )DUP5DQFKDQG5HFUHDWLRQ/DQG,PSURYHPHQWV7KHIROORZLQJ permanently installed and built-in itemsLIDQ\ZLQGPLOOVWDQNV
                     EDUQVSHQVIHQFHVJDWHVVKHGVRXWEXLOGLQJVFRUUDOVDQGFences

                   +RXVH V 1XPEHURIKRXVHVRQWKHSURSHUW\ &KHFN2QH            NONE or       BBBBBBBBB QXPEHU 
                   5HVLGHQWLDO,PSURYHPHQWVLIDQ\7KHKRXVHJDUDJHDQGDOORWKHU¿[WXUHVDQGLPSURYHPHQWVDWWDFKHGWRWKHDERYHGHVFULEHGUHDO
                     SURSHUW\LQFOXGLQJZLWKRXWOLPLWDWLRQWKHIROORZLQJpermanently installed and built-in itemsLIDQ\DOOHTXLSPHQWDQGDSSOLDQFHV
                     YDODQFHV VFUHHQV VKXWWHUV DZQLQJV ZDOOWRZDOO FDUSHWLQJ PLUURUV FHLOLQJ IDQV DWWLF IDQV PDLOER[HV WHOHYLVLRQ DQWHQQDV DQG
                     VDWHOOLWH GLVK V\VWHPV DQG HTXLSPHQW KHDWLQJ DQG DLU FRQGLWLRQLQJ XQLWV VHFXULW\ DQG ¿UH GHWHFWLRQ HTXLSPHQW ZLULQJ SOXPELQJ


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OREC FARM, RANCH, AND RECREATIONAL SALE (1-1-2022)                                                                                      Page 1 of 8
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        21-60162-rbk Doc#533        Filed 09/09/22 Entered 09/09/22 15:54:33 Main Document Pg 23 of
                                                              58 Lenna Rd
    Farm and Ranch Contract: Canadian River Ranch - 439 Acre Parcel,
                                                                                              3URSHUW\,GHQWL¿HU
                      DQG OLJKW ¿[WXUHV FKDQGHOLHUV ZDWHU VRIWHQHU V\VWHP NLWFKHQ HTXLSPHQW JDUDJH GRRU RSHQHUV FOHDQLQJ HTXLSPHQW VKUXEEHU\
                      ODQGVFDSLQJRXWGRRUFRRNLQJHTXLSPHQWDQGDOORWKHUSURSHUW\RZQHGE\6HOOHUDQGDWWDFKHGWRWKHDERYHGHVFULEHGUHDOSURSHUW\
                      DQG                                                                                                                                     


           C.   ACCESSORIES. 7KHIROORZLQJLWHPVLIH[LVWLQJRQWKH3URSHUW\XQOHVVRWKHUZLVHH[FOXGHGVKDOOUHPDLQZLWKWKH3URSHUW\DWQRDGGLWLRQDO
                FRVWWR%X\HU
                    )DUP5DQFKDQG5HFUHDWLRQ$FFHVVRULHV7KHIROORZLQJGHVFULEHGUHODWHGDFFHVVRULHV FKHFNLWHPVRIconveyedDFFHVVRULHV 
                       SRUWDEOHEXLOGLQJV   KXQWLQJEOLQGV            JDPHIHHGHUV     OLYHVWRFNIHHGHUVDQGWURXJKV
                       LUULJDWLRQHTXLSPHQW VXEPHUVLEOHSXPSV         SUHVVXUHWDQNV   IXHOWDQNVLIRZQHG SURSDQHJDVROLQHGLHVHO
                       FRUUDOV             FKXWHV                   JDWHV             See Accessories Supplement
                    5HVLGHQWLDO$FFHVVRULHV LI DQ\  7KH IROORZLQJ GHVFULEHG UHODWHG DFFHVVRULHV LI DQ\ ZLQGRZ DLU FRQGLWLRQLQJ XQLWV VWRYH ¿UHSODFH
                      VFUHHQV FXUWDLQV DQG URGV EOLQGV ZLQGRZ VKDGHV GUDSHULHV DQG URGV FRQWUROV IRU VDWHOOLWH GLVK V\VWHPV FRQWUROV IRU JDUDJH GRRU
                      RSHQHUV HQWU\ JDWH FRQWUROV GRRU NH\V PDLO ER[  PDLOER[ NH\V DERYH JURXQG SRRO VZLPPLQJ SRRO HTXLSPHQW DQG PDLQWHQDQFH
                      DFFHVVRULHVDUWL¿FLDO¿UHSODFHORJVDQG                                                                                                          
           D.   CROPS.8QOHVVRWKHUZLVHDJUHHGLQZULWLQJ6HOOHUKDVWKHULJKWWRKDUYHVWDOOJURZLQJFURSVXQWLOGHOLYHU\RISRVVHVVLRQRIWKH3URSHUW\
                                                                                                                                                        
                (Check One)*UDVVHVDQGWUHHV are      are NOTFRQVLGHUHGFURSVLQWKH&RQWUDFW
           E.   EXCLUSIONS.7KHIROORZLQJLPSURYHPHQWVDFFHVVRULHVDQGFURSVZLOOEHUHWDLQHGE\6HOOHUDQGH[FOXGHGIURPWKLV&RQWUDFW
                                                                                                                                                                           
      3.   TIME PERIODS SPECIFIED IN CONTRACT. 7LPHSHULRGVIRU(DUQHVW0RQH\'HSRVLW3URRIRI)XQGV,QYHVWLJDWLRQV,QVSHFWLRQVDQG5HYLHZV
                                                                                 upon mutual execution
           DQG )LQDQFLQJ 6XSSOHPHQW $JUHHPHQW VKDOO FRPPHQFH RQ BBBBBBBBBBBBBBBBBBBBB                  7LPH 5HIHUHQFH 'DWH  UHJDUGOHVV RI WKH GDWH WKH
           &RQWUDFW LV VLJQHG E\ %X\HU DQG 6HOOHU 7KH GD\ DIWHU WKH 7LPH 5HIHUHQFH 'DWH VKDOO EH FRXQWHG DV GD\ RQH   ,I OHIW EODQN WKH 7LPH
           5HIHUHQFH'DWHVKDOOEHWKHWKLUGGD\DIWHUWKHODVWGDWHRIVLJQDWXUHVRIWKH3DUWLHV
      4.   TERMS
           A.                                                                 707,210.00
                PURCHASE PRICE. %X\HUVKDOOSD\IRUWKH3URSHUW\WKHVXPRI BBBBBBBBBBBBBBBBBBBBBBB  VXPRI%& 'EHORZ SD\DEOHDVIROORZV
           B.                                    65,850.00
                EARNEST MONEY. 7KH VXP RI  BBBBBBBBBBBBBBBBBBBBBBB DV (DUQHVW 0RQH\ VKDOO EH GHSRVLWHG LQ WKH WUXVW DFFRXQW RI
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBRULIOHIWEODQNWKH/LVWLQJ%URNHU¶VWUXVWDFFRXQW
                  ZLWKVXEPLVVLRQRIWKLVFRQWUDFW or  within three           days after WKH GD\ RI WKH ¿QDO VLJQDWXUH V  H[HFXWLQJ WKLV &RQWUDFW WR EH
                DSSOLHGRQWKHSXUFKDVHSULFHDQGRUFORVLQJFRVWVLIDQ\DWWKHWLPHRIFORVLQJ,I%X\HUIDLOVWRGHSRVLWWKH(DUQHVW0RQH\DVUHTXLUHGE\
                WKLV&RQWUDFW%X\HUZLOOEHLQGHIDXOW

           C.   CASH AT CLOSING.&DVKSRUWLRQRI3XUFKDVH3ULFHSD\DEOHE\%X\HU                 641,360                       

           D.   LOAN FUNDING. 7KH VXP RI DOO ¿QDQFLQJ GHVFULEHG EHORZ H[FOXGLQJ DQ\ ORDQ IXQGLQJ IHH RU PRUWJDJH LQVXUDQFH SUHPLXP  LV
                                        
           E.   ADJUSTED PURCHASE PRICE. 7KH 3XUFKDVH 3ULFH FKHFN RQH              will        will not EH DGMXVWHG EDVHG RQ WKH VXUYH\ UHTXLUHG E\
                3DUDJUDSK$,IWKH3XUFKDVH3ULFHLVDGMXVWHGWKH3XUFKDVH3ULFHZLOOEHFDOFXODWHGRQWKHEDVLVRI BBBBBBBBBBBBBBBBBBBBBBBSHU
                DFUH,IWKH3XUFKDVH3ULFHLVDGMXVWHGE\PRUHWKDQBBBBBBBBHLWKHU3DUW\PD\WHUPLQDWHWKLV&RQWUDFWE\SURYLGLQJZULWWHQQRWLFHWRWKH
                RWKHU3DUW\ZLWKLQBBBBBBBBGD\VDIWHUWKHWHUPLQDWLQJ3DUW\UHFHLYHVWKHVXUYH\,IQHLWKHU3DUW\WHUPLQDWHVWKLV&RQWUDFWRULIWKHYDULDQFHLV
                ________RUOHVVWKHDGMXVWPHQWZLOOEHPDGHWRWKHDPRXQWLQ
                (Check One) & ' SURSRUWLRQDWHO\WR&DQG'
      5.   FINANCING7KHSRUWLRQRIWKH3XUFKDVH3ULFHQRWSD\DEOHLQFDVKZLOOEHSDLGDVIROORZV FKHFNDSSOLFDEOHLWHPVEHORZ 
           A.      CONVENTIONAL LOAN7KLV&RQWUDFWLVVXEMHFWWR¿QDQFLQJGHVFULEHGLQWKHDWWDFKHGConvention Loan SupplementIRURQHRUPRUHWKLUG
           3DUW\PRUWJDJHORDQVLQWKHWRWDODPRXQWRI BBBBBBBBBBBBBBBBBBBBBBB ([FOXGLQJDQ\ORDQIXQGLQJIHHRUPRUWJDJHLQVXUDQFHSUHPLXP 
           B.        SELLER FINANCING. $VUHÀHFWHGRQWKHDWWDFKHGSeller Financing Supplement.
           C.        This Contract is “CASH ONLY” and is NOT subject to ANY FINANCING REQUIREMENTS.

                (Check One) This Contract         LVVXEMHFWWR   LV127VXEMHFWWRYHUL¿FDWLRQRI%X\HU¶V3URRIRI)XQGVEHORZ

                  Proof of Funds:%X\HUVKDOOSURYLGHWKHIROORZLQJZLWKLQWKUHH  GD\VDIWHUWKH7LPH5HIHUHQFH'DWHLQ3DUDJUDSK
                     D $OHWWHURI¿QDQFLDOFDSDELOLWLHVIURPDEDQNLQJLQVWLWXWLRQRQEDQNOHWWHUKHDGYHULI\LQJWKDW%X\HUKDVWKHQHFHVVDU\FDVKRUOLQHRI
                         FUHGLWLQDQDPRXQWHTXDOWRRULQH[FHVVRIWKH3XUFKDVH3ULFHKHUHLQ
                         OR
                     E $FRS\RID%DQN6WDWHPHQWVKRZLQJVXႈFLHQWIXQGVWRIXO¿OOWKH%X\HU¶VREOLJDWLRQVRIWKLV&RQWUDFW
                     F %X\HUKHUHE\JLYHVSHUPLVVLRQWRWKH6HOOHUDQGWKH6HOOHU¶V%URNHULIDSSOLFDEOHRUUHSUHVHQWDWLYHVWRFRQWDFWWKHEDQNLQJLQVWLWXWLRQ
                         SURYLGLQJWKHOHWWHURI¿QDQFLDOFDSDELOLWLHVRUWKH¿QDQFLDOLQVWLWXWLRQVKRZQRQWKHFRS\RID%DQN6WDWHPHQWWRYHULI\VDLGLQIRUPDWLRQ
                  ,I%X\HUGRHVQRWSURYLGHSURRIRIIXQGVDVLQGLFDWHGLQ& RIWKLVVXESDUDJUDSKWKLV&RQWUDFWVKDOOEHFRPHQXOODQGYRLG
                  ,IEDQNLQJRU¿QDQFLDOLQVWLWXWLRQLQIRUPDWLRQSURYLGHGFDQQRWEHYHUL¿HGWRWKHVDWLVIDFWLRQRIWKH6HOOHUZLWKLQWZR  EXVLQHVVGD\VDIWHU
                    UHFHLSWWKH6HOOHUPD\FDQFHOWKLV&RQWUDFWZLWKZULWWHQQRWLFHE\PDLOSKRWRID[RUHOHFWURQLFFRS\GHOLYHUHGWRWKH%X\HUDVSURYLGHGLQ
                    WKH1RWLFHV3DUDJUDSK


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OREC FARM, RANCH, AND RECREATIONAL SALE (1-1-2022)                                                                                      Page 2 of 8
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        21-60162-rbk Doc#533        Filed 09/09/22 Entered 09/09/22 15:54:33 Main Document Pg 24 of
                                                              58 Lenna Rd
    Farm and Ranch Contract: Canadian River Ranch - 439 Acre Parcel,
                                                                                                 3URSHUW\,GHQWL¿HU
      6.   TITLE EVIDENCE.  6HOOHU ZLWKLQ BBBBBBBB GD\V 7HQ   GD\V LI OHIW EODQN  SULRU WR &ORVLQJ 'DWH DJUHHV WR PDNH DYDLODEOH WR %X\HU 7LWOH
           (YLGHQFHDVIROORZV
           A.   Abstracting
                  6HOOHUVKDOOIXUQLVKDFRPSOHWHDQGFXUUHQWVXUIDFHULJKWVRQO\$EVWUDFWRI7LWOHFHUWL¿HGE\DQ2NODKRPDOLFHQVHGDQGERQGHGDEVWUDFW
                    FRPSDQ\
                     OR
                    $ FRS\ RI 6HOOHU¶V H[LVWLQJ RZQHU¶V WLWOH LQVXUDQFH SROLF\ LVVXHG E\ D WLWOH LQVXUHU OLFHQVHG LQ WKH 6WDWH RI 2NODKRPD WRJHWKHU ZLWK D
                    VXSSOHPHQWDODQGFXUUHQWVXUIDFHULJKWVRQO\FHUWL¿HGE\DQ2NODKRPDOLFHQVHGDQGERQGHGDEVWUDFWFRPSDQ\DQG
                  $FXUUHQW8QLIRUP&RPPHUFLDO&RGH6HDUFK&HUWL¿FDWH
           B.   Required Form of Title Evidence:
                      (Check one)
                         $EVWUDFWRI7LWOH XQOHVVRWKHUZLVHVSHFL¿HGLQWKH6SHFLDO3URYLVLRQV3DUDJUDSK 
                             D 6HOOHUDWSeller’s ExpenseVKDOOSD\DOODEVWUDFWLQJSXUVXDQWWRVXESDUDJUDSK $ 
                             E %X\HU VKDOO SD\ DW Buyer’ expense WKH DWWRUQH\¶V 7LWOH 2SLQLRQ QRW IRU SXUSRVHV RI 7LWOH ,QVXUDQFH DQG DOO RWKHU FRVWV
                                 DVVRFLDWHGZLWKREWDLQLQJD0RUWJDJHH¶V7LWOH,QVXUDQFH3ROLF\LIUHTXLUHGE\WKH/HQGHU V 
                         &RPPLWPHQWIRU2ZQHU¶V7LWOH,QVXUDQFH3ROLF\ XQOHVVRWKHUZLVHVSHFL¿HGLQ&ORVLQJDQG)XQGLQJ3DUDJUDSK 

                    Access Notice: Broker advises Buyer to determine physical and legal access availability to their satisfaction.

           C.   (Check appropriate Seller’s and Buyer’s Expense)
                     6HOOHU¶V %X\HU¶V
                    ([SHQVH([SHQVH %R[HV127FKHFNHGDUH127$33/,&$%/(
                                           7KHSUHPLXPIRUVXFKVXUIDFHULJKWVRQO\2ZQHU¶V7LWOH3ROLF\
                                           $OOVXUIDFHULJKWVRQO\DEVWUDFWLQJ SULRUWRFORVLQJIHHV
                                           $0RUWJDJH,QVSHFWLRQ5HSRUW DUHSUHVHQWDWLRQRIWKHERXQGDULHVRIWKH3URSHUW\DQGWKHLPSURYHPHQWV
                                           WKHUHRQ LIUHTXLUHGE\/HQGHU V
                                           7KHDWWRUQH\¶VIHHVIRUH[DPLQDWLRQRIWKHDEVWUDFW %DVHRU6XSSOHPHQWDO DVUHTXLUHGE\7LWOH&RPSDQ\
                                           7KH¿QDOWLWOHUHSRUWDQGRUUHFHUWL¿FDWLRQIHHDVUHTXLUHGE\7LWOH&RPSDQ\ SRVWFORVLQJIHHV
                                           7KH0RUWJDJHH¶V7LWOH,QVXUDQFH3ROLF\LIDQ\


      7.   SURVEY AND TITLE REVIEW.
            A. SURVEY. The survey or boundary (Pin Stake) survey must be made by a surveyor acceptable to the Title Company and any Lender.
                   (check one box only):
                          :LWKLQBBBBBBBBGD\VDIWHUWKHTime Reference DateRIWKLV&RQWUDFW6HOOHUDW6HOOHU¶VH[SHQVHVKDOOIXUQLVKDQHZVXUYH\WR%X\HU
                          :LWKLQ BBBBBBB GD\V DIWHU WKH Time Reference Date RI WKLV &RQWUDFW %X\HU DW %X\HU¶V H[SHQVH VKDOO REWDLQ D QHZ VXUYH\
                          :LWKLQBBBBBBBBGD\VDIWHUWKH Time Reference Date RIWKLV&RQWUDFW6HOOHUVKDOOIXUQLVK6HOOHU¶VH[LVWLQJVXUYH\RIWKH3URSHUW\WR
                %X\HUDQGWKH7LWOH&RPSDQ\DORQJZLWK6HOOHU¶VDႈGDYLWDFFHSWDEOHWRWKH7LWOH&RPSDQ\IRUDSSURYDORIWKHVXUYH\7KHH[LVWLQJ6XUYH\ FKHFN
                RQH  ZLOO       ZLOOQRWEHUHFHUWL¿HGWRDGDWHVXEVHTXHQWWRWKHTime Reference DateRIWKLV&RQWUDFWDWWKHH[SHQVHRI FKHFNRQH  %X\HU
                   6HOOHU,IWKHH[LVWLQJVXUYH\LVQRWDSSURYHGE\WKH7LWOH&RPSDQ\RU%X\HU¶V/HQGHUDQHZVXUYH\ZLOOEHREWDLQHGDWWKHH[SHQVHRI FKHFN
                RQH  %X\HU 6HOOHUQRODWHUWKDQBBBBBBBBGD\V WKUHH  GD\VLIOHIWEODQN SULRUWRWKH&ORVLQJ'DWH
                          6XUYH\LV1275(48,5(' VHHVXESDUDJUDSK(
                          2WKHU                                                                                                                                             
            B. OBJECTIONS.%X\HUVKDOOKDYH              GD\V WHQ  GD\VLIOHIWEODQN DIWHUUHFHLSWWRH[DPLQHWKH7LWOH(YLGHQFHDQGWRGHOLYHU%X\HU¶V
               REMHFWLRQWR7LWOH,QWKHHYHQWWKH7LWOH(YLGHQFHLVQRWPDGHDYDLODEOHWR%X\HUZLWKLQWHQ  GD\VSULRUWR&ORVLQJ'DWHVDLG&ORVLQJ
               'DWHVKDOOEHH[WHQGHGWRDOORZ%X\HUWKHWHQ  GD\VIURPUHFHLSWWRH[DPLQHWKH7LWOH(YLGHQFH
            C. SELLER TO CORRECT ISSUES WITH TITLE (IF APPLICABLE), POSSIBLE CLOSING DELAY.  8SRQ UHFHLSW E\ 6HOOHU RU LQ FDUH RI
               6HOOHU¶V%URNHULIDSSOLFDEOHRIDQ\WLWOHUHTXLUHPHQWVUHÀHFWHGLQDQ$WWRUQH\¶V7LWOH2SLQLRQRU7LWOH,QVXUDQFH&RPPLWPHQWEDVHGXSRQWKH
               VWDQGDUGRIPDUNHWDEOHWLWOHVHWRXWLQWKH7LWOH([DPLQDWLRQ6WDQGDUGVRIWKH2NODKRPD%DU$VVRFLDWLRQWKH3DUWLHVDJUHHWRWKHIROORZLQJ
                  $W6HOOHU¶VRSWLRQDQGH[SHQVHPD\FXUHWLWOHUHTXLUHPHQWVLGHQWL¿HGE\%X\HU
                                              90
                  'HOD\&ORVLQJ'DWHIRUBBBBBB      GD\V WKLUW\  GD\VLIOHIWEODQN RUDORQJHUSHULRGDVPD\EHDJUHHGXSRQLQZULWLQJWRDOORZ6HOOHUWR
                    FXUH%X\HU¶VWLWOHUHTXLUHPHQWV,QWKHHYHQW6HOOHUFXUHV%X\HU¶VREMHFWLRQSULRUWRWKHGHOD\HG&ORVLQJ'DWH%X\HUDQG6HOOHUDJUHHWR
                    FORVH ZLWKLQ ¿YH   GD\V RI QRWLFH RI VXFK FXUH  ,Q WKH HYHQW WKDW WLWOH UHTXLUHPHQWV DUH QRW FXUHG ZLWKLQ WKH WLPH VSHFL¿HG LQ WKLV
                    3DUDJUDSKWKH Buyer may cancel the Contract and receive a refund of Earnest MoneyDQG
                  %X\HUDJUHHVWRDFFHSWWLWOHVXEMHFWWR D XWLOLW\HDVHPHQWVVHUYLQJWKHSURSHUW\ E EXLOGLQJDQGXVHUHVWULFWLRQVRIUHFRUG F VHWEDFN
                    DQG EXLOGLQJ OLQHV G  ]RQLQJ UHJXODWLRQV DQG H  UHVHUYHG DQG VHYHUHG PLQHUDO ULJKWV ZKLFK VKDOO QRW EH FRQVLGHUHG REMHFWLRQV IRU
                    UHTXLUHPHQWVRI7LWOH
            D. SURFACE LEASES6HOOHUVKDOOSURYLGH%X\HUZLWKFRSLHVRIH[LVWLQJZULWWHQOHDVHVDQGJLYHZULWWHQQRWLFHRIRUDOOHDVHVZLWKLQ________
               GD\V WKUHH>@GD\VLIOHIWEODQN RIWKH7LPH5HIHUHQFH'DWH If there are NO existing Leases this paragraph is not applicable.
                  ,I6HOOHUdoes not provideFRSLHVRIH[LVWLQJVDLGZULWWHQOHDVHVRUJLYHZULWWHQQRWLFHRIRUDOOHDVHVZLWKLQWKHWKUHH  GD\VDIWHUWKH
                    7LPH5HIHUHQFH'DWHWKHSURYLVLRQVRI3DUDJUDSKVKDOODSSO\7KH6HOOHUVKDOOEHLQGHIDXOWRIWKLV$JUHHPHQW


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OREC FARM, RANCH, AND RECREATIONAL SALE (1-1-2022)                                                                                      Page 3 of 8
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        21-60162-rbk Doc#533        Filed 09/09/22 Entered 09/09/22 15:54:33 Main Document Pg 25 of
                                                              58 Lenna Rd
    Farm and Ranch Contract: Canadian River Ranch - 439 Acre Parcel,
                                                                                                    3URSHUW\,GHQWL¿HU
                   7KLV&RQWUDFWLVVXEMHFWWR%X\HUUHYLHZDFFHSWDQFHDQGDSSURYDORIVDLGOHDVHVLIDQ\ZLWKLQ¿YH  GD\VRIWKHUHFHLSWRIVDLGOHDVHV
                3) If the Buyer fails to give notice of objection to the leases, as above, the leases shall be deemed acceptable to the Buyer.
                   7KHIROORZLQJ/HDVHVZLOOEHSHUPLWWHGH[FHSWLRQVLQWKH7LWOH3ROLF\DQGZLOOQRWEHDEDVLVIRUREMHFWLRQWRWLWOHBBBBBBBBBBBBBBBBB
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
           E. BROKER NOTICES.
                   $EVWUDFWRU7LWOH3ROLF\%URNHUDGYLVHV%X\HUWRKDYHDQDEVWUDFWRIWLWOHFRYHULQJWKH3URSHUW\H[DPLQHGE\DQDWWRUQH\RI%X\HU¶V
                    HOHFWLRQRU%X\HUVKRXOGEHIXUQLVKHGZLWKRUREWDLQD7LWOH3ROLF\,ID7LWOH3ROLF\LVIXUQLVKHGWKH&RPPLWPHQWVKRXOGEHSURPSWO\
                    UHYLHZHGE\DQDWWRUQH\RI%X\HU¶FKRLFHGXHWRWKHWLPHOLPLWDWLRQVRQ%X\HU¶ULJKWWRREMHFWLQVXESDUDJUDSK%
                   $QQH[DWLRQ,IWKH3URSHUW\LVORFDWHGRXWVLGHWKHOLPLWVRIDPXQLFLSDOLW\6HOOHUQRWL¿HV%X\HUWKDWWKH3URSHUW\PD\QRZRUODWHUEHLQFOXGHGLQ
                    WKHH[WUDWHUULWRULDOMXULVGLFWLRQRIDPXQLFLSDOLW\DQGPD\QRZRUODWHUEHVXEMHFWWRDQQH[DWLRQE\WKHPXQLFLSDOLW\(DFKPXQLFLSDOLW\PDLQWDLQV
                    DPDSWKDWGHSLFWVLWVERXQGDULHVDQGH[WUDWHUULWRULDOMXULVGLFWLRQRULVOLNHO\WREHORFDWHGZLWKLQDPXQLFLSDOLW\¶VH[WUDWHUULWRULDOMXULVGLFWLRQ
                    7R GHWHUPLQH LI WKH 3URSHUW\ LV ORFDWHG ZLWKLQ D PXQLFLSDOLW\¶V H[WUDWHUULWRULDO MXULVGLFWLRQ RU LV OLNHO\ WR EH ORFDWHG ZLWKLQ D PXQLFLSDOLW\¶V
                    H[WUDWHUULWRULDOMXULVGLFWLRQFRQWDFWDOOPXQLFLSDOLWLHVORFDWHGLQWKHJHQHUDOSUR[LPLW\RIWKH3URSHUW\IRUIXUWKHULQIRUPDWLRQ
                   8QLPSURYHG 3URSHUW\ /RFDWHG LQ WKH$UHD RI D 8WLOLW\ 6HUYLFH 3URYLGHU   ,I WKH 3URSHUW\ LV ORFDWHG LQ DQ DUHD RI D XWLOLW\ VHUYLFH
                    SURYLGHU DQG WKH 3URSHUW\ GRHV QRW UHFHLYH ZDWHU RU VHZHU VHUYLFH IURP WKH XWLOLW\ VHUYLFH SURYLGHU RQ WKH GDWH WKH 3URSHUW\ LV
                    WUDQVIHUUHGWKH%URNHUDGYLVHV%X\HUWRREWDLQFRVWVHVWLPDWHVQHFHVVDU\WRXWLOL]HVDLGVHUYLFHV
                   ([WHULRU)HQFHVDQG5RDGZD\V%URNHUDGYLVHVWKDWH[WHULRUIHQFHVDQGURDGZD\VPD\RUPD\QRWEHORFDWHGRQDVXUYH\HGERXQGDU\
                   :DWHU5LJKWVDQG3HUPLWV&RQWDFWWKH2NODKRPD:DWHU5HVRXUFHV%RDUG
                   2LO *DVDQGRWKHU0LQHUDO5LJKWV&RQWDFWWKH2NODKRPD&RUSRUDWLRQ&RPPLVVLRQ
                   0LQLQJ2SHUDWLRQVDQG3HUPLWV&RQWDFW2NODKRPD'HSDUWPHQWRI0LQHV
      8.   ACCEPTANCE OF PROPERTY %X\HUXSRQDFFHSWLQJ7LWOHRUWUDQVIHURISRVVHVVLRQRIWKH3URSHUW\VKDOOEHGHHPHGWRKDYHDFFHSWHGWKH
           3URSHUW\LQLWVWKHQFRQGLWLRQ1RZDUUDQWLHVH[SUHVVHGRULPSOLHGE\6HOOHUVRU6HOOHU¶V%URNHUDQGRUWKHLUDVVRFLDWHGOLFHQVHHVZLWKUHIHUHQFH
           WRWKHFRQGLWLRQRIWKH3URSHUW\VKDOOEHGHHPHGWRVXUYLYHWKH&ORVLQJ

      9.   INSPECTIONS, ACCESS AND UTILITIES. 6HHSDUDRI$GGHQGXP
            A. 7KH%X\HUDJUHHVDQGDFNQRZOHGJHVWKDW6HOOHU6HOOHU¶V%URNHUDQGWKHLUOLFHQVHGDVVRFLDWHVDUHQRWH[SHUWVUHJDUGLQJWKHFRQGLWLRQRIWKH
               3URSHUW\1RUHSUHVHQWDWLRQVZDUUDQWLHVRUJXDUDQWHHVUHJDUGLQJWKHFRQGLWLRQRIWKH3URSHUW\RUHQYLURQPHQWDOKD]DUGVDUHH[SUHVVHGRU
               LPSOLHGH[FHSWDVPD\EHVSHFL¿HGE\6HOOHULQWKH6SHFLDO3URYLVLRQV3DUDJUDSK

           B. %X\HUVKDOOKDYHBBBBBBBBGD\V WHQ  GD\VLIOHIWEODQN DIWHUWKHTime Reference Date WRFRPSOHWHDQ\LQYHVWLJDWLRQVLQVSHFWLRQVDQG
              UHYLHZVE\LQVSHFWRUVVHOHFWHGE\%X\HUDQGOLFHQVHGE\WKHVWDWHRURWKHUZLVHSHUPLWWHGE\ODZWRPDNHLQVSHFWLRQV6HOOHUVKDOOSHUPLW%X\HU
              DQG%X\HU¶V%URNHULIDSSOLFDEOHDFFHVVWRWKH3URSHUW\DWUHDVRQDEOHWLPHV6HOOHUVKDOOSD\IRUWXUQLQJRQH[LVWLQJXWLOLWLHVIRULQVSHFWLRQV
              Notice.%X\HUVKRXOGGHWHUPLQHWKHDYDLODELOLW\RIXWLOLWLHVWRWKH3URSHUW\VXLWDEOHWRVDWLVI\%X\HU¶VQHHGV7KH%URNHUDGYLVHV%X\HUWR
              REWDLQ7HUPLWH+RPH5DGRQ*DV0ROG6HSWLF:HOODQG(QYLURQPHQWDO,QVSHFWLRQV

           C. %X\HUDW%X\HU¶VH[SHQVHVKDOOKDYHWKHULJKWWRHQWHUXSRQWKH3URSHUW\WRJHWKHUZLWK%X\HU¶VUHSUHVHQWDWLYH V LQGHSHQGHQWFRQWUDFWRU V
               DQGRUDQ\RWKHUSHUVRQ%X\HUGHHPVTXDOL¿HGWRFRQGXFWDQ\DQGDOOLQYHVWLJDWLRQVLQVSHFWLRQVWHVWVVWXGLHVDQGUHYLHZV,IWKHSURSHUW\
               DQGEXLOGLQJVWKHUHRQDUHVHFXUHGE\ORFNVWKH6HOOHUZLOOSURYLGHDFFHVVZLWKLQKRXUVRIDZULWWHQUHTXHVW([FHSWLQJRQO\WKHQHJOLJHQFH
               RI6HOOHURUDFRQGLWLRQFDXVHGRUSHUPLWWHGE\6HOOHU%X\HUVKDOOLQGHPQLI\SURWHFWGHIHQGDQGKROG6HOOHUKDUPOHVVIURPDQGDJDLQVWDQ\
               DQGDOOFODLPVGHPDQGVORVVHVOLDELOLWLHVFRVWVIHHVDQGH[SHQVHV LQFOXGLQJDWWRUQH\¶VDQGFRQVXOWDQW¶VIHHV DULVLQJRXWRIRUUHODWHGWR
               %X\HU¶VHQWU\RQWRWKH3URSHUW\LQFRQQHFWLRQZLWKDQ\WHVWLQJRULQYHVWLJDWLRQSHUIRUPHGSXUVXDQWWRWKLV&RQWUDFW%X\HU¶VLQYHVWLJDWLRQV
               LQVSHFWLRQVDQGUHYLHZVPD\LQFOXGHEXWPD\QRWEHOLPLWHGWRWKHIROORZLQJ
              1) )ORRG6WRUP5XQRႇ:DWHU6WRUP6HZHU%DFNXSRU:DWHU+LVWRU\
              2) Roof, Structural members, roof decking, coverings and related components
              3) Hazard Insurance
              4) Structural Inspection
              5) Use of Property SURSHUW\XVHUHVWULFWLRQVEXLOGLQJUHVWULFWLRQVHDVHPHQWVUHVWULFWLYHFRYHQDQWV]RQLQJRUGLQDQFHVDQGUHJXODWLRQV
              6) Square Footage/Acreage EX\HUVKDOOQRWUHO\RQDQ\TXRWHGVTXDUHIRRWDJHDQGRUDFUHDJHDQGVKDOOKDYHWKHULJKWWRPHDVXUHWKHSURSHUW\
              7) Home Inspection (LIDSSOLFDEOH

           D. ENVIRONMENTAL MATTERS. %X\HULVDGYLVHGWKDWWKHSUHVHQFHRIZHWODQGVWR[LFVXEVWDQFHVLQFOXGLQJDVEHVWRVDQGZDVWHVRURWKHU
              HQYLURQPHQWDO KD]DUGV RU WKH SUHVHQFH RI D WKUHDWHQHG RU HQGDQJHUHG VSHFLHV RU LWV KDELWDW PD\ DႇHFW %X\HU¶V LQWHQGHG XVH RI WKH
              SURSHUW\7KLVRႇHU is       is notFRQWLQJHQWXSRQWKH%X\HUDW%X\HU¶VFRVWREWDLQLQJDQDFFHSWDEOH(QYLURQPHQWDO6LWH$VVHVVPHQW
              5HSRUWZLWKLQ the time frame set in the Inspection, Access and Utilities subparagraph 9.B,IWKH(QYLURQPHQWDO6LWH$VVHVVPHQW
              5HSRUWLVQRWREWDLQHGLQWKHVSHFL¿HGWLPHSHULRGWKLVFRQWLQJHQF\VKDOOEHFRQVLGHUHGZDLYHGE\WKH%X\HU

           E. EQUIPMENT AND SYSTEMS. Within ________ GD\V WHQ  LIOHIWEODQN IURPWKHTime Reference Date RIWKLV&RQWUDFW%X\HUDW%X\HU¶V
              H[SHQVHVKDOOKDYHWKHULJKWWRLQVSHFWDOO¿[WXUHVDQGHTXLSPHQWUHODWLQJWRSOXPELQJKHDWLQJDQGFRROLQJHOHFWULFDOV\VWHPVDQGDQ\RWKHU
              HTXLSPHQWRUV\VWHPVDQGVKDOOUHSRUWDQ\LWHPQRWLQQRUPDOZRUNLQJRUGHULQZULWLQJWR6HOOHULQFDUHRI6HOOHU¶V%URNHULIDSSOLFDEOH
              LQFOXGLQJDFRS\RIWKHHVWLPDWHGFRVWWRUHSDLUVXFKLWHPV,IWKHWRWDOHVWLPDWHGFRVWWR6HOOHURIVXFKUHSDLUVDQGUHSODFHPHQWUHTXLUHGE\WKLV
              SDUDJUDSKH[FHHGV_______________________6HOOHUVKDOOKDYHWKHRSWLRQWRFDQFHODQGWHUPLQDWHWKLV&RQWUDFWZLWKLQIRUW\HLJKW  KRXUVRI
              EHLQJDGYLVHGRIVXFKHVWLPDWHXQOHVV%X\HUDJUHHVLQZULWLQJWRSD\UHSDLUDQGUHSODFHPHQWFRVWVLQH[FHVVRIVXFKDPRXQW

           F.   WOOD DESTROYING INSECTS INSPECTION%XLOGLQJVRQSURSHUW\LIDQ\:LWKLQ________GD\V WHQ  LIOHIWEODQN IURPWKHTime
                Reference Date RIWKLV&RQWUDFW%X\HUVKDOOKDYHWKHULJKWWRKDYHWKH3URSHUW\LQVSHFWHGE\%X\HU¶VFKRLFHRIDOLFHQVHGH[WHUPLQDWLQJ
                FRPSDQ\DQGGHOLYHUWR6HOOHULQFDUHRI6HOOHU¶V%URNHULIDSSOLFDEOHDQLQIHVWDWLRQUHSRUW7KHH[SHQVHRIVXFKUHSRUWVKDOOEHWKH%X\HU¶V
                H[SHQVH,QWKHHYHQWWKHUHSRUWVKRZVYLVLEOHLQIHVWDWLRQRUYLVLEOHGDPDJH6HOOHUDJUHHVDW6HOOHU¶VH[SHQVHWRWUHDWDQGRUUHSDLUVDPH
                SURYLGHGWKHHVWLPDWHGFRVWWRFXUHVXFKLQIHVWDWLRQRUGDPDJHGRHVQRWH[FHHG_______________________,IWKHHVWLPDWHGFRVWH[FHHGV

         This form was created by the Oklahoma Real Estate Contract Form Committee and approved by the Oklahoma Real Estate Commission.
OREC FARM, RANCH, AND RECREATIONAL SALE (1-1-2022)                                                                                      Page 4 of 8
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        21-60162-rbk Doc#533        Filed 09/09/22 Entered 09/09/22 15:54:33 Main Document Pg 26 of
                                                              58 Lenna Rd
    Farm and Ranch Contract: Canadian River Ranch - 439 Acre Parcel,
                                                                                                  3URSHUW\,GHQWL¿HU
                VXFKDPRXQW6HOOHUVKDOOKDYHWKHRSWLRQWRFDQFHODQGWHUPLQDWHWKLV&RQWUDFWZLWKLQIRUW\HLJKW  KRXUVRIEHLQJDGYLVHGRIVXFKHVWLPDWH
                XQOHVV%X\HUDJUHHVLQZULWLQJWRSD\DQ\FRVWVLQH[FHVVRIVXFKDPRXQW
            G. BUYER’S RIGHT TO OBJECT OR CANCEL. ,IXSRQ%X\HU¶VLQYHVWLJDWLRQLQVSHFWLRQVDQGUHYLHZVWKH%X\HUVKDOOJLYHZULWWHQQRWLFHWR
                WKH6HOOHURI
                   5HPRYDORI&RQWLQJHQFLHVZKLFKLQGLFDWHVDFFHSWDQFHRIWKHUHSRUWVZLWK122%-(&7,216
                    OR
                    2EMHFWLRQVWRLWHPVLQWKHUHSRUWDORQJZLWKDFRS\RIWKHUHSRUW V E\GHOLYHU\WRWKH6HOOHULQFDUHRI6HOOHU¶V%URNHULIDSSOLFDEOHZLWKLQ
                    WKHUHVSHFWLYHWLPHIUDPHV7KH6HOOHUVKDOOEHJLYHQ________GD\V WKUHH  GD\VLIOHIWEODQN WRFXUHWKHREMHFWLRQVDWWKH6HOOHU¶V
                    H[SHQVHRUHQWHULQWRDZULWWHQDJUHHPHQWZLWKWKH%X\HUWRKDYHDGROODUDPRXQWWREHDGMXVWHGDWFORVLQJDVD6HOOHU¶VH[SHQVH
                   ,IWKH6HOOHUGRHVQRWFXUHWKHREMHFWLRQVDQGGRHVQRWHQWHULQWRDZULWWHQDJUHHPHQWZLWKWKH%X\HUWRKDYHDGROODUDPRXQWWREH
                    DGMXVWHGIURPWKHSURFHHGVDWFORVLQJDVD6HOOHU¶VH[SHQVHZLWKLQWKHUHVSHFWLYHWLPHIUDPHVWKH%X\HUPD\FDQFHODQGWHUPLQDWHWKLV
                    &RQWUDFWDQGUHFHLYHDUHIXQGRIWKHHDUQHVWPRQH\E\GHOLYHULQJZULWWHQQRWLFHWRWKH6HOOHULQFDUHRI6HOOHU¶V%URNHULIDSSOLFDEOH
                    DVSURYLGHGLQ3DUDJUDSKZLWKLQWZHQW\IRXU  KRXUVRIWKHH[SLUDWLRQRIWKHWLPHSHULRGVSHFL¿HGLQWKLVSURYLVLRQ

            H. EXPIRATION OF BUYER’S RIGHT TO CANCEL CONTRACT.)DLOXUHRIWKH%X\HUWRFRPSOHWHRQHRIWKHIROORZLQJZLWKLQWKHUHVSHFWLYH
                WLPHIUDPHVVKDOOFRQVWLWXWHDFFHSWDQFHRIWKH3URSHUW\UHJDUGOHVVRILWVFRQGLWLRQ
                3HUIRUPDQ\,QYHVWLJDWLRQV,QVSHFWLRQVRU5HYLHZV
                'HOLYHUDZULWWHQOLVWRIREMHFWLRQVRULWHPVWREHWUHDWHGUHSDLUHGDQGUHSODFHG
      10. SELLER’S DISCLOSURES.([FHSWDVRWKHUZLVHGLVFORVHGLQWKLV&RQWUDFWSeller has no knowledge of the following FKHFNDVDSSOLFDEOH 
          A.     )ORRGLQJRIWKH3URSHUW\ZKLFKKDVKDGDPDWHULDODGYHUVHHႇHFWRQWKHXVHRIWKH3URSHUW\
          B.     3HQGLQJRUWKUHDWHQHGOLWLJDWLRQFRQGHPQDWLRQRUVSHFLDODVVHVVPHQWDႇHFWLQJWKH3URSHUW\
          C.     'XPSVLWHODQG¿OORUXQGHUJURXQGWDQNVRUFRQWDLQHUVQRZRUSUHYLRXVO\ORFDWHGRQWKH3URSHUW\
          D.     :HWODQGVDVGH¿QHGE\IHGHUDORUVWDWHODZRUUHJXODWLRQDႇHFWLQJWKH3URSHUW\
          E.     7KUHDWHQHGRUHQGDQJHUHGVSHFLHVRUWKHLUKDELWDWVDႇHFWLQJWKH3URSHUW\
          F.     2WKHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

      11. GOVERNMENT PROGRAMS7KH3URSHUW\LVVXEMHFWWRWKHJRYHUQPHQWSURJUDPVOLVWHGEHORZRURQWKHDWWDFKHGH[KLELWBBBBBBBBBBBBBBB
          _________________________________________________________________________________________________________________
          6HOOHUVKDOOSURYLGH%X\HUZLWKFRSLHVRIDOOJRYHUQPHQWDOSURJUDPDJUHHPHQWV$Q\DOORFDWLRQRUSURUDWLRQRISD\PHQWXQGHUJRYHUQPHQWDO
          SURJUDPVLVPDGHE\VHSDUDWHDJUHHPHQWEHWZHHQWKH3DUWLHVZKLFKZLOOVXUYLYH&ORVLQJ

      12. RESIDENTIAL PROPERTY CONDITIONS.
                    &KHFNLIWKHUHLV12UHVLGHQWLDOKRXVH V RQWKH3URSHUW\ ,IFKHFNHGGLVUHJDUGWKLVSDUDJUDSK 


           A.       RESIDENTIAL PROPERTY CONDITION DISCLOSURE.1RUHSUHVHQWDWLRQVE\6HOOHUUHJDUGLQJWKHFRQGLWLRQRI3URSHUW\RUHQYLURQPHQWDO
                    KD]DUGVDUHH[SUHVVHGRULPSOLHGRWKHUWKDQDVVSHFL¿HGLQWKH2NODKRPD5HVLGHQWLDO3URSHUW\&RQGLWLRQ'LVFORVXUH6WDWHPHQW ³'LVFORVXUH
                    6WDWHPHQW´ RUWKH2NODKRPD3URSHUW\&RQGLWLRQ'LVFODLPHU6WDWHPHQW ³'LVFODLPHU6WDWHPHQW´ LIDSSOLFDEOH$UHDOHVWDWHOLFHQVHHKDVQR
                    GXW\ WR 6HOOHU RU %X\HU WR FRQGXFW DQ LQGHSHQGHQW LQVSHFWLRQ RI WKH 3URSHUW\ DQG KDV QR GXW\ WR LQGHSHQGHQWO\ YHULI\ DFFXUDF\ RU
                    FRPSOHWHQHVVRIDQ\VWDWHPHQWPDGHE\6HOOHULQWKH'LVFORVXUH6WDWHPHQWDQGDQ\DPHQGPHQWRUWKH'LVFODLPHU6WDWHPHQW
           B.       LENDER REQUIRED REPAIRS AND TREATMENTS 8QOHVV RWKHUZLVH DJUHHG LQ ZULWLQJ QHLWKHU 3DUW\ LV REOLJDWHG WR SD\ IRU OHQGHU
                    UHTXLUHGUHSDLUVZKLFKLQFOXGHVWUHDWPHQWIRUZRRGGHVWUR\LQJLQVHFWV,IWKH3DUWLHVGRQRWDJUHHWRSD\IRUWKHOHQGHUUHTXLUHGUHSDLUVRU
                      WUHDWPHQWV WKLV &RQWUDFW ZLOO WHUPLQDWH DQG WKH (DUQHVW 0RQH\ ZLOO EH UHIXQGHG WR %X\HU  ,I WKH FRVW RI OHQGHU UHTXLUHG UHSDLUV DQG
                    WUHDWPHQWVH[FHHGVBBBBBBBB% RIWKH3XUFKDVH3ULFH%X\HUPD\WHUPLQDWHWKLV&RQWUDFWDQGWKH(DUQHVW0RQH\ZLOOEHUHIXQGHGWR%X\HU

           C.   RESIDENTIAL SERVICE CONTRACTS%X\HUPD\SXUFKDVHDUHVLGHQWLDOVHUYLFHFRQWUDFWIURPDUHVLGHQWLDOVHUYLFHFRPSDQ\OLFHQVHG
                E\ WKH VWDWH  ,I %X\HU SXUFKDVHV D UHVLGHQWLDO VHUYLFH FRQWUDFW 6HOOHU VKDOO UHLPEXUVH %X\HU DW FORVLQJ IRU WKH FRVW RI WKH UHVLGHQWLDO
                &RQWUDFW LQ DQ DPRXQW QRW WR H[FHHG BBBBBBBBBBBBBBBB  %X\HU VKRXOG UHYLHZ DQ\ UHVLGHQWLDO VHUYLFH FRQWUDFW IRU WKH VFRSH RI
                FRYHUDJHH[FOXVLRQVDQGOLPLWDWLRQV7KHSXUFKDVHRIDUHVLGHQWLDOVHUYLFHFRQWUDFWLVRSWLRQDO6LPLODUFRYHUDJHPD\EHSXUFKDVHGIURP
                YDULRXVFRPSDQLHVDXWKRUL]HGWRGREXVLQHVVLQWKHVWDWH
      13. BROKER’S FEES$OOREOLJDWLRQVRIWKH3DUWLHVIRUSD\PHQWRIEURNHUV¶IHHVDUHFRQWDLQHGLQVHSDUDWHDJUHHPHQWV$OO3DUWLHVKHUHLQGLUHFW
          WKH /LVWLQJ DQG 6HOOLQJ %URNHUV WR SURYLGH WKH &ORVLQJ$JHQW ZLWK FRSLHV RI WKH FRPSHQVDWLRQ DJUHHPHQWV EHWZHHQ WKH %X\HU DQG 6HOOHUV
          DQG WKHLU UHVSHFWLYH %URNHUV WR IDFLOLWDWH SD\PHQW WR WKH UHVSHFWLYH %URNHUV DW WKH WLPH RI FORVLQJ RU DV %X\HU DQG 6HOOHU DQG WKHLU UHVSHFWLYH
          %URNHU V LIDSSOLFDEOHDJUHHLQZULWLQJRQWKHDWWDFKHG                    
      14. CLOSING and FUNDING.
          $ 7KHFORVLQJRIWKHVDOHZLOOEHRQRUEHIRUHBBBBBBBBBBBBBBBBBBBBBBBBBBRUXSRQGHOD\HGFORVLQJSXUVXDQWWRWKH6XUYH\DQG7LWOH
                                                            See Special Provisions
             5HYLHZ3DUDJUDSK& ZKLFKHYHUGDWHLVODWHU &ORVLQJ'DWH ,IHLWKHU3DUW\IDLOVWRFORVHWKHVDOHE\WKH&ORVLQJ'DWHWKHQRQ
             GHIDXOWLQJ3DUW\PD\H[HUFLVHWKHUHPHGLHVFRQWDLQHGLQWKH'HIDXOW3DUDJUDSK
          % 1R)DXOW&ORVLQJ'HOD\%X\HUDQG6HOOHUDJUHHWRDFORVLQJGDWHH[WHQVLRQRIXSWRBBBBBBBBGD\V ¿YH  GD\VLIOHIWEODQN LIFORVLQJLV
             GHOD\HGGXHWRWKHDEVWUDFWLQJFRPSDQ\FORVLQJFRPSDQ\OHQGHURUWLWOHFRPSDQ\QRWXQGHUWKHFRQWURORIWKH%X\HURU6HOOHU
          & $WFORVLQJ                                 VSHFLDO
                  6HOOHUVKDOOH[HFXWHDQGGHOLYHUDJHQHUDOZDUUDQW\GHHGFRQYH\LQJWLWOHWRWKH3URSHUW\WR%X\HUDQGVKRZLQJQRDGGLWLRQDOH[FHSWLRQV
                   WR WKRVH SHUPLWWHG LQ WKH 6XUYH\ DQG 7LWOH 5HYLHZ 3DUDJUDSK &  DQ DVVLJQPHQW RI /HDVHV DQG IXUQLVKHV WD[ VWDWHPHQWV RU
                   FHUWL¿FDWHVVKRZLQJQRGHOLQTXHQWWD[HVRQWKH3URSHUW\
                  %X\HUVVKDOOSD\WKH3XUFKDVH3ULFHLQJRRGIXQGVDFFHSWDEOHWRWKHHVFURZDJHQW
                  6HOOHUDQG%X\HUVKDOOH[HFXWHDQGGHOLYHUDQ\QRWLFHVVWDWHPHQWVFHUWL¿FDWHVDႈGDYLWVUHOHDVHVORDQGRFXPHQWVDQGRWKHUGRFXPHQWV
                   UHTXLUHGRIWKHPE\WKLV&RQWUDFWWKH&RPPLWPHQWRUODZQHFHVVDU\IRUWKHFORVLQJRIWKHVDOHDQGWKHLVVXDQFHRIWKH7LWOH3ROLF\
                       8SRQ&ORVLQJWKHH[LVWLQJDEVWUDFWRIWLWOHLIRZQHGE\6HOOHUVKDOOEHFRPHWKHSURSHUW\RI%X\HU
           ' $OOFRYHQDQWVUHSUHVHQWDWLRQVDQGZDUUDQWLHVLQWKLV&RQWUDFWVXUYLYHFORVLQJ


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OREC FARM, RANCH, AND RECREATIONAL SALE (1-1-2022)                                                                                      Page 5 of 8
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                                                              58 Lenna Rd
    Farm and Ranch Contract: Canadian River Ranch - 439 Acre Parcel,
                                                                                              3URSHUW\,GHQWL¿HU
      15. POSSESSION6HOOHUVKDOOGHOLYHUWR%X\HUSRVVHVVLRQRIWKH3URSHUW\LQLWVSUHVHQWRUUHTXLUHGFRQGLWLRQRUGLQDU\ZHDUDQGWHDUH[FHSWHG
           FKHFNRQH  XSRQFORVLQJDQGIXQGLQJ DFFRUGLQJWRDZULWWHQOHDVHUHTXLUHGE\WKH3DUWLHV$Q\SRVVHVVLRQE\%X\HUSULRUWRFORVLQJRU
          E\6HOOHUDIWHUFORVLQJZKLFKLVQRWDXWKRUL]HGE\DZULWWHQOHDVHZLOOHVWDEOLVKDWHQDQF\DWVXႇHUDQFHUHODWLRQVKLSEHWZHHQWKH3DUWLHV&RQVXOW
          \RXULQVXUDQFHDJHQWSULRUWRFKDQJHRIRZQHUVKLSRUSRVVHVVLRQEHFDXVHLQVXUDQFHFRYHUDJHPD\EHOLPLWHGRUWHUPLQDWHG7KHDEVHQFHRID
          ZULWWHQOHDVHRUDSSURSULDWHLQVXUDQFHFRYHUDJHPD\H[SRVHWKH3DUWLHVWRHFRQRPLFORVV

                                        The terms and conditions set forth in the Sale Contract Addendum attached hereto are hereby
      16. SPECIAL PROVISIONS. __________________________________________________________________________________________
          incorporated in this Contract in their entirety.
          ________________________________________________________________________________________________________________
          ________________________________________________________________________________________________________________
      17. SETTLEMENT AND OTHER EXPENSES
         A. 7KHIROORZLQJH[SHQVHVPXVWEHSDLGDWRUSULRUWRFORVLQJ
                  ([SHQVHVSD\DEOHE\6HOOHU 6HOOHU¶V([SHQVHV 
                      D 5HOHDVHV RI H[LVWLQJ OLHQV LQFOXGLQJ SUHSD\PHQW SHQDOWLHV DQG UHFRUGLQJ IHHV UHOHDVH RI 6HOOHU ORDQ OLDELOLW\ WD[ VWDWHPHQWV RU
                         FHUWL¿FDWHV SUHSDUDWLRQ RI GHHG RQHKDOI RI HVFURZ IHH WLWOH H[SHQVHV LQ WKH 7LWOH (YLGHQFH VXESDUDJUDSK % DQG RWKHU
                         H[SHQVHVSD\DEOHE\6HOOHUXQGHUWKLV&RQWUDFW
                                                                              0.00
                      E 6HOOHUVKDOODOVRSD\DQDPRXQWQRWWRH[FHHGBBBBBBBBBBBBBBBBWREHDSSOLHGLQWKHIROORZLQJRUGHU%X\HU¶V([SHQVHVZKLFK
                         %X\HU LV SURKLELWHG IURP SD\LQJ E\ )+$ 9$ VWDWHFRRUGLQDWHG YHWHUDQ¶V KRXVLQJ DVVLVWDQFH SURJUDPV RU RWKHU JRYHUQPHQWDO
                         ORDQSURJUDPV%X\HU¶SUHSDLGLWHPVRWKHU%X\HU¶H[SHQVHV
                 ([SHQVHVSD\DEOHE\%X\HU %X\HU¶V([SHQVHV 
                      D /RDQRULJLQDWLRQGLVFRXQWEX\GRZQDQGFRPPLWPHQWIHHV /RDQ)HHV 
                      E 7HUPLWH ,QVSHFWLRQ IHHV 3URSHUW\ ,QVSHFWLRQ IHHV $SSUDLVDO IHHV ORDQ DSSOLFDWLRQ IHHV FUHGLW UHSRUWV SUHSDUDWLRQ RI ORDQ
                         GRFXPHQWVLQWHUHVWRQWKHQRWHVIURPGDWHRIGLVEXUVHPHQWWRRQHPRQWKSULRUWRGDWHVRI¿UVWPRQWKO\SD\PHQWVUHFRUGLQJIHHV
                         FRSLHV RI HDVHPHQWV DQG UHVWULFWLRQV ORDQUHODWHG LQVSHFWLRQ IHHV SKRWRV DPRUWL]DWLRQ VFKHGXOHV RQHKDOI RI HVFURZ IHH DOO
                         SUHSDLGLWHPVLQFOXGLQJUHTXLUHGSUHPLXPVIRUÀRRGDQGKD]DUGLQVXUDQFHUHVHUYHGHSRVLWVIRULQVXUDQFHDGYDORUHPWD[HVDQG
                         VSHFLDO JRYHUQPHQWDO DVVHVVPHQWV FRXULHU IHH UHSDLU LQVSHFWLRQ XQGHUZULWLQJ IHH DQG ZLUH WUDQVIHU H[SHQVHV LQFLGHQW WR DQ\
                         ORDQWLWOHH[SHQVHVLQVXESDUDJUDSK%DQGRWKHUH[SHQVHVSD\DEOHE\%X\HUXQGHUWKLV&RQWUDFW
           B. %X\HUVKDOOSD\3ULYDWH0RUWJDJH,QVXUDQFH3UHPLXP 30, 9$/RDQ)XQGLQJ)HHRU)+$0RUWJDJH,QVXUDQFH3UHPLXP 0,3 DVUHTXLUHGE\WKH/HQGHU
            C. ,IDQ\H[SHQVHH[FHHGVDQDPRXQWH[SUHVVO\VWDWHGLQWKLV&RQWUDFWIRUVXFKH[SHQVHWREHSDLGE\D3DUW\WKDW3DUW\PD\WHUPLQDWHWKLV
               &RQWUDFWXQOHVVWKHRWKHU3DUW\DJUHHVWRSD\VXFKH[FHVV%X\HUPD\QRWSD\FKDUJHVDQGIHHVH[SUHVVO\SURKLELWHGE\)+$9$VWDWH
               FRRUGLQDWHGYHWHUDQ¶VKRXVLQJDVVLVWDQFHSURJUDPVRURWKHUJRYHUQPHQWDOORDQSURJUDPUHJXODWLRQV
      18. PRORATIONS OF TAXES7D[HVIRUWKHFXUUHQW\HDULQWHUHVWPDLQWHQDQFHIHHVDVVHVVPHQWVGXHVDQGUHQWVZLOOEHSURUDWHGWKURXJKWKH
          &ORVLQJ'DWH,IWD[HVIRUWKHFXUUHQW\HDUYDU\IURPWKHDPRXQWSURUDWHGDWFORVLQJWKH3DUWLHVVKDOODGMXVWWKHSURUDWLRQZKHQWD[VWDWHPHQWV
          IRUWKHFXUUHQW\HDUDUHDYDLODEOH,IWD[HVDUHQRWSDLGDWRUSULRUWRFORVLQJ%X\HUVKDOOSD\WD[HVIRUWKHFXUUHQW\HDU5HQWDOVZKLFKDUH
          XQNQRZQDWWLPHRIFORVLQJZLOOEHSURUDWHGEHWZHHQ%X\HUDQG6HOOHUZKHQWKH\EHFRPHNQRZQ
      19. CASUALTY LOSS,IDQ\SDUWRIWKH3URSHUW\LVGDPDJHGRUGHVWUR\HGE\¿UHRURWKHUFDVXDOW\DIWHUWKH7LPH5HIHUHQFH'DWHRIWKLV&RQWUDFW
          6HOOHUVKDOOUHVWRUHWKH3URSHUW\WRLWVSUHYLRXVFRQGLWLRQDVVRRQDVUHDVRQDEO\SRVVLEOHEXWLQDQ\HYHQWE\WKH&ORVLQJ'DWH,I6HOOHUIDLOVWR
          GRVRGXHWRIDFWRUVEH\RQG6HOOHU¶FRQWURO%X\HUPD\ D WHUPLQDWHWKLV&RQWUDFWDQGWKH(DUQHVW0RQH\ZLOOEHUHIXQGHGWR%X\HU E H[WHQG
          WKHWLPHIRUSHUIRUPDQFHXSWRGD\VDQGWKH&ORVLQJ'DWHZLOOEHH[WHQGHGDVQHFHVVDU\RU F DFFHSWWKH3URSHUW\LQLWVGDPDJHGFRQGLWLRQ
          ZLWKDQDVVLJQPHQWRILQVXUDQFHSURFHHGVDQGUHFHLYHFUHGLWIURP6HOOHUDWFORVLQJLQWKHDPRXQWRIWKHGHGXFWLEOHXQGHUWKHLQVXUDQFHSROLF\
          6HOOHUREOLJDWLRQVXQGHUWKLVSDUDJUDSKDUHLQGHSHQGHQWRIDQ\REOLJDWLRQVRI6HOOHUXQGHUWKH$FFHSWDQFHRI3URSHUW\3DUDJUDSK
      20. DEFAULT6HOOHURU%X\HUZLOOEHLQGHIDXOWLIHLWKHUIDLOVWRFRPSO\ZLWKDQ\PDWHULDOFRYHQDQWDJUHHPHQWRUREOLJDWLRQZLWKLQWKHWLPHOLPLWV
          UHTXLUHGE\WKLV&RQWUDFWTIME IS OF THE ESSENCE IN THIS CONTRACT.
          A. ,I%X\HUIDLOVWRFRPSO\ZLWKWKLV&RQWUDFW%X\HUZLOOEHLQGHIDXOWDQG6HOOHUPD\
                HQIRUFHVSHFL¿FSHUIRUPDQFHVHHNVXFKRWKHUUHOLHIDVPD\EHSURYLGHGE\ODZRUERWKRU
                WHUPLQDWHWKLV&RQWUDFWDQGUHFHLYHWKH(DUQHVW0RQH\DVOLTXLGDWHGGDPDJHVWKHUHE\UHOHDVLQJERWK3DUWLHVIURPWKLV&RQWUDFW
          B. ,IGXHWRIDFWRUVEH\RQG6HOOHU¶FRQWURO6HOOHUIDLOVZLWKLQWKHWLPHDOORZHGWRPDNHDQ\QRQFDVXDOW\UHSDLUVRUGHOLYHUWKH&RPPLWPHQWRU
               VXUYH\LIUHTXLUHGRI6HOOHU%X\HUPD\
               1) extend the time for performance up to 15 days and the Closing Date will be extended as necessary; or
                WHUPLQDWHWKLV&RQWUDFWDVWKHVROHUHPHG\DQGUHFHLYHWKH(DUQHVW0RQH\
             ,I6HOOHUIDLOVWRFRPSO\ZLWKWKLV&RQWUDFWIRUDQ\RWKHUUHDVRQ6HOOHUZLOOEHLQGHIDXOWDQG%X\HUPD\ D HQIRUFHVSHFL¿FSHUIRUPDQFHVHHNVXFKRWKHU
             UHOLHIDVPD\EHSURYLGHGE\ODZRUERWKRU E WHUPLQDWHWKLV&RQWUDFWDQGUHFHLYHWKH(DUQHVW0RQH\WKHUHE\UHOHDVLQJERWK3DUWLHVIURPWKLV&RQWUDFW
      21. DISCLAIMER AND INDEMNIFICATION,WLVH[SUHVVO\XQGHUVWRRGE\6HOOHUDQG%X\HUWKDW/LVWLQJ%URNHUDQGLWVDႈOLDWHGOLFHQVHHVDQG6HOOLQJ
          %URNHUDQGLWVDႈOLDWHGOLFHQVHHVGRQRWZDUUDQWWKHSUHVHQWRUIXWXUHFURSSURGXFWLYLW\LQFOXGLQJJUDVVHVZDWHUDYDLODELOLW\DERYHRUEHORZJURXQG
          VL]HE\VTXDUHIRRWDJHRUDFUHDJHFRQGLWLRQVWUXFWXUHRUVWUXFWXUHV\VWHPVRIWKH3URSHUW\RUDQ\EXLOGLQJQRUGRWKH\KROGWKHPVHOYHVRXWWREH
          H[SHUWVLQTXDOLW\GHVLJQDQGFRQVWUXFWLRQ6HOOHUDQG%X\HUVKDOOKROGWKH/LVWLQJ%URNHUDQGLWVDႈOLDWHGOLFHQVHHVDQG6HOOLQJ%URNHUDQGLWV
          DႈOLDWHGOLFHQVHHVKDUPOHVVLQWKHHYHQWRIORVVHVFODLPVRUGHPDQGVE\RUDJDLQVW6HOOHURU%X\HU7KLVSDUDJUDSKVKDOOVXUYLYHWKH&ORVLQJ
      22. INCURRED EXPENSES AND RELEASE OF EARNEST MONEY.
           A. INCURRED EXPENSES. %X\HU DQG 6HOOHU DJUHH WKDW DQ\ H[SHQVHV LQFXUUHG RQ WKHLU EHKDOI VKDOO EH SDLG E\ WKH 3DUW\ LQFXUULQJ VXFK
               H[SHQVHVDQGVKDOOQRWEHSDLGIURPHDUQHVWPRQH\
           B. RELEASE OF EARNEST MONEY. ,QWKHHYHQWDGLVSXWHDULVHVSULRUWRWKHUHOHDVHRIHDUQHVWPRQH\KHOGLQHVFURZWKHHVFURZKROGHU
               VKDOOUHWDLQVDLGHDUQHVWPRQH\XQWLORQHRIWKHIROORZLQJRFFXU
               $ZULWWHQUHOHDVHLVH[HFXWHGE\%X\HUDQG6HOOHUDJUHHLQJWRLWVGLVEXUVHPHQW
               $JUHHPHQWRIGLVEXUVHPHQWLVUHDFKHGWKURXJK0HGLDWLRQ
               ,QWHUSOHDGHURUOHJDODFWLRQLV¿OHGDWZKLFKWLPHWKHHDUQHVWPRQH\VKDOOEHGHSRVLWHGZLWKWKH&RXUW&OHUNRU




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                                                              58 Lenna Rd
    Farm and Ranch Contract: Canadian River Ranch - 439 Acre Parcel,
                                                                                                      3URSHUW\,GHQWL¿HU
                  7KHSDVVDJHRIWKLUW\  GD\VIURPWKHGDWHRI¿QDOWHUPLQDWLRQRIWKH&RQWUDFWKDVRFFXUUHGDQGRSWLRQV  RU DERYHKDVQRWEHHQ
                    H[HUFLVHG%URNHUHVFURZKROGHUDW%URNHU¶VGLVFUHWLRQPD\GLVEXUVHHDUQHVWPRQH\6XFKGLVEXUVHPHQWPD\EHPDGHRQO\DIWHU¿IWHHQ
                      GD\VZULWWHQQRWLFHWR%X\HUDQG6HOOHUDWWKHLUODVWNQRZQDGGUHVVVWDWLQJWKHHVFURZKROGHU¶VSURSRVHGGLVEXUVHPHQW
                  ,QWKHHYHQW(DUQHVW0RQH\LVKHOGLQHVFURZDWDWLWOHFRPSDQ\WKH(DUQHVW0RQH\may onlyEHUHOHDVHGSXUVXDQWWRSDUDJUDSK %  
                      RU  
      23. REPRESENTATIONS
            A. 6HOOHUUHSUHVHQWVWKDWDVRIWKH&ORVLQJ'DWH D WKHUHZLOOEHQROLHQVDVVHVVPHQWVRUVHFXULW\LQWHUHVWVDJDLQVWWKH3URSHUW\ZKLFKZLOOQRWEHVDWLV¿HG
                RXWRIWKHVDOHVSURFHHGVXQOHVVVHFXULQJSD\PHQWRIDQ\ORDQVDVVXPHGE\%X\HUDQG E DVVXPHGORDQVZLOOQRWEHLQGHIDXOW,IDQ\UHSUHVHQWDWLRQ
                RI6HOOHULQWKLV&RQWUDFWLVXQWUXHRQWKH&ORVLQJ'DWH%X\HUPD\WHUPLQDWHWKLV&RQWUDFWDQGWKH(DUQHVW0RQH\ZLOOEHUHIXQGHGWR%X\HU
            B. %X\HU UHSUHVHQWV WKDW WKH\ KDYH NOT UHOLHG RQ DQ\ TXRWHG DFUHDJH DQGRU VTXDUH IRRWDJH IURP DQ\ VRXUFH DQG KDYH KDG WKH ULJKW WR
                PHDVXUHWKHODQGRUEXLOGLQJVRQWKH3URSHUW\WRWKHLUVDWLVIDFWLRQSULRUWRFORVLQJ
      24. TAX DEFERRED EXCHANGE 1031,QFRQIRUPDQFHZLWK6HFWLRQRIWKH,QWHUQDO5HYHQXH&RGHLWPD\EHWKHLQWHQWLRQRIWKH6HOOHURU
          %X\HU RU ERWK WR HႇHFW D WD[GHIHUUHG H[FKDQJH (LWKHU WKH 6HOOHU RU %X\HU RU ERWK PD\ DVVLJQ KLV KHU ULJKWV LQ WKH FRQWUDFW WR D 4XDOL¿HG
          ,QWHUPHGLDU\ IRU WKH SXUSRVH RI HႇHFWLQJ D WD[GHIHUUHG H[FKDQJH7KH 3DUWLHV DJUHH WR FRRSHUDWH DQG H[HFXWH WKH QHFHVVDU\ GRFXPHQWV WR
          DOORZ HLWKHU RU ERWK 3DUWLHV WR HႇHFW VXFK H[FKDQJH DW QR DGGLWLRQDO FRVW RU OLDELOLW\ WR WKH RWKHU 3DUW\ +RZHYHU DQ\ ZDUUDQWLHV WKDW PD\ EH
          H[SUHVVHGLQWKLVFRQWUDFWVKDOOUHPDLQDQGEHHQIRUFHDEOHEHWZHHQWKH3DUWLHVH[HFXWLQJWKLVGRFXPHQW
      25. MEDIATION. $Q\GLVSXWHDULVLQJZLWKUHVSHFWWRWKH&RQWUDFWVKDOO¿UVWEHVXEPLWWHGWRDGLVSXWHUHVROXWLRQPHGLDWLRQV\VWHPVHUYLFLQJWKHDUHD
          LQZKLFKWKH3URSHUW\LVORFDWHG$Q\VHWWOHPHQWDJUHHPHQWVKDOOEHELQGLQJ,QWKHHYHQWDQDJUHHPHQWLVQRWUHDFKHGWKH3DUWLHVPD\SXUVXH
          OHJDOUHPHGLHVDVSURYLGHGE\WKH&RQWUDFW
      26. NON-FOREIGN SELLER,I6HOOHULVD³IRUHLJQSHUVRQ´DVGH¿QHGE\DSSOLFDEOHODZRULI6HOOHUIDLOVWRGHOLYHUDQDႈGDYLWWR%X\HUWKDW6HOOHU
          LVQRWD³IRUHLJQSHUVRQ´WKHQ%X\HUVKDOOZLWKKROGIURPWKHVDOHVSURFHHGVDQDPRXQWVXႈFLHQWWRFRPSO\ZLWKDSSOLFDEOHWD[ODZDQGGHOLYHU
          WKH VDPH WR WKH ,QWHUQDO 5HYHQXH 6HUYLFH WRJHWKHU ZLWK DSSURSULDWH WD[ IRUPV  ,QWHUQDO 5HYHQXH 6HUYLFH UHJXODWLRQV UHTXLUH ¿OLQJ ZULWWHQ
          UHSRUWVLIFXUUHQF\LQH[FHVVRIVSHFL¿HGDPRXQWVLVUHFHLYHGLQWKHWUDQVDFWLRQ
      27. NOTICES$Q\ QRWLFH SURYLGHG IRU KHUHLQ VKDOO EH JLYHQ WR WKH 3DUWLHV LQ ZULWLQJ WKURXJK WKHLU UHVSHFWLYH EURNHU LI DSSOLFDEOH DQG VHQW E\ D  SHUVRQDO
          GHOLYHU\ E 8QLWHG6WDWHVPDLOSRVWDJHSUHSDLGRU F E\IDFVLPLOHRURWKHUHOHFWURQLFPHDQVWRWKH(VFURZ$JHQWDVGH¿QHGLQ7HUPV3DUDJUDSK%KHUHLQ
      28. BROKER RELATIONSHIP DISCLOSURE/COMMISSION. %X\HUDFNQRZOHGJHVDQGFRQ¿UPVWKDWWKH%URNHUSURYLGLQJEURNHUDJHVHUYLFHVWRWKH%X\HU
          KDVGHVFULEHGDQGGLVFORVHGWKHLUGXWLHVDQGUHVSRQVLELOLWLHVWRWKH%X\HUSULRUWRWKH%X\HUVLJQLQJWKLV&RQWUDFW
               $SSOLFDEOHIRULQKRXVHWUDQVDFWLRQVRQO\ %X\HUDFNQRZOHGJHVDQGFRQ¿UPVWKDWWKHEURNHULVSURYLGLQJEURNHUDJHVHUYLFHVWRERWK3DUWLHVWRWKH
          WUDQVDFWLRQSULRUWRWKH3DUWLHVVLJQLQJWKLV&RQWUDFW
          6HOOHUDFNQRZOHGJHVDQGFRQ¿UPVWKDWWKH%URNHUSURYLGLQJEURNHUDJHVHUYLFHVWRWKHVHOOHUKDVGHVFULEHGDQGGLVFORVHGWKHLUGXWLHVDQGUHVSRQVLELOLWLHV
          WRWKHVHOOHUSULRUWRWKHVHOOHUVLJQLQJWKLV&RQWUDFW
               $SSOLFDEOHIRULQKRXVHWUDQVDFWLRQVRQO\ 6HOOHUDFNQRZOHGJHVDQGFRQ¿UPVWKDWWKHEURNHULVSURYLGLQJEURNHUDJHVHUYLFHVWRERWK3DUWLHVWRWKH
          WUDQVDFWLRQSULRUWRWKH3DUWLHVVLJQLQJWKLV&RQWUDFW
          6HOOHUIXUWKHUDFNQRZOHGJHVUHFHLSWRI(VWLPDWHRI&RVWVDVVRFLDWHGZLWKWKLVWUDQVDFWLRQDQGWKDWD5HVLGHQWLDOVDOHV&RQWUDFWLQIRUPDWLRQ%RRNOHWKDV
          EHHQPDGHDYDLODEOHWRWKHVHOOHULQSULQWRUDWZZZRUHFRNJRY
      29. DELIVERY OF ACCEPTANCE OF OFFER OR COUNTEROFFER. 7KH %X\HU DQG 6HOOHU DXWKRUL]H WKHLU UHVSHFWLYH %URNHUV LI DSSOLFDEOH WR
          UHFHLYHGHOLYHU\RIDQDFFHSWHGRႇHURUFRXQWHURႇHUDQGDQ\UHODWHGDGGHQGDRUGRFXPHQWV
      30. EXECUTION BY PARTIES
          AGREED TO BY BUYER:
                                                         
            On This Date
            Richard Eric Murdock
           _______________________________________________                                             Lisa Ann Murdock
                                                                                                       ________________________________________________
           Buyer’s Printed Name                                                                        Buyer’s Printed Name

           _______________________________________________                                             ________________________________________________
           Buyer’s Signature                                                                           Buyer’s Signature

           _______________________________________________                                             ________________________________________________
           Buyer’s Printed Name                                                                        Buyer’s Printed Name

           _______________________________________________                                             ________________________________________________
           Buyer’s Signature                                                                           Buyer’s Signature

           _______________________________________________                                             ________________________________________________
           Buyer’s Printed Name                                                                        Buyer’s Printed Name

           _______________________________________________                                             ________________________________________________
           Buyer’s Signature                                                                           Buyer’s Signature




         This form was created by the Oklahoma Real Estate Contract Form Committee and approved by the Oklahoma Real Estate Commission.
OREC FARM, RANCH, AND RECREATIONAL SALE (1-1-2022)                                                                                      Page 7 of 8
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                      Farm and Ranch Contract: Canadian River Ranch - 439 Acre Parcel, Lenna Rd

                                               LEGAL DESCRIPTION


                    Property ID                                   Legal Description


            0000-13-10N-14E-3-001-00                      SW/4 Section 13 10N 14E (160 Acres)

                                           SE/4 Section 14 10N 14E less and except 1 acre beginning SE/C SE SE
            0000-14-10N-14E-4-001-00                           N208.71' W208.71' S208.71'
                                                         E208.71' POB SEC 14-10-14 (159 Acres)

            0000-23-10N-14E-1-002-00             E/2 NE/4 and NE/4 SE/4 Section 23 10N 14E (120 acres)
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                                                  SALE CONTRACT ADDENDUM

                      THIS SALE CONTRACT ADDENDUM (this “Addendum”) is made a part of that certain
             Oklahoma Uniform Contract of Sale of Real Estate - Farm, Ranch and Recreational Land (the “Contract”)
             by and between Gregory S. Milligan, in his capacity as Chapter 11 Trustee (the “Trustee”) for the chapter
             11 cases of Canadian River Ranch, LLC and Daryl Greg Smith (together, the “Debtors”), owners of certain
             interests in the real property described therein (the “Property”), and Darren Keith and Julie Reed (“Reed”),
             owners of a 10% undivided interest in certain portions of the Property, together with the Trustee (“Sellers”),
             and Richard Eric and Lisa Ann Murdock or his assigns (“Buyer”). In addition to the obligations of Sellers
             and Buyer contained in the Contract, Sellers and Buyer hereby agree as follows:

                       Reference is hereby made to that certain (i) Trustee’s Motion for (I) Order Approving: (A) Bid
             Procedures, Including Approval of Stalking Horse Bidder; (B) Notice of Auction and Sale Hearing; and
             (C) Related Relief, and (II) Order: (A) Approving the Sale of Real Estate Free and Clear of All Liens,
             Claims, Encumbrances and Other Interests Pursuant to Bankruptcy Code Sections 105, 363(b), (f), (h) and
             (m), 365, and 503; and (B) Granting Related Relief filed by the Trustee (the “Bid Procedures Motion”)
             [D.E. 485] filed on July 15, 2022 in the United States Bankruptcy Court for the Western District of Texas,
             Waco Division (the “Bankruptcy Court”), and (ii) Order Granting the Bid Procedures Motion (the “Bid
             Procedures Order”) [D.E. 502]. The Bid Procedures Order establishes (i) an auction (the “Auction”), and
             (ii) a final hearing (the “Sale Hearing”) to approve the sale of the Property on September 9, 2022. All
             capitalized terms used herein and not otherwise defined shall have the same meaning as ascribed to them
             in the Bid Procedures Motion and Bid Procedures Order.

                     Upon both (i) the full execution of the Contract, and (ii) the Trustee’s determination that Buyer is
             a Qualified Bidder, a valid and binding contract shall exist.

             1.       TERM; CONTRACT APPROVAL:

                      (a)     The “Effective Date” of the Contract shall be the date of execution. The parties hereto
             understand, acknowledge and agree that, sale of the Property is subject to Bankruptcy Court approval, and
             that the terms of the Contract and this Addendum are subject to higher and better offers at the Auction.

             2.       PROPERTY: Sellers agree to sell to Buyer and Buyer agrees to purchase from Sellers the Property.
             Sellers and Buyer acknowledge and agree that the legal description for the Property technically may be
             legally insufficient for the purpose of supporting an action for enforcement of the Contract. Because the
             parties desire to execute the Contract to provide for the right of enforcement, Sellers and Buyer agree that:
             (i) they are experienced in transactions of this nature; (ii) they are familiar with the location of the Property;
             and (iii) each party waives any and all claims of an insufficient legal description, including, but not limited
             to, any and all claims under the Statute of Frauds.

             3.      TITLE: The title to the Property shall be free and clear of liens, claims, interests and encumbrances
             pursuant to 11 U.S.C. § 363(f) of the United States Bankruptcy Code, subject only to (i) Section 7.C. of
             the Contract and (ii) an exception in the event that the Closing occurs before the Sale Order has become a
             Final Order. For purposes hereof, “Final Order” shall mean with respect to the Sale Order that (a) the time
             to appeal, seek certiorari, or request reargument or further review or rehearing (collectively, “Appeal”) has
             expired and no Appeal has been timely filed, or (b) any Appeal that has been or may be filed, has been
             resolved by the highest court to which the order or judgment was appealed, from which certiorari was
             sought, or to which the request was made, and no further Appeal has been or can be taken or granted.

             4.      PURCHASE PRICE: The total purchase price for the Property shall be as set forth in Section 4.A.
             of the Contract (as may be adjusted upward following the Auction, the “Purchase Price”). Buyer shall


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             deposit with the escrow agent the earnest money as more particularly set forth in Section 4.B. of the Contract
             (the “Earnest Money”).

             5.       CLOSING DATE: The closing of the Contract (“Closing”) shall take place remotely on the earlier
             of (i) September 27, 2022, and (ii) no later than three (3) calendar days after the Sale Order becomes a Final
             Order, subject to any delay of Closing as provided in Section 7.C. of the Contract. For the avoidance of
             doubt, if Buyer is not the Successful Bidder at the Auction, the provisions of Section 10 herein will control
             the disposition of the Earnest Money and obligation under this Section 5.

             6.       INSPECTION: Buyer may not perform any intrusive testing of the Property. Buyer shall
             indemnify Sellers against all losses, damages, expenses, and claims that may arise by reason of any entry
             by Buyer or any agent, employee or contractor of Buyer into and upon and testing of the Property pursuant
             to this Section and shall repair any damage to the Property caused by such entry.

             7.      INSPECTIONS/AS-IS, WHERE-IS. Buyer has previously inspected the Property and, by
             executing the Contract, affirms that it has approved all aspects of the Property. It is understood that Buyer
             will be relying solely on its independent inspections and evaluations of the Property in determining the
             Property’s fitness for Buyer’s intended use. The Contract is an arms-length contract between the parties
             hereto. THE PURCHASE PRICE WAS BARGAINED FOR ON THE BASIS OF AN “AS-IS, WHERE-
             IS, WITH ALL FAULTS” TRANSACTION AND REFLECTS THE CONTRACT OF THE PARTIES
             THAT THERE ARE NO REPRESENTATIONS, DISCLOSURES, OR EXPRESS OR IMPLIED
             WARRANTIES, EXCEPT THOSE IN THE CONTRACT AND THE CLOSING DOCUMENTS. AT
             CLOSING, BUYER WILL ACCEPT THE PROPERTY IN ITS THEN CURRENT CONDITION AT
             CLOSING. BUYER IS NOT RELYING ON ANY REPRESENTATIONS, DISCLOSURES, OR
             EXPRESS OR IMPLIED WARRANTIES OTHER THAN THOSE EXPRESSLY CONTAINED IN THE
             CONTRACT AND THE CLOSING DOCUMENTS. BUYER IS NOT RELYING ON ANY
             INFORMATION REGARDING THE PROPERTY PROVIDED BY ANY PERSON, OTHER THAN
             BUYER’S OWN INSPECTION AND THE REPRESENTATIONS AND WARRANTIES CONTAINED
             IN THE CONTRACT AND THE CLOSING DOCUMENTS. IT IS EXPRESSLY UNDERSTOOD AND
             AGREED THAT BUYER ACCEPTS THE CONDITION OF THE PROPERTY WITHOUT ANY
             IMPLIED REPRESENTATION, WARRANTY OR GUARANTEE AS TO MERCHANTABILITY,
             FITNESS FOR A PARTICULAR PURPOSE OR OTHERWISE AS TO THE CONDITION, SIZE OR
             VALUE OF THE PROPERTY, EXCEPT ONLY AS MAY BE OTHERWISE EXPRESSLY PROVIDED
             IN THE CONTRACT, AND SELLERS HEREBY EXPRESSLY DISCLAIM ANY AND ALL SUCH
             IMPLIED REPRESENTATIONS, WARRANTIES OR GUARANTEES, WITHOUT LIMITING THE
             GENERALITY OF THE FOREGOING, SELLERS MAKE NO REPRESENTATIONS OR
             WARRANTIES WITH RESPECT TO (A) THE VALUE, NATURE, QUALITY, OR CONDITION OF
             THE PROPERTY BEING SOLD, (B) THE SUITABILITY OF THE PROPERTY FOR ANY
             ACTIVITIES THAT BUYER MAY CONDUCT THEREON, (C) THE COMPLIANCE OF THE
             PROPERTY WITH ANY LAWS, ORDINANCES, OR REGULATIONS OF ANY APPLICABLE
             GOVERNMENTAL ENTITY, (D) COMPLIANCE OF THE PROPERTY WITH ANY
             ENVIRONMENTAL PROTECTION, POLLUTION, OR LAND USE LAWS, RULES, REGULATIONS,
             ORDERS, OR REQUIREMENTS, INCLUDING THE EXISTENCE IN OR THE PROPERTY OF
             HAZARDOUS MATERIALS, OR (E) ANY OTHER MATTER WITH RESPECT TO THE PROPERTY,
             EXCEPT AS SET FORTH IN THE CONTRACT.

             8.       REPRESENTATIONS: Buyer acknowledges that neither Sellers nor any party on Sellers’ behalf
             have made, nor do they hereby make, any representations as to the past, present or future condition, income,
             expenses, operation or any other matter or thing affecting or relating to the Property except as expressly set
             forth in the Contract.


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             9.      DEFAULT AND REMEDIES: Sellers or Buyer shall be in default under the Contract if either fails
             to comply with any material covenant, agreement or obligation within any time limits required by the
             Contract (a “Default” or “Defaults”). In the event of any purported default by Sellers, Buyer must deliver
             a notice in writing to Sellers specifying the default and affording the Sellers five (5) Business Days (as
             defined below) to cure (the “Cure Period”). Following Default by either Sellers or Buyer under the
             Contract and the expiration of the Cure Period as it relates to Sellers, the other party shall have the following
             remedies:

                      (a)     If Sellers Default, Buyer may either (i) cancel and terminate the Contract, and receive a
             full refund of the Earnest Money, or (ii) seek to enforce the order approving sale through the Bankruptcy
             Court.

                     (b)    If Buyer Defaults, Sellers may terminate the Contract by written notice to Buyer and retain
             the Earnest Money as liquidated damages as Sellers’ sole remedy. The parties hereby acknowledge that it
             would be extremely difficult to ascertain the extent of actual damages caused by Buyer’s Default and that
             the Earnest Money represents as fair an approximation of such actual damages as the parties can now
             determine.

                     (c)     If, as a result of an alleged Default under the Contract, either Sellers or Buyer employ an
             attorney to enforce their rights, the non-prevailing party in the dispute shall, unless prohibited by law,
             reimburse the prevailing party for all reasonable attorney’s fees, court costs and other legal expenses
             incurred by the prevailing party in connection with the Default.

             10.     DISPOSITION OF EARNEST MONEY AND OTHER FUNDS AND DOCUMENTS: The
             Earnest Money shall be non-refundable and shall be paid to Sellers in the event of any termination of the
             Contract except as expressly set forth (i) in Section 9(a) hereof or (ii) this Section 10 as follows:

                      (a)     The Earnest Money shall be held in a segregated account by the Title Company until no
             later than ten (10) days after the Sale Hearing.

                     (b)     If the Buyer is not the Successful Bidder or the Back-Up Bidder, the Earnest Money shall
             be refundable and shall be returned to the Buyer no later than ten (10) days after the Sale Hearing.

                     (c)      If the Buyer is the Successful Bidder, upon delivery of the special warranty deed, as more
             particularly described in Section 14.C.1. of the Contract (the “Deed”), at Closing, the Earnest Money shall
             be credited against the Purchase Price.

                      (d)      If the Buyer is the Back-Up Bidder, the Earnest Money shall continue to be held by the
             Sellers until the first to occur of (i) sixty (60) days after completion of the Auction, (ii) consummation of
             the transaction with the Successful Bidder, or (iii) the Back-Up Bidder’s receipt of notice from the Sellers
             of the release by Sellers of the Back-Up Bidder’s obligations, at which time the Earnest Money shall be
             returned to the Buyer. Following the Sale Hearing, if the Successful Bidder fails to consummate an
             approved Sale Transaction because of a breach or failure to perform on part of such Successful Bidder or
             otherwise, the Back-Up Bidder will be deemed to be the new Successful Bidder, and the Sellers will be
             authorized to consummate the sale with the Back-Up Bidder, at which time, upon delivery of the Deed at
             Closing, the Earnest Money shall be credited against the Purchase Price. Additionally, the Earnest Money
             will become immediately non-refundable upon the Buyer becoming the new Successful Bidder.

             11.      REVERSAL ON APPEAL. If the Buyer is the Successful Bidder and pays the Purchase Price and
             if the Sale Order is reversed on Appeal and such reversal affects the validity of the sale to Buyer, then the



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             Buyer shall be entitled to a refund of the Purchase Price from the Sellers in proportion to their ownership
             interests as set forth in the recitals hereto.

             12.      NOTICES: All notices required under the Contract shall be deemed to be properly served if
             reduced to writing and sent by (i) certified or registered mail; (ii) Federal Express or similar overnight
             courier; (iii) facsimile transmission; or (iv) personal delivery and the date of such notice will be deemed to
             have been the date on which such notice is delivered or attempted to be delivered as shown by the certified
             mail return receipt or a commercial delivery service record, or in the case of facsimile on the date of receipt
             of the transmission as shown on a successful transmission confirmation receipt; provided, however, if the
             date for the performance of any action or obligation, or any time period specified hereunder occurs on a
             day other than a Business Day, then such date or time period shall be extended until the next Business Day.
             All notices shall be addressed as follows, unless otherwise specified in writing:

              SELLERS:                                                 BUYER:

              Daryl Greg Smith                                         Richard Eric and Lisa Ann Murdock
              5826 Cooksey Lane                                        Email: murdockproperties@yahoo.com
              Waco, Texas 76706
              Email: dsmith1114@gmail.com

              With a Copy to:                                          With a Copy to:

              c/o Gregory S. Milligan                                  __________________________
              Chapter 11 Trustee for Canadian River Ranch,             __________________________
              LLC and Daryl Greg Smith                                 __________________________
              P.O. Box 90099                                           __________________________
              Austin, TX 78709                                         Email:
              Email: gmilligan@harneypartners.com

              and

              Waller Lansden Dortch & Davis, LLP
              c/o Morris Weiss
              100 Congress Ave., Suite 1800
              Austin, Texas 78701
              Fax: (512) 685-6417
              Email: Morris.Weiss@Wallerlaw.com


              Darren Keith and Julie Reed
              611 S. Llano
              Whitney, Texas 76692
              Email: dkeithreed@yahoo.com

              With a Copy to:

              R. Rene Escobedo
              6800 Park Ten Blvd., Suite 135-E
              San Antonio, Texas 78213
              Fax: (210) 223-3815
              Email: rene.escobedo@rre-law.com

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             13.     TIME AND EXACT PERFORMANCE ARE OF THE ESSENCE UNDER THE CONTRACT.
             Buyer and Sellers hereby agree to perform each and every obligation hereunder in a prompt and timely
             manner; provided, however, if the date for the performance of any action or obligation, or any time period
             specified hereunder occurs on a day other than a Business Day, then the date or time period shall be
             extended until the next Business Day. As used herein “Business Day” shall mean any calendar day other
             than a Saturday, Sunday, or Oklahoma or Federal legal holiday.

             14.      ADDITIONAL TERMS:

                     (a)     Permits and Approvals. Sellers shall reasonably cooperate with Buyer in verifying any
             existing governmental approvals and in seeking and making any inquiries related to the Property, as
             reasonably determined necessary by Buyer, provided such cooperation is at no cost or expense to Sellers.
             Sellers make no representations or warranties about the existence of or effectiveness of any governmental
             approvals.

                     (b)       Assignment. Buyer may assign the Contract to any entity formed by Buyer for the purpose
             of taking title to the Property, provided the assignee assumes, in writing, all obligations and liabilities of
             Buyer under the Contract and has the same beneficial ownership as the Buyer, and with approval of the
             Bankruptcy Court. Unless agreed to by Sellers, Buyer shall not be relieved of any liability hereunder upon
             such an assignment.

                      (c)      Miscellaneous. This Addendum shall be governed by, and construed and interpreted under,
             the laws and judicial decisions of the State of Oklahoma. This Addendum and all covenants, terms,
             conditions, warranties, and undertakings contained herein, and all amendments, modifications and
             extensions hereof, as applicable, shall be binding upon and shall inure to the benefit of the parties hereto
             and their respective heirs, executors, administrators, personal representatives, successors and permitted
             assigns. This Addendum may be executed in multiple counterparts, each of which shall be deemed an
             original, but taken together shall constitute one instrument. Sole and exclusive jurisdiction over any disputes
             related to this Addendum and the Contract shall be in the United States Bankruptcy Court for the Western
             District of Texas, Waco Division.

                   (d)   CONFLICTS OF PROVISIONS. SELLERS AND BUYER HEREBY ACKNOWLEDGE
             AND AGREE THAT THE TERMS AND CONDITIONS OF THIS ADDENDUM SUPERSEDE ANY
             DIFFERENT OR INCONSISTENT PROVISIONS IN THE CONTRACT AND, AS A RESULT, IN THE
             EVENT OF ANY CONFLICT BETWEEN THE TERMS AND CONDITIONS OF THE CONTRACT
             AND THE TERMS AND CONDITIONS OF THIS ADDENDUM, THE TERMS AND CONDITIONS
             OF THIS ADDENDUM SHALL CONTROL.

             15.     ENTIRE AGREEMENT AND MANNER OF MODIFICATION: The Contract, and any
             attachments or addenda thereto, constitutes the complete agreement of the parties concerning the Property,
             and supersedes all other agreements and may be modified only by both parties initialing changes in the
             Contract or by written agreement. However, in the event of any conflict between the Contract and the Sale
             Order, the terms of the Sale Order shall prevail.

             16.      NO RULE OF STRICT CONSTRUCTION: Each party and its counsel has reviewed and jointly
             participated in the establishment of the Contract and the attachments or addenda thereto. No rule of strict
             construction or presumption that ambiguities will be construed against any drafter will apply, and no
             presumptions will be made or inferences drawn because of the final inclusion of a term not contained in a
             prior draft or the final deletion of a term contained in a prior draft.




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                                                              58 Lenna Rd
    Farm and Ranch Contract: Canadian River Ranch - 439 Acre Parcel,
                                                                                          3URSHUW\,GHQWL¿HU
                                                         OKLAHOMA REAL ESTATE COMMISSION
                                        This is a legally binding contract; if not understood, seek legal advice from an attorney.
                      This form is recommended for use by only licensees who specialize in farm, ranch, and recreational land transactions

                             OKLAHOMA UNIFORM CONTRACT OF SALE OF REAL ESTATE
                                     FARM, RANCH, AND RECREATIONAL LAND
     CONTRACT DOCUMENTS. 7KH&RQWUDFWLVGH¿QHGDVWKLVGRFXPHQWZLWKWKHIROORZLQJDWWDFKPHQWV V 
     (check supplements as applicable)
                       /HJDO'HVFULSWLRQ                                                 6XSSOHPHQW
                       Accessories                                                              Exhibit A
                       5XUDO3URSHUW\&RQYHQWLRQDO/RDQ                                      Exhibit B
                       6HOOHU)LQDQFLQJ                                                    _____________________________________________
                                                                                                Addendum
                       5HPRYDORI/LYHVWRFN                                               _____________________________________________

                                                    Gregory S. Milligan, in his capacity as Ch. 11 Trustee for Canadian River
     PARTIES.7+(&2175$&7LVHQWHUHGLQWREHWZHHQ
     BRanch
        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB´6HOOHU´
              LLC and Daryl G. Smith, owner of 90% undivided interest, and Darren K.&Julie Reed, owners 10% undivided interest
     DQGBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB´%X\HU´
          Roger C. Broach or assigns
     7KH3DUWLHV¶VLJQDWXUHVDWWKHHQGRIWKH&RQWUDFWZKLFKLQFOXGHVDQ\DWWDFKPHQWVRUGRFXPHQWVLQFRUSRUDWHGE\UHIHUHQFHZLWKGHOLYHU\WRWKHLU
     UHVSHFWLYH%URNHUVLIDSSOLFDEOHZLOOFUHDWHDYDOLGDQGELQGLQJ&RQWUDFWZKLFKVHWVIRUWKWKHLUFRPSOHWHXQGHUVWDQGLQJRIWKHWHUPVRIWKH&RQWUDFW
     7KLVDJUHHPHQWVKDOOEHELQGLQJXSRQDQGLQXUHWRWKHEHQH¿WRIWKH3DUWLHVKHUHWRDQGWKHLUUHVSHFWLYHKHLUVVXFFHVVRUVDQGSHUPLWWHGDVVLJQV7KH
     &RQWUDFWVKDOOEHH[HFXWHGE\RULJLQDOVLJQDWXUHVRIWKH3DUWLHVRUE\VLJQDWXUHVDVUHÀHFWHGRQVHSDUDWHLGHQWLFDO&RQWUDFWFRXQWHUSDUWV FDUERQ
     SKRWRID[RURWKHUHOHFWURQLFFRS\ 7KH3DUWLHVDJUHHWKDWDVWRDOODVSHFWVRIWKLVWUDQVDFWLRQLQYROYLQJGRFXPHQWVDQHOHFWURQLFVLJQDWXUHVKDOOKDYH
     WKHVDPHIRUFHDQGHႇHFWDVDQRULJLQDOVLJQDWXUHSXUVXDQWWRWKHSURYLVLRQVRIWKH8QLIRUP(OHFWURQLF7UDQVDFWLRQV$FW$2NODKRPD6WDWXWHV
     6HFWLRQHWVHT$OOSULRUYHUEDORUZULWWHQQHJRWLDWLRQVUHSUHVHQWDWLRQVDQGDJUHHPHQWVDUHVXSHUVHGHGE\WKH&RQWUDFWZKLFKPD\RQO\EH
     PRGL¿HGRUDVVLJQHGE\DIXUWKHUZULWWHQDJUHHPHQWRI%X\HUDQG6HOOHU
     1. PURPOSE7KHXQGHUVLJQHG%X\HUKHUHE\DJUHHVWRSXUFKDVHIURPWKHXQGHUVLJQHG6HOOHUWKHIROORZLQJUHDOSURSHUW\WRZLW


     2. PROPERTY7KHODQGDSSXUWHQDQFHVLPSURYHPHQWVDFFHVVRULHVDQGFURSVDUHFROOHFWLYHO\UHIHUUHGWRDVWKH³3URSHUW\´
         A.                               McIntosh
               LAND.7KHODQGVLWXDWHGLQBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB &RXQW\2NODKRPDGHVFULEHGDVIROORZV
               Property ID #s 0000-13-10N-14E-3-001-00 (160 acres); 0000-14-10N-14E-4-001-00 (159 acres);
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBor
               0000-23-10N-14E-1-002-00  (120 acres)                                                             as described on
               the attached Legal Description SupplementDOVRNQRZQDV SURSHUW\DGGUHVV]LSFRGH 
                                                                                                                                                                     
                    (Check one)
                    WRJHWKHUZLWKDOORI6HOOHU¶VULJKWWLWOHLQWHUHVWDQGHVWDWHLQDQGWRRLOJDVDQGRWKHUPLQHUDOVLQDQGXQGHUWKH/DQGQRWSUHYLRXVO\
                    UHVHUYHG RU FRQYH\HG RI UHFRUG 7KH 6HOOHU GRHV QRW ZDUUDQW WKH DPRXQW RI PLQHUDOV RZQHG RU WKDW WKH 6HOOHU RZQV DQ\ PLQHUDOV
                    ZKDWVRHYHUXQOHVVVSHFL¿FDOO\SURYLGHGLQWKH6SHFLDO3URYLVLRQV3DUDJUDSKRIWKH&RQWUDFW
                    OR
                       OHVVDQGH[FHSWDOORLOJDVDQGRWKHUPLQHUDOVUHODWHGWRWKHH[WUDFWLRQRIRLO JDVDQGWKHIROORZLQJVSHFL¿FPLQHUDOLQWHUHVWV
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB LQ DQG XQGHU WKH /DQG DOO
                    RWKHUXQVSHFL¿HGPLQHUDOVLQDQGXQGHUWKHODQGZLOOWUDQVIHUZLWKWKHVXUIDFHULJKWV
                  WRJHWKHUZLWKDOORIWKHEXLOGLQJVVWUXFWXUHVDQGLPSURYHPHQWVLQRQRUXQGHUWKH/DQGDQGH[LVWLQJUXUDOZDWHUWDSULJKWVLIDQ\
                     LQFOXGLQJDSSOLFDEOHFHUWL¿FDWHVDQGDOOULJKWVWKHUHWR WKH³,PSURYHPHQWV´ 
                  WRJHWKHUZLWKDOORIWKHDSSXUWHQDQFHVEHORQJLQJWKHUHWRDQGDOORI6HOOHU¶VULJKWWLWOHDQGLQWHUHVWLQDQGWRDOOVWUHHWVDOOH\VDQGRWKHU
                    SXEOLFZD\VDGMDFHQWWRWKH/DQG
                  WRJHWKHUZLWKDOOULJKWVWRDQ\1DWXUDO*DVVXSSO\DJUHHPHQWVZLWK1DWXUDO*DVPLQHUDORZQHUVOHDVHKROGHUVRUSURGXFHUVLIDQ\The
                     6HOOHUGRHVQRWZDUUDQWWKHIXWXUHH[HFXWLRQRIWKHVHDJUHHPHQWV
                  VXEMHFWWRH[LVWLQJ]RQLQJRUGLQDQFHVUHVWULFWLRQVHDVHPHQWVULJKWVRIZD\DQGBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


         B.    IMPROVEMENTS  7KH IROORZLQJ LWHPV LI H[LVWLQJ RQ WKH 3URSHUW\ XQOHVV RWKHUZLVH H[FOXGHG VKDOO UHPDLQ ZLWK WKH 3URSHUW\ DW QR
               DGGLWLRQDOFRVWWR%X\HU
                  )DUP5DQFKDQG5HFUHDWLRQ/DQG,PSURYHPHQWV7KHIROORZLQJ permanently installed and built-in itemsLIDQ\ZLQGPLOOVWDQNV
                    EDUQVSHQVIHQFHVJDWHVVKHGVRXWEXLOGLQJVFRUUDOVDQGFences

                  +RXVH V 1XPEHURIKRXVHVRQWKHSURSHUW\ &KHFN2QH            NONE or       BBBBBBBBB QXPEHU 
                  5HVLGHQWLDO,PSURYHPHQWVLIDQ\7KHKRXVHJDUDJHDQGDOORWKHU¿[WXUHVDQGLPSURYHPHQWVDWWDFKHGWRWKHDERYHGHVFULEHGUHDO
                    SURSHUW\LQFOXGLQJZLWKRXWOLPLWDWLRQWKHIROORZLQJpermanently installed and built-in itemsLIDQ\DOOHTXLSPHQWDQGDSSOLDQFHV
                    YDODQFHV VFUHHQV VKXWWHUV DZQLQJV ZDOOWRZDOO FDUSHWLQJ PLUURUV FHLOLQJ IDQV DWWLF IDQV PDLOER[HV WHOHYLVLRQ DQWHQQDV DQG
                    VDWHOOLWH GLVK V\VWHPV DQG HTXLSPHQW KHDWLQJ DQG DLU FRQGLWLRQLQJ XQLWV VHFXULW\ DQG ¿UH GHWHFWLRQ HTXLSPHQW ZLULQJ SOXPELQJ


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OREC FARM, RANCH, AND RECREATIONAL SALE (1-1-2022)                                                           TRUSTEE EXHIBIT 1 Page 1 of 8
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                                                              58 Lenna Rd
    Farm and Ranch Contract: Canadian River Ranch - 439 Acre Parcel,
                                                                                              3URSHUW\,GHQWL¿HU
                      DQG OLJKW ¿[WXUHV FKDQGHOLHUV ZDWHU VRIWHQHU V\VWHP NLWFKHQ HTXLSPHQW JDUDJH GRRU RSHQHUV FOHDQLQJ HTXLSPHQW VKUXEEHU\
                      ODQGVFDSLQJRXWGRRUFRRNLQJHTXLSPHQWDQGDOORWKHUSURSHUW\RZQHGE\6HOOHUDQGDWWDFKHGWRWKHDERYHGHVFULEHGUHDOSURSHUW\
                      DQG                                                                                                                                     


           C.   ACCESSORIES. 7KHIROORZLQJLWHPVLIH[LVWLQJRQWKH3URSHUW\XQOHVVRWKHUZLVHH[FOXGHGVKDOOUHPDLQZLWKWKH3URSHUW\DWQRDGGLWLRQDO
                FRVWWR%X\HU
                    )DUP5DQFKDQG5HFUHDWLRQ$FFHVVRULHV7KHIROORZLQJGHVFULEHGUHODWHGDFFHVVRULHV FKHFNLWHPVRIconveyedDFFHVVRULHV 
                       SRUWDEOHEXLOGLQJV   KXQWLQJEOLQGV            JDPHIHHGHUV     OLYHVWRFNIHHGHUVDQGWURXJKV
                       LUULJDWLRQHTXLSPHQW VXEPHUVLEOHSXPSV         SUHVVXUHWDQNV   IXHOWDQNVLIRZQHG SURSDQHJDVROLQHGLHVHO
                       FRUUDOV             FKXWHV                   JDWHV             See Accessories Supplement
                    5HVLGHQWLDO$FFHVVRULHV LI DQ\  7KH IROORZLQJ GHVFULEHG UHODWHG DFFHVVRULHV LI DQ\ ZLQGRZ DLU FRQGLWLRQLQJ XQLWV VWRYH ¿UHSODFH
                      VFUHHQV FXUWDLQV DQG URGV EOLQGV ZLQGRZ VKDGHV GUDSHULHV DQG URGV FRQWUROV IRU VDWHOOLWH GLVK V\VWHPV FRQWUROV IRU JDUDJH GRRU
                      RSHQHUV HQWU\ JDWH FRQWUROV GRRU NH\V PDLO ER[  PDLOER[ NH\V DERYH JURXQG SRRO VZLPPLQJ SRRO HTXLSPHQW DQG PDLQWHQDQFH
                      DFFHVVRULHVDUWL¿FLDO¿UHSODFHORJVDQG                                                                                                          
           D.   CROPS.8QOHVVRWKHUZLVHDJUHHGLQZULWLQJ6HOOHUKDVWKHULJKWWRKDUYHVWDOOJURZLQJFURSVXQWLOGHOLYHU\RISRVVHVVLRQRIWKH3URSHUW\
                                                                                                                                                        
                (Check One)*UDVVHVDQGWUHHV are      are NOTFRQVLGHUHGFURSVLQWKH&RQWUDFW
           E.   EXCLUSIONS.7KHIROORZLQJLPSURYHPHQWVDFFHVVRULHVDQGFURSVZLOOEHUHWDLQHGE\6HOOHUDQGH[FOXGHGIURPWKLV&RQWUDFW
                                                                                                                                                                           
      3.   TIME PERIODS SPECIFIED IN CONTRACT. 7LPHSHULRGVIRU(DUQHVW0RQH\'HSRVLW3URRIRI)XQGV,QYHVWLJDWLRQV,QVSHFWLRQVDQG5HYLHZV
                                                                                 upon mutual execution
           DQG )LQDQFLQJ 6XSSOHPHQW $JUHHPHQW VKDOO FRPPHQFH RQ BBBBBBBBBBBBBBBBBBBBB                  7LPH 5HIHUHQFH 'DWH  UHJDUGOHVV RI WKH GDWH WKH
           &RQWUDFW LV VLJQHG E\ %X\HU DQG 6HOOHU 7KH GD\ DIWHU WKH 7LPH 5HIHUHQFH 'DWH VKDOO EH FRXQWHG DV GD\ RQH   ,I OHIW EODQN WKH 7LPH
           5HIHUHQFH'DWHVKDOOEHWKHWKLUGGD\DIWHUWKHODVWGDWHRIVLJQDWXUHVRIWKH3DUWLHV
      4.   TERMS
           A.                                                                 658,500
                PURCHASE PRICE. %X\HUVKDOOSD\IRUWKH3URSHUW\WKHVXPRI BBBBBBBBBBBBBBBBBBBBBBB  VXPRI%& 'EHORZ SD\DEOHDVIROORZV
           B.                                    65,850
                EARNEST MONEY. 7KH VXP RI  BBBBBBBBBBBBBBBBBBBBBBB DV (DUQHVW 0RQH\ VKDOO EH GHSRVLWHG LQ WKH WUXVW DFFRXQW RI
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBRULIOHIWEODQNWKH/LVWLQJ%URNHU¶VWUXVWDFFRXQW
                  ZLWKVXEPLVVLRQRIWKLVFRQWUDFW or  within                 days after WKH GD\ RI WKH ¿QDO VLJQDWXUH V  H[HFXWLQJ WKLV &RQWUDFW WR EH
                DSSOLHGRQWKHSXUFKDVHSULFHDQGRUFORVLQJFRVWVLIDQ\DWWKHWLPHRIFORVLQJ,I%X\HUIDLOVWRGHSRVLWWKH(DUQHVW0RQH\DVUHTXLUHGE\
                WKLV&RQWUDFW%X\HUZLOOEHLQGHIDXOW

           C.   CASH AT CLOSING.&DVKSRUWLRQRI3XUFKDVH3ULFHSD\DEOHE\%X\HU                 592,650                       

           D.   LOAN FUNDING. 7KH VXP RI DOO ¿QDQFLQJ GHVFULEHG EHORZ H[FOXGLQJ DQ\ ORDQ IXQGLQJ IHH RU PRUWJDJH LQVXUDQFH SUHPLXP  LV
                                        
           E.   ADJUSTED PURCHASE PRICE. 7KH 3XUFKDVH 3ULFH FKHFN RQH              will        will not EH DGMXVWHG EDVHG RQ WKH VXUYH\ UHTXLUHG E\
                3DUDJUDSK$,IWKH3XUFKDVH3ULFHLVDGMXVWHGWKH3XUFKDVH3ULFHZLOOEHFDOFXODWHGRQWKHEDVLVRI BBBBBBBBBBBBBBBBBBBBBBBSHU
                DFUH,IWKH3XUFKDVH3ULFHLVDGMXVWHGE\PRUHWKDQBBBBBBBBHLWKHU3DUW\PD\WHUPLQDWHWKLV&RQWUDFWE\SURYLGLQJZULWWHQQRWLFHWRWKH
                RWKHU3DUW\ZLWKLQBBBBBBBBGD\VDIWHUWKHWHUPLQDWLQJ3DUW\UHFHLYHVWKHVXUYH\,IQHLWKHU3DUW\WHUPLQDWHVWKLV&RQWUDFWRULIWKHYDULDQFHLV
                ________RUOHVVWKHDGMXVWPHQWZLOOEHPDGHWRWKHDPRXQWLQ
                (Check One) & ' SURSRUWLRQDWHO\WR&DQG'
      5.   FINANCING7KHSRUWLRQRIWKH3XUFKDVH3ULFHQRWSD\DEOHLQFDVKZLOOEHSDLGDVIROORZV FKHFNDSSOLFDEOHLWHPVEHORZ 
           A.      CONVENTIONAL LOAN7KLV&RQWUDFWLVVXEMHFWWR¿QDQFLQJGHVFULEHGLQWKHDWWDFKHGConvention Loan SupplementIRURQHRUPRUHWKLUG
           3DUW\PRUWJDJHORDQVLQWKHWRWDODPRXQWRI BBBBBBBBBBBBBBBBBBBBBBB ([FOXGLQJDQ\ORDQIXQGLQJIHHRUPRUWJDJHLQVXUDQFHSUHPLXP 
           B.        SELLER FINANCING. $VUHÀHFWHGRQWKHDWWDFKHGSeller Financing Supplement.
           C.        This Contract is “CASH ONLY” and is NOT subject to ANY FINANCING REQUIREMENTS.

                (Check One) This Contract         LVVXEMHFWWR   LV127VXEMHFWWRYHUL¿FDWLRQRI%X\HU¶V3URRIRI)XQGVEHORZ

                  Proof of Funds:%X\HUVKDOOSURYLGHWKHIROORZLQJZLWKLQWKUHH  GD\VDIWHUWKH7LPH5HIHUHQFH'DWHLQ3DUDJUDSK
                     D $OHWWHURI¿QDQFLDOFDSDELOLWLHVIURPDEDQNLQJLQVWLWXWLRQRQEDQNOHWWHUKHDGYHULI\LQJWKDW%X\HUKDVWKHQHFHVVDU\FDVKRUOLQHRI
                         FUHGLWLQDQDPRXQWHTXDOWRRULQH[FHVVRIWKH3XUFKDVH3ULFHKHUHLQ
                         OR
                     E $FRS\RID%DQN6WDWHPHQWVKRZLQJVXႈFLHQWIXQGVWRIXO¿OOWKH%X\HU¶VREOLJDWLRQVRIWKLV&RQWUDFW
                     F %X\HUKHUHE\JLYHVSHUPLVVLRQWRWKH6HOOHUDQGWKH6HOOHU¶V%URNHULIDSSOLFDEOHRUUHSUHVHQWDWLYHVWRFRQWDFWWKHEDQNLQJLQVWLWXWLRQ
                         SURYLGLQJWKHOHWWHURI¿QDQFLDOFDSDELOLWLHVRUWKH¿QDQFLDOLQVWLWXWLRQVKRZQRQWKHFRS\RID%DQN6WDWHPHQWWRYHULI\VDLGLQIRUPDWLRQ
                  ,I%X\HUGRHVQRWSURYLGHSURRIRIIXQGVDVLQGLFDWHGLQ& RIWKLVVXESDUDJUDSKWKLV&RQWUDFWVKDOOEHFRPHQXOODQGYRLG
                  ,IEDQNLQJRU¿QDQFLDOLQVWLWXWLRQLQIRUPDWLRQSURYLGHGFDQQRWEHYHUL¿HGWRWKHVDWLVIDFWLRQRIWKH6HOOHUZLWKLQWZR  EXVLQHVVGD\VDIWHU
                    UHFHLSWWKH6HOOHUPD\FDQFHOWKLV&RQWUDFWZLWKZULWWHQQRWLFHE\PDLOSKRWRID[RUHOHFWURQLFFRS\GHOLYHUHGWRWKH%X\HUDVSURYLGHGLQ
                    WKH1RWLFHV3DUDJUDSK


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OREC FARM, RANCH, AND RECREATIONAL SALE (1-1-2022)                                                           TRUSTEE EXHIBIT 1 Page 2 of 8
                                                                                                                                               Page 2 of 19
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                                                              58 Lenna Rd
    Farm and Ranch Contract: Canadian River Ranch - 439 Acre Parcel,
                                                                                                 3URSHUW\,GHQWL¿HU
      6.   TITLE EVIDENCE.  6HOOHU ZLWKLQ BBBBBBBB GD\V 7HQ   GD\V LI OHIW EODQN  SULRU WR &ORVLQJ 'DWH DJUHHV WR PDNH DYDLODEOH WR %X\HU 7LWOH
           (YLGHQFHDVIROORZV
           A.   Abstracting
                  6HOOHUVKDOOIXUQLVKDFRPSOHWHDQGFXUUHQWVXUIDFHULJKWVRQO\$EVWUDFWRI7LWOHFHUWL¿HGE\DQ2NODKRPDOLFHQVHGDQGERQGHGDEVWUDFW
                    FRPSDQ\
                     OR
                    $ FRS\ RI 6HOOHU¶V H[LVWLQJ RZQHU¶V WLWOH LQVXUDQFH SROLF\ LVVXHG E\ D WLWOH LQVXUHU OLFHQVHG LQ WKH 6WDWH RI 2NODKRPD WRJHWKHU ZLWK D
                    VXSSOHPHQWDODQGFXUUHQWVXUIDFHULJKWVRQO\FHUWL¿HGE\DQ2NODKRPDOLFHQVHGDQGERQGHGDEVWUDFWFRPSDQ\DQG
                  $FXUUHQW8QLIRUP&RPPHUFLDO&RGH6HDUFK&HUWL¿FDWH
           B.   Required Form of Title Evidence:
                      (Check one)
                         $EVWUDFWRI7LWOH XQOHVVRWKHUZLVHVSHFL¿HGLQWKH6SHFLDO3URYLVLRQV3DUDJUDSK 
                             D 6HOOHUDWSeller’s ExpenseVKDOOSD\DOODEVWUDFWLQJSXUVXDQWWRVXESDUDJUDSK $ 
                             E %X\HU VKDOO SD\ DW Buyer’ expense WKH DWWRUQH\¶V 7LWOH 2SLQLRQ QRW IRU SXUSRVHV RI 7LWOH ,QVXUDQFH DQG DOO RWKHU FRVWV
                                 DVVRFLDWHGZLWKREWDLQLQJD0RUWJDJHH¶V7LWOH,QVXUDQFH3ROLF\LIUHTXLUHGE\WKH/HQGHU V 
                         &RPPLWPHQWIRU2ZQHU¶V7LWOH,QVXUDQFH3ROLF\ XQOHVVRWKHUZLVHVSHFL¿HGLQ&ORVLQJDQG)XQGLQJ3DUDJUDSK 

                    Access Notice: Broker advises Buyer to determine physical and legal access availability to their satisfaction.

           C.   (Check appropriate Seller’s and Buyer’s Expense)
                     6HOOHU¶V %X\HU¶V
                    ([SHQVH([SHQVH %R[HV127FKHFNHGDUH127$33/,&$%/(
                                           7KHSUHPLXPIRUVXFKVXUIDFHULJKWVRQO\2ZQHU¶V7LWOH3ROLF\
                                           $OOVXUIDFHULJKWVRQO\DEVWUDFWLQJ SULRUWRFORVLQJIHHV
                                           $0RUWJDJH,QVSHFWLRQ5HSRUW DUHSUHVHQWDWLRQRIWKHERXQGDULHVRIWKH3URSHUW\DQGWKHLPSURYHPHQWV
                                           WKHUHRQ LIUHTXLUHGE\/HQGHU V
                                           7KHDWWRUQH\¶VIHHVIRUH[DPLQDWLRQRIWKHDEVWUDFW %DVHRU6XSSOHPHQWDO DVUHTXLUHGE\7LWOH&RPSDQ\
                                           7KH¿QDOWLWOHUHSRUWDQGRUUHFHUWL¿FDWLRQIHHDVUHTXLUHGE\7LWOH&RPSDQ\ SRVWFORVLQJIHHV
                                           7KH0RUWJDJHH¶V7LWOH,QVXUDQFH3ROLF\LIDQ\


      7.   SURVEY AND TITLE REVIEW.
            A. SURVEY. The survey or boundary (Pin Stake) survey must be made by a surveyor acceptable to the Title Company and any Lender.
                   (check one box only):
                          :LWKLQBBBBBBBBGD\VDIWHUWKHTime Reference DateRIWKLV&RQWUDFW6HOOHUDW6HOOHU¶VH[SHQVHVKDOOIXUQLVKDQHZVXUYH\WR%X\HU
                          :LWKLQ BBBBBBB GD\V DIWHU WKH Time Reference Date RI WKLV &RQWUDFW %X\HU DW %X\HU¶V H[SHQVH VKDOO REWDLQ D QHZ VXUYH\
                          :LWKLQBBBBBBBBGD\VDIWHUWKH Time Reference Date RIWKLV&RQWUDFW6HOOHUVKDOOIXUQLVK6HOOHU¶VH[LVWLQJVXUYH\RIWKH3URSHUW\WR
                %X\HUDQGWKH7LWOH&RPSDQ\DORQJZLWK6HOOHU¶VDႈGDYLWDFFHSWDEOHWRWKH7LWOH&RPSDQ\IRUDSSURYDORIWKHVXUYH\7KHH[LVWLQJ6XUYH\ FKHFN
                RQH  ZLOO       ZLOOQRWEHUHFHUWL¿HGWRDGDWHVXEVHTXHQWWRWKHTime Reference DateRIWKLV&RQWUDFWDWWKHH[SHQVHRI FKHFNRQH  %X\HU
                   6HOOHU,IWKHH[LVWLQJVXUYH\LVQRWDSSURYHGE\WKH7LWOH&RPSDQ\RU%X\HU¶V/HQGHUDQHZVXUYH\ZLOOEHREWDLQHGDWWKHH[SHQVHRI FKHFN
                RQH  %X\HU 6HOOHUQRODWHUWKDQBBBBBBBBGD\V WKUHH  GD\VLIOHIWEODQN SULRUWRWKH&ORVLQJ'DWH
                          6XUYH\LV1275(48,5(' VHHVXESDUDJUDSK(
                          2WKHU                                                                                                                                             
            B. OBJECTIONS.%X\HUVKDOOKDYH              GD\V WHQ  GD\VLIOHIWEODQN DIWHUUHFHLSWWRH[DPLQHWKH7LWOH(YLGHQFHDQGWRGHOLYHU%X\HU¶V
               REMHFWLRQWR7LWOH,QWKHHYHQWWKH7LWOH(YLGHQFHLVQRWPDGHDYDLODEOHWR%X\HUZLWKLQWHQ  GD\VSULRUWR&ORVLQJ'DWHVDLG&ORVLQJ
               'DWHVKDOOEHH[WHQGHGWRDOORZ%X\HUWKHWHQ  GD\VIURPUHFHLSWWRH[DPLQHWKH7LWOH(YLGHQFH
            C. SELLER TO CORRECT ISSUES WITH TITLE (IF APPLICABLE), POSSIBLE CLOSING DELAY.  8SRQ UHFHLSW E\ 6HOOHU RU LQ FDUH RI
               6HOOHU¶V%URNHULIDSSOLFDEOHRIDQ\WLWOHUHTXLUHPHQWVUHÀHFWHGLQDQ$WWRUQH\¶V7LWOH2SLQLRQRU7LWOH,QVXUDQFH&RPPLWPHQWEDVHGXSRQWKH
               VWDQGDUGRIPDUNHWDEOHWLWOHVHWRXWLQWKH7LWOH([DPLQDWLRQ6WDQGDUGVRIWKH2NODKRPD%DU$VVRFLDWLRQWKH3DUWLHVDJUHHWRWKHIROORZLQJ
                  $W6HOOHU¶VRSWLRQDQGH[SHQVHPD\FXUHWLWOHUHTXLUHPHQWVLGHQWL¿HGE\%X\HU
                                              90
                  'HOD\&ORVLQJ'DWHIRUBBBBBB      GD\V WKLUW\  GD\VLIOHIWEODQN RUDORQJHUSHULRGDVPD\EHDJUHHGXSRQLQZULWLQJWRDOORZ6HOOHUWR
                    FXUH%X\HU¶VWLWOHUHTXLUHPHQWV,QWKHHYHQW6HOOHUFXUHV%X\HU¶VREMHFWLRQSULRUWRWKHGHOD\HG&ORVLQJ'DWH%X\HUDQG6HOOHUDJUHHWR
                    FORVH ZLWKLQ ¿YH   GD\V RI QRWLFH RI VXFK FXUH  ,Q WKH HYHQW WKDW WLWOH UHTXLUHPHQWV DUH QRW FXUHG ZLWKLQ WKH WLPH VSHFL¿HG LQ WKLV
                    3DUDJUDSKWKH Buyer may cancel the Contract and receive a refund of Earnest MoneyDQG
                  %X\HUDJUHHVWRDFFHSWWLWOHVXEMHFWWR D XWLOLW\HDVHPHQWVVHUYLQJWKHSURSHUW\ E EXLOGLQJDQGXVHUHVWULFWLRQVRIUHFRUG F VHWEDFN
                    DQG EXLOGLQJ OLQHV G  ]RQLQJ UHJXODWLRQV DQG H  UHVHUYHG DQG VHYHUHG PLQHUDO ULJKWV ZKLFK VKDOO QRW EH FRQVLGHUHG REMHFWLRQV IRU
                    UHTXLUHPHQWVRI7LWOH
            D. SURFACE LEASES6HOOHUVKDOOSURYLGH%X\HUZLWKFRSLHVRIH[LVWLQJZULWWHQOHDVHVDQGJLYHZULWWHQQRWLFHRIRUDOOHDVHVZLWKLQ________
               GD\V WKUHH>@GD\VLIOHIWEODQN RIWKH7LPH5HIHUHQFH'DWH If there are NO existing Leases this paragraph is not applicable.
                  ,I6HOOHUdoes not provideFRSLHVRIH[LVWLQJVDLGZULWWHQOHDVHVRUJLYHZULWWHQQRWLFHRIRUDOOHDVHVZLWKLQWKHWKUHH  GD\VDIWHUWKH
                    7LPH5HIHUHQFH'DWHWKHSURYLVLRQVRI3DUDJUDSKVKDOODSSO\7KH6HOOHUVKDOOEHLQGHIDXOWRIWKLV$JUHHPHQW


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OREC FARM, RANCH, AND RECREATIONAL SALE (1-1-2022)                                                           TRUSTEE EXHIBIT 1 Page 3 of 8
                                                                                                                                                    Page 3 of 19
        21-60162-rbk Doc#533 Filed 09/09/22 Entered 09/09/22 15:54:33 Main Document Pg 41 of
                                                              58 Lenna Rd
    Farm and Ranch Contract: Canadian River Ranch - 439 Acre Parcel,
                                                                                                    3URSHUW\,GHQWL¿HU
                   7KLV&RQWUDFWLVVXEMHFWWR%X\HUUHYLHZDFFHSWDQFHDQGDSSURYDORIVDLGOHDVHVLIDQ\ZLWKLQ¿YH  GD\VRIWKHUHFHLSWRIVDLGOHDVHV
                3) If the Buyer fails to give notice of objection to the leases, as above, the leases shall be deemed acceptable to the Buyer.
                   7KHIROORZLQJ/HDVHVZLOOEHSHUPLWWHGH[FHSWLRQVLQWKH7LWOH3ROLF\DQGZLOOQRWEHDEDVLVIRUREMHFWLRQWRWLWOHBBBBBBBBBBBBBBBBB
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
           E. BROKER NOTICES.
                   $EVWUDFWRU7LWOH3ROLF\%URNHUDGYLVHV%X\HUWRKDYHDQDEVWUDFWRIWLWOHFRYHULQJWKH3URSHUW\H[DPLQHGE\DQDWWRUQH\RI%X\HU¶V
                    HOHFWLRQRU%X\HUVKRXOGEHIXUQLVKHGZLWKRUREWDLQD7LWOH3ROLF\,ID7LWOH3ROLF\LVIXUQLVKHGWKH&RPPLWPHQWVKRXOGEHSURPSWO\
                    UHYLHZHGE\DQDWWRUQH\RI%X\HU¶FKRLFHGXHWRWKHWLPHOLPLWDWLRQVRQ%X\HU¶ULJKWWRREMHFWLQVXESDUDJUDSK%
                   $QQH[DWLRQ,IWKH3URSHUW\LVORFDWHGRXWVLGHWKHOLPLWVRIDPXQLFLSDOLW\6HOOHUQRWL¿HV%X\HUWKDWWKH3URSHUW\PD\QRZRUODWHUEHLQFOXGHGLQ
                    WKHH[WUDWHUULWRULDOMXULVGLFWLRQRIDPXQLFLSDOLW\DQGPD\QRZRUODWHUEHVXEMHFWWRDQQH[DWLRQE\WKHPXQLFLSDOLW\(DFKPXQLFLSDOLW\PDLQWDLQV
                    DPDSWKDWGHSLFWVLWVERXQGDULHVDQGH[WUDWHUULWRULDOMXULVGLFWLRQRULVOLNHO\WREHORFDWHGZLWKLQDPXQLFLSDOLW\¶VH[WUDWHUULWRULDOMXULVGLFWLRQ
                    7R GHWHUPLQH LI WKH 3URSHUW\ LV ORFDWHG ZLWKLQ D PXQLFLSDOLW\¶V H[WUDWHUULWRULDO MXULVGLFWLRQ RU LV OLNHO\ WR EH ORFDWHG ZLWKLQ D PXQLFLSDOLW\¶V
                    H[WUDWHUULWRULDOMXULVGLFWLRQFRQWDFWDOOPXQLFLSDOLWLHVORFDWHGLQWKHJHQHUDOSUR[LPLW\RIWKH3URSHUW\IRUIXUWKHULQIRUPDWLRQ
                   8QLPSURYHG 3URSHUW\ /RFDWHG LQ WKH$UHD RI D 8WLOLW\ 6HUYLFH 3URYLGHU   ,I WKH 3URSHUW\ LV ORFDWHG LQ DQ DUHD RI D XWLOLW\ VHUYLFH
                    SURYLGHU DQG WKH 3URSHUW\ GRHV QRW UHFHLYH ZDWHU RU VHZHU VHUYLFH IURP WKH XWLOLW\ VHUYLFH SURYLGHU RQ WKH GDWH WKH 3URSHUW\ LV
                    WUDQVIHUUHGWKH%URNHUDGYLVHV%X\HUWRREWDLQFRVWVHVWLPDWHVQHFHVVDU\WRXWLOL]HVDLGVHUYLFHV
                   ([WHULRU)HQFHVDQG5RDGZD\V%URNHUDGYLVHVWKDWH[WHULRUIHQFHVDQGURDGZD\VPD\RUPD\QRWEHORFDWHGRQDVXUYH\HGERXQGDU\
                   :DWHU5LJKWVDQG3HUPLWV&RQWDFWWKH2NODKRPD:DWHU5HVRXUFHV%RDUG
                   2LO *DVDQGRWKHU0LQHUDO5LJKWV&RQWDFWWKH2NODKRPD&RUSRUDWLRQ&RPPLVVLRQ
                   0LQLQJ2SHUDWLRQVDQG3HUPLWV&RQWDFW2NODKRPD'HSDUWPHQWRI0LQHV
      8.   ACCEPTANCE OF PROPERTY %X\HUXSRQDFFHSWLQJ7LWOHRUWUDQVIHURISRVVHVVLRQRIWKH3URSHUW\VKDOOEHGHHPHGWRKDYHDFFHSWHGWKH
           3URSHUW\LQLWVWKHQFRQGLWLRQ1RZDUUDQWLHVH[SUHVVHGRULPSOLHGE\6HOOHUVRU6HOOHU¶V%URNHUDQGRUWKHLUDVVRFLDWHGOLFHQVHHVZLWKUHIHUHQFH
           WRWKHFRQGLWLRQRIWKH3URSHUW\VKDOOEHGHHPHGWRVXUYLYHWKH&ORVLQJ

      9.   INSPECTIONS, ACCESS AND UTILITIES. 6HHSDUDRI$GGHQGXP
            A. 7KH%X\HUDJUHHVDQGDFNQRZOHGJHVWKDW6HOOHU6HOOHU¶V%URNHUDQGWKHLUOLFHQVHGDVVRFLDWHVDUHQRWH[SHUWVUHJDUGLQJWKHFRQGLWLRQRIWKH
               3URSHUW\1RUHSUHVHQWDWLRQVZDUUDQWLHVRUJXDUDQWHHVUHJDUGLQJWKHFRQGLWLRQRIWKH3URSHUW\RUHQYLURQPHQWDOKD]DUGVDUHH[SUHVVHGRU
               LPSOLHGH[FHSWDVPD\EHVSHFL¿HGE\6HOOHULQWKH6SHFLDO3URYLVLRQV3DUDJUDSK

           B. %X\HUVKDOOKDYHBBBBBBBBGD\V WHQ  GD\VLIOHIWEODQN DIWHUWKHTime Reference Date WRFRPSOHWHDQ\LQYHVWLJDWLRQVLQVSHFWLRQVDQG
              UHYLHZVE\LQVSHFWRUVVHOHFWHGE\%X\HUDQGOLFHQVHGE\WKHVWDWHRURWKHUZLVHSHUPLWWHGE\ODZWRPDNHLQVSHFWLRQV6HOOHUVKDOOSHUPLW%X\HU
              DQG%X\HU¶V%URNHULIDSSOLFDEOHDFFHVVWRWKH3URSHUW\DWUHDVRQDEOHWLPHV6HOOHUVKDOOSD\IRUWXUQLQJRQH[LVWLQJXWLOLWLHVIRULQVSHFWLRQV
              Notice.%X\HUVKRXOGGHWHUPLQHWKHDYDLODELOLW\RIXWLOLWLHVWRWKH3URSHUW\VXLWDEOHWRVDWLVI\%X\HU¶VQHHGV7KH%URNHUDGYLVHV%X\HUWR
              REWDLQ7HUPLWH+RPH5DGRQ*DV0ROG6HSWLF:HOODQG(QYLURQPHQWDO,QVSHFWLRQV

           C. %X\HUDW%X\HU¶VH[SHQVHVKDOOKDYHWKHULJKWWRHQWHUXSRQWKH3URSHUW\WRJHWKHUZLWK%X\HU¶VUHSUHVHQWDWLYH V LQGHSHQGHQWFRQWUDFWRU V
               DQGRUDQ\RWKHUSHUVRQ%X\HUGHHPVTXDOL¿HGWRFRQGXFWDQ\DQGDOOLQYHVWLJDWLRQVLQVSHFWLRQVWHVWVVWXGLHVDQGUHYLHZV,IWKHSURSHUW\
               DQGEXLOGLQJVWKHUHRQDUHVHFXUHGE\ORFNVWKH6HOOHUZLOOSURYLGHDFFHVVZLWKLQKRXUVRIDZULWWHQUHTXHVW([FHSWLQJRQO\WKHQHJOLJHQFH
               RI6HOOHURUDFRQGLWLRQFDXVHGRUSHUPLWWHGE\6HOOHU%X\HUVKDOOLQGHPQLI\SURWHFWGHIHQGDQGKROG6HOOHUKDUPOHVVIURPDQGDJDLQVWDQ\
               DQGDOOFODLPVGHPDQGVORVVHVOLDELOLWLHVFRVWVIHHVDQGH[SHQVHV LQFOXGLQJDWWRUQH\¶VDQGFRQVXOWDQW¶VIHHV DULVLQJRXWRIRUUHODWHGWR
               %X\HU¶VHQWU\RQWRWKH3URSHUW\LQFRQQHFWLRQZLWKDQ\WHVWLQJRULQYHVWLJDWLRQSHUIRUPHGSXUVXDQWWRWKLV&RQWUDFW%X\HU¶VLQYHVWLJDWLRQV
               LQVSHFWLRQVDQGUHYLHZVPD\LQFOXGHEXWPD\QRWEHOLPLWHGWRWKHIROORZLQJ
              1) )ORRG6WRUP5XQRႇ:DWHU6WRUP6HZHU%DFNXSRU:DWHU+LVWRU\
              2) Roof, Structural members, roof decking, coverings and related components
              3) Hazard Insurance
              4) Structural Inspection
              5) Use of Property SURSHUW\XVHUHVWULFWLRQVEXLOGLQJUHVWULFWLRQVHDVHPHQWVUHVWULFWLYHFRYHQDQWV]RQLQJRUGLQDQFHVDQGUHJXODWLRQV
              6) Square Footage/Acreage EX\HUVKDOOQRWUHO\RQDQ\TXRWHGVTXDUHIRRWDJHDQGRUDFUHDJHDQGVKDOOKDYHWKHULJKWWRPHDVXUHWKHSURSHUW\
              7) Home Inspection (LIDSSOLFDEOH

           D. ENVIRONMENTAL MATTERS. %X\HULVDGYLVHGWKDWWKHSUHVHQFHRIZHWODQGVWR[LFVXEVWDQFHVLQFOXGLQJDVEHVWRVDQGZDVWHVRURWKHU
              HQYLURQPHQWDO KD]DUGV RU WKH SUHVHQFH RI D WKUHDWHQHG RU HQGDQJHUHG VSHFLHV RU LWV KDELWDW PD\ DႇHFW %X\HU¶V LQWHQGHG XVH RI WKH
              SURSHUW\7KLVRႇHU is       is notFRQWLQJHQWXSRQWKH%X\HUDW%X\HU¶VFRVWREWDLQLQJDQDFFHSWDEOH(QYLURQPHQWDO6LWH$VVHVVPHQW
              5HSRUWZLWKLQ the time frame set in the Inspection, Access and Utilities subparagraph 9.B,IWKH(QYLURQPHQWDO6LWH$VVHVVPHQW
              5HSRUWLVQRWREWDLQHGLQWKHVSHFL¿HGWLPHSHULRGWKLVFRQWLQJHQF\VKDOOEHFRQVLGHUHGZDLYHGE\WKH%X\HU

           E. EQUIPMENT AND SYSTEMS. Within ________ GD\V WHQ  LIOHIWEODQN IURPWKHTime Reference Date RIWKLV&RQWUDFW%X\HUDW%X\HU¶V
              H[SHQVHVKDOOKDYHWKHULJKWWRLQVSHFWDOO¿[WXUHVDQGHTXLSPHQWUHODWLQJWRSOXPELQJKHDWLQJDQGFRROLQJHOHFWULFDOV\VWHPVDQGDQ\RWKHU
              HTXLSPHQWRUV\VWHPVDQGVKDOOUHSRUWDQ\LWHPQRWLQQRUPDOZRUNLQJRUGHULQZULWLQJWR6HOOHULQFDUHRI6HOOHU¶V%URNHULIDSSOLFDEOH
              LQFOXGLQJDFRS\RIWKHHVWLPDWHGFRVWWRUHSDLUVXFKLWHPV,IWKHWRWDOHVWLPDWHGFRVWWR6HOOHURIVXFKUHSDLUVDQGUHSODFHPHQWUHTXLUHGE\WKLV
              SDUDJUDSKH[FHHGV_______________________6HOOHUVKDOOKDYHWKHRSWLRQWRFDQFHODQGWHUPLQDWHWKLV&RQWUDFWZLWKLQIRUW\HLJKW  KRXUVRI
              EHLQJDGYLVHGRIVXFKHVWLPDWHXQOHVV%X\HUDJUHHVLQZULWLQJWRSD\UHSDLUDQGUHSODFHPHQWFRVWVLQH[FHVVRIVXFKDPRXQW

           F.   WOOD DESTROYING INSECTS INSPECTION%XLOGLQJVRQSURSHUW\LIDQ\:LWKLQ________GD\V WHQ  LIOHIWEODQN IURPWKHTime
                Reference Date RIWKLV&RQWUDFW%X\HUVKDOOKDYHWKHULJKWWRKDYHWKH3URSHUW\LQVSHFWHGE\%X\HU¶VFKRLFHRIDOLFHQVHGH[WHUPLQDWLQJ
                FRPSDQ\DQGGHOLYHUWR6HOOHULQFDUHRI6HOOHU¶V%URNHULIDSSOLFDEOHDQLQIHVWDWLRQUHSRUW7KHH[SHQVHRIVXFKUHSRUWVKDOOEHWKH%X\HU¶V
                H[SHQVH,QWKHHYHQWWKHUHSRUWVKRZVYLVLEOHLQIHVWDWLRQRUYLVLEOHGDPDJH6HOOHUDJUHHVDW6HOOHU¶VH[SHQVHWRWUHDWDQGRUUHSDLUVDPH
                SURYLGHGWKHHVWLPDWHGFRVWWRFXUHVXFKLQIHVWDWLRQRUGDPDJHGRHVQRWH[FHHG_______________________,IWKHHVWLPDWHGFRVWH[FHHGV

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OREC FARM, RANCH, AND RECREATIONAL SALE (1-1-2022)                                                           TRUSTEE EXHIBIT 1 Page 4 of 8
                                                                                                                                                         Page 4 of 19
        21-60162-rbk Doc#533 Filed 09/09/22 Entered 09/09/22 15:54:33 Main Document Pg 42 of
                                                              58 Lenna Rd
    Farm and Ranch Contract: Canadian River Ranch - 439 Acre Parcel,
                                                                                                  3URSHUW\,GHQWL¿HU
                VXFKDPRXQW6HOOHUVKDOOKDYHWKHRSWLRQWRFDQFHODQGWHUPLQDWHWKLV&RQWUDFWZLWKLQIRUW\HLJKW  KRXUVRIEHLQJDGYLVHGRIVXFKHVWLPDWH
                XQOHVV%X\HUDJUHHVLQZULWLQJWRSD\DQ\FRVWVLQH[FHVVRIVXFKDPRXQW
            G. BUYER’S RIGHT TO OBJECT OR CANCEL. ,IXSRQ%X\HU¶VLQYHVWLJDWLRQLQVSHFWLRQVDQGUHYLHZVWKH%X\HUVKDOOJLYHZULWWHQQRWLFHWR
                WKH6HOOHURI
                   5HPRYDORI&RQWLQJHQFLHVZKLFKLQGLFDWHVDFFHSWDQFHRIWKHUHSRUWVZLWK122%-(&7,216
                    OR
                    2EMHFWLRQVWRLWHPVLQWKHUHSRUWDORQJZLWKDFRS\RIWKHUHSRUW V E\GHOLYHU\WRWKH6HOOHULQFDUHRI6HOOHU¶V%URNHULIDSSOLFDEOHZLWKLQ
                    WKHUHVSHFWLYHWLPHIUDPHV7KH6HOOHUVKDOOEHJLYHQ________GD\V WKUHH  GD\VLIOHIWEODQN WRFXUHWKHREMHFWLRQVDWWKH6HOOHU¶V
                    H[SHQVHRUHQWHULQWRDZULWWHQDJUHHPHQWZLWKWKH%X\HUWRKDYHDGROODUDPRXQWWREHDGMXVWHGDWFORVLQJDVD6HOOHU¶VH[SHQVH
                   ,IWKH6HOOHUGRHVQRWFXUHWKHREMHFWLRQVDQGGRHVQRWHQWHULQWRDZULWWHQDJUHHPHQWZLWKWKH%X\HUWRKDYHDGROODUDPRXQWWREH
                    DGMXVWHGIURPWKHSURFHHGVDWFORVLQJDVD6HOOHU¶VH[SHQVHZLWKLQWKHUHVSHFWLYHWLPHIUDPHVWKH%X\HUPD\FDQFHODQGWHUPLQDWHWKLV
                    &RQWUDFWDQGUHFHLYHDUHIXQGRIWKHHDUQHVWPRQH\E\GHOLYHULQJZULWWHQQRWLFHWRWKH6HOOHULQFDUHRI6HOOHU¶V%URNHULIDSSOLFDEOH
                    DVSURYLGHGLQ3DUDJUDSKZLWKLQWZHQW\IRXU  KRXUVRIWKHH[SLUDWLRQRIWKHWLPHSHULRGVSHFL¿HGLQWKLVSURYLVLRQ

            H. EXPIRATION OF BUYER’S RIGHT TO CANCEL CONTRACT.)DLOXUHRIWKH%X\HUWRFRPSOHWHRQHRIWKHIROORZLQJZLWKLQWKHUHVSHFWLYH
                WLPHIUDPHVVKDOOFRQVWLWXWHDFFHSWDQFHRIWKH3URSHUW\UHJDUGOHVVRILWVFRQGLWLRQ
                3HUIRUPDQ\,QYHVWLJDWLRQV,QVSHFWLRQVRU5HYLHZV
                'HOLYHUDZULWWHQOLVWRIREMHFWLRQVRULWHPVWREHWUHDWHGUHSDLUHGDQGUHSODFHG
      10. SELLER’S DISCLOSURES.([FHSWDVRWKHUZLVHGLVFORVHGLQWKLV&RQWUDFWSeller has no knowledge of the following FKHFNDVDSSOLFDEOH 
          A.     )ORRGLQJRIWKH3URSHUW\ZKLFKKDVKDGDPDWHULDODGYHUVHHႇHFWRQWKHXVHRIWKH3URSHUW\
          B.     3HQGLQJRUWKUHDWHQHGOLWLJDWLRQFRQGHPQDWLRQRUVSHFLDODVVHVVPHQWDႇHFWLQJWKH3URSHUW\
          C.     'XPSVLWHODQG¿OORUXQGHUJURXQGWDQNVRUFRQWDLQHUVQRZRUSUHYLRXVO\ORFDWHGRQWKH3URSHUW\
          D.     :HWODQGVDVGH¿QHGE\IHGHUDORUVWDWHODZRUUHJXODWLRQDႇHFWLQJWKH3URSHUW\
          E.     7KUHDWHQHGRUHQGDQJHUHGVSHFLHVRUWKHLUKDELWDWVDႇHFWLQJWKH3URSHUW\
          F.     2WKHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

      11. GOVERNMENT PROGRAMS7KH3URSHUW\LVVXEMHFWWRWKHJRYHUQPHQWSURJUDPVOLVWHGEHORZRURQWKHDWWDFKHGH[KLELWBBBBBBBBBBBBBBB
          _________________________________________________________________________________________________________________
          6HOOHUVKDOOSURYLGH%X\HUZLWKFRSLHVRIDOOJRYHUQPHQWDOSURJUDPDJUHHPHQWV$Q\DOORFDWLRQRUSURUDWLRQRISD\PHQWXQGHUJRYHUQPHQWDO
          SURJUDPVLVPDGHE\VHSDUDWHDJUHHPHQWEHWZHHQWKH3DUWLHVZKLFKZLOOVXUYLYH&ORVLQJ

      12. RESIDENTIAL PROPERTY CONDITIONS.
                    &KHFNLIWKHUHLV12UHVLGHQWLDOKRXVH V RQWKH3URSHUW\ ,IFKHFNHGGLVUHJDUGWKLVSDUDJUDSK 


           A.       RESIDENTIAL PROPERTY CONDITION DISCLOSURE.1RUHSUHVHQWDWLRQVE\6HOOHUUHJDUGLQJWKHFRQGLWLRQRI3URSHUW\RUHQYLURQPHQWDO
                    KD]DUGVDUHH[SUHVVHGRULPSOLHGRWKHUWKDQDVVSHFL¿HGLQWKH2NODKRPD5HVLGHQWLDO3URSHUW\&RQGLWLRQ'LVFORVXUH6WDWHPHQW ³'LVFORVXUH
                    6WDWHPHQW´ RUWKH2NODKRPD3URSHUW\&RQGLWLRQ'LVFODLPHU6WDWHPHQW ³'LVFODLPHU6WDWHPHQW´ LIDSSOLFDEOH$UHDOHVWDWHOLFHQVHHKDVQR
                    GXW\ WR 6HOOHU RU %X\HU WR FRQGXFW DQ LQGHSHQGHQW LQVSHFWLRQ RI WKH 3URSHUW\ DQG KDV QR GXW\ WR LQGHSHQGHQWO\ YHULI\ DFFXUDF\ RU
                    FRPSOHWHQHVVRIDQ\VWDWHPHQWPDGHE\6HOOHULQWKH'LVFORVXUH6WDWHPHQWDQGDQ\DPHQGPHQWRUWKH'LVFODLPHU6WDWHPHQW
           B.       LENDER REQUIRED REPAIRS AND TREATMENTS 8QOHVV RWKHUZLVH DJUHHG LQ ZULWLQJ QHLWKHU 3DUW\ LV REOLJDWHG WR SD\ IRU OHQGHU
                    UHTXLUHGUHSDLUVZKLFKLQFOXGHVWUHDWPHQWIRUZRRGGHVWUR\LQJLQVHFWV,IWKH3DUWLHVGRQRWDJUHHWRSD\IRUWKHOHQGHUUHTXLUHGUHSDLUVRU
                      WUHDWPHQWV WKLV &RQWUDFW ZLOO WHUPLQDWH DQG WKH (DUQHVW 0RQH\ ZLOO EH UHIXQGHG WR %X\HU  ,I WKH FRVW RI OHQGHU UHTXLUHG UHSDLUV DQG
                    WUHDWPHQWVH[FHHGVBBBBBBBB% RIWKH3XUFKDVH3ULFH%X\HUPD\WHUPLQDWHWKLV&RQWUDFWDQGWKH(DUQHVW0RQH\ZLOOEHUHIXQGHGWR%X\HU

           C.   RESIDENTIAL SERVICE CONTRACTS%X\HUPD\SXUFKDVHDUHVLGHQWLDOVHUYLFHFRQWUDFWIURPDUHVLGHQWLDOVHUYLFHFRPSDQ\OLFHQVHG
                E\ WKH VWDWH  ,I %X\HU SXUFKDVHV D UHVLGHQWLDO VHUYLFH FRQWUDFW 6HOOHU VKDOO UHLPEXUVH %X\HU DW FORVLQJ IRU WKH FRVW RI WKH UHVLGHQWLDO
                &RQWUDFW LQ DQ DPRXQW QRW WR H[FHHG BBBBBBBBBBBBBBBB  %X\HU VKRXOG UHYLHZ DQ\ UHVLGHQWLDO VHUYLFH FRQWUDFW IRU WKH VFRSH RI
                FRYHUDJHH[FOXVLRQVDQGOLPLWDWLRQV7KHSXUFKDVHRIDUHVLGHQWLDOVHUYLFHFRQWUDFWLVRSWLRQDO6LPLODUFRYHUDJHPD\EHSXUFKDVHGIURP
                YDULRXVFRPSDQLHVDXWKRUL]HGWRGREXVLQHVVLQWKHVWDWH
      13. BROKER’S FEES$OOREOLJDWLRQVRIWKH3DUWLHVIRUSD\PHQWRIEURNHUV¶IHHVDUHFRQWDLQHGLQVHSDUDWHDJUHHPHQWV$OO3DUWLHVKHUHLQGLUHFW
          WKH /LVWLQJ DQG 6HOOLQJ %URNHUV WR SURYLGH WKH &ORVLQJ$JHQW ZLWK FRSLHV RI WKH FRPSHQVDWLRQ DJUHHPHQWV EHWZHHQ WKH %X\HU DQG 6HOOHUV
          DQG WKHLU UHVSHFWLYH %URNHUV WR IDFLOLWDWH SD\PHQW WR WKH UHVSHFWLYH %URNHUV DW WKH WLPH RI FORVLQJ RU DV %X\HU DQG 6HOOHU DQG WKHLU UHVSHFWLYH
          %URNHU V LIDSSOLFDEOHDJUHHLQZULWLQJRQWKHDWWDFKHG                    
      14. CLOSING and FUNDING.
          $ 7KHFORVLQJRIWKHVDOHZLOOEHRQRUEHIRUHBBBBBBBBBBBBBBBBBBBBBBBBBBRUXSRQGHOD\HGFORVLQJSXUVXDQWWRWKH6XUYH\DQG7LWOH
                                                            See Special Provisions
             5HYLHZ3DUDJUDSK& ZKLFKHYHUGDWHLVODWHU &ORVLQJ'DWH ,IHLWKHU3DUW\IDLOVWRFORVHWKHVDOHE\WKH&ORVLQJ'DWHWKHQRQ
             GHIDXOWLQJ3DUW\PD\H[HUFLVHWKHUHPHGLHVFRQWDLQHGLQWKH'HIDXOW3DUDJUDSK
          % 1R)DXOW&ORVLQJ'HOD\%X\HUDQG6HOOHUDJUHHWRDFORVLQJGDWHH[WHQVLRQRIXSWRBBBBBBBBGD\V ¿YH  GD\VLIOHIWEODQN LIFORVLQJLV
             GHOD\HGGXHWRWKHDEVWUDFWLQJFRPSDQ\FORVLQJFRPSDQ\OHQGHURUWLWOHFRPSDQ\QRWXQGHUWKHFRQWURORIWKH%X\HURU6HOOHU
          & $WFORVLQJ                                 VSHFLDO
                  6HOOHUVKDOOH[HFXWHDQGGHOLYHUDJHQHUDOZDUUDQW\GHHGFRQYH\LQJWLWOHWRWKH3URSHUW\WR%X\HUDQGVKRZLQJQRDGGLWLRQDOH[FHSWLRQV
                   WR WKRVH SHUPLWWHG LQ WKH 6XUYH\ DQG 7LWOH 5HYLHZ 3DUDJUDSK &  DQ DVVLJQPHQW RI /HDVHV DQG IXUQLVKHV WD[ VWDWHPHQWV RU
                   FHUWL¿FDWHVVKRZLQJQRGHOLQTXHQWWD[HVRQWKH3URSHUW\
                  %X\HUVVKDOOSD\WKH3XUFKDVH3ULFHLQJRRGIXQGVDFFHSWDEOHWRWKHHVFURZDJHQW
                  6HOOHUDQG%X\HUVKDOOH[HFXWHDQGGHOLYHUDQ\QRWLFHVVWDWHPHQWVFHUWL¿FDWHVDႈGDYLWVUHOHDVHVORDQGRFXPHQWVDQGRWKHUGRFXPHQWV
                   UHTXLUHGRIWKHPE\WKLV&RQWUDFWWKH&RPPLWPHQWRUODZQHFHVVDU\IRUWKHFORVLQJRIWKHVDOHDQGWKHLVVXDQFHRIWKH7LWOH3ROLF\
                       8SRQ&ORVLQJWKHH[LVWLQJDEVWUDFWRIWLWOHLIRZQHGE\6HOOHUVKDOOEHFRPHWKHSURSHUW\RI%X\HU
           ' $OOFRYHQDQWVUHSUHVHQWDWLRQVDQGZDUUDQWLHVLQWKLV&RQWUDFWVXUYLYHFORVLQJ


         This form was created by the Oklahoma Real Estate Contract Form Committee and approved by the Oklahoma Real Estate Commission.
OREC FARM, RANCH, AND RECREATIONAL SALE (1-1-2022)                                                           TRUSTEE EXHIBIT 1 Page 5 of 8
                                                                                                                                                    Page 5 of 19
        21-60162-rbk Doc#533 Filed 09/09/22 Entered 09/09/22 15:54:33 Main Document Pg 43 of
                                                              58 Lenna Rd
    Farm and Ranch Contract: Canadian River Ranch - 439 Acre Parcel,
                                                                                              3URSHUW\,GHQWL¿HU
      15. POSSESSION6HOOHUVKDOOGHOLYHUWR%X\HUSRVVHVVLRQRIWKH3URSHUW\LQLWVSUHVHQWRUUHTXLUHGFRQGLWLRQRUGLQDU\ZHDUDQGWHDUH[FHSWHG
           FKHFNRQH  XSRQFORVLQJDQGIXQGLQJ DFFRUGLQJWRDZULWWHQOHDVHUHTXLUHGE\WKH3DUWLHV$Q\SRVVHVVLRQE\%X\HUSULRUWRFORVLQJRU
          E\6HOOHUDIWHUFORVLQJZKLFKLVQRWDXWKRUL]HGE\DZULWWHQOHDVHZLOOHVWDEOLVKDWHQDQF\DWVXႇHUDQFHUHODWLRQVKLSEHWZHHQWKH3DUWLHV&RQVXOW
          \RXULQVXUDQFHDJHQWSULRUWRFKDQJHRIRZQHUVKLSRUSRVVHVVLRQEHFDXVHLQVXUDQFHFRYHUDJHPD\EHOLPLWHGRUWHUPLQDWHG7KHDEVHQFHRID
          ZULWWHQOHDVHRUDSSURSULDWHLQVXUDQFHFRYHUDJHPD\H[SRVHWKH3DUWLHVWRHFRQRPLFORVV

                                        The terms and conditions set forth in the Addendum for the Stalking Horse Bidder Terms and
      16. SPECIAL PROVISIONS. __________________________________________________________________________________________
          Conditions to be attached hereto are hereby incorporated in this Contract in their entirety, which Addendum may not
          ________________________________________________________________________________________________________________
          become part of this Contract until the Bid Procedure Order has been issued by the Bankruptcy Court
          ________________________________________________________________________________________________________________
      17. SETTLEMENT AND OTHER EXPENSES
         A. 7KHIROORZLQJH[SHQVHVPXVWEHSDLGDWRUSULRUWRFORVLQJ
                  ([SHQVHVSD\DEOHE\6HOOHU 6HOOHU¶V([SHQVHV 
                      D 5HOHDVHV RI H[LVWLQJ OLHQV LQFOXGLQJ SUHSD\PHQW SHQDOWLHV DQG UHFRUGLQJ IHHV UHOHDVH RI 6HOOHU ORDQ OLDELOLW\ WD[ VWDWHPHQWV RU
                         FHUWL¿FDWHV SUHSDUDWLRQ RI GHHG RQHKDOI RI HVFURZ IHH WLWOH H[SHQVHV LQ WKH 7LWOH (YLGHQFH VXESDUDJUDSK % DQG RWKHU
                         H[SHQVHVSD\DEOHE\6HOOHUXQGHUWKLV&RQWUDFW
                                                                              0.00
                      E 6HOOHUVKDOODOVRSD\DQDPRXQWQRWWRH[FHHGBBBBBBBBBBBBBBBBWREHDSSOLHGLQWKHIROORZLQJRUGHU%X\HU¶V([SHQVHVZKLFK
                         %X\HU LV SURKLELWHG IURP SD\LQJ E\ )+$ 9$ VWDWHFRRUGLQDWHG YHWHUDQ¶V KRXVLQJ DVVLVWDQFH SURJUDPV RU RWKHU JRYHUQPHQWDO
                         ORDQSURJUDPV%X\HU¶SUHSDLGLWHPVRWKHU%X\HU¶H[SHQVHV
                 ([SHQVHVSD\DEOHE\%X\HU %X\HU¶V([SHQVHV 
                      D /RDQRULJLQDWLRQGLVFRXQWEX\GRZQDQGFRPPLWPHQWIHHV /RDQ)HHV 
                      E 7HUPLWH ,QVSHFWLRQ IHHV 3URSHUW\ ,QVSHFWLRQ IHHV $SSUDLVDO IHHV ORDQ DSSOLFDWLRQ IHHV FUHGLW UHSRUWV SUHSDUDWLRQ RI ORDQ
                         GRFXPHQWVLQWHUHVWRQWKHQRWHVIURPGDWHRIGLVEXUVHPHQWWRRQHPRQWKSULRUWRGDWHVRI¿UVWPRQWKO\SD\PHQWVUHFRUGLQJIHHV
                         FRSLHV RI HDVHPHQWV DQG UHVWULFWLRQV ORDQUHODWHG LQVSHFWLRQ IHHV SKRWRV DPRUWL]DWLRQ VFKHGXOHV RQHKDOI RI HVFURZ IHH DOO
                         SUHSDLGLWHPVLQFOXGLQJUHTXLUHGSUHPLXPVIRUÀRRGDQGKD]DUGLQVXUDQFHUHVHUYHGHSRVLWVIRULQVXUDQFHDGYDORUHPWD[HVDQG
                         VSHFLDO JRYHUQPHQWDO DVVHVVPHQWV FRXULHU IHH UHSDLU LQVSHFWLRQ XQGHUZULWLQJ IHH DQG ZLUH WUDQVIHU H[SHQVHV LQFLGHQW WR DQ\
                         ORDQWLWOHH[SHQVHVLQVXESDUDJUDSK%DQGRWKHUH[SHQVHVSD\DEOHE\%X\HUXQGHUWKLV&RQWUDFW
           B. %X\HUVKDOOSD\3ULYDWH0RUWJDJH,QVXUDQFH3UHPLXP 30, 9$/RDQ)XQGLQJ)HHRU)+$0RUWJDJH,QVXUDQFH3UHPLXP 0,3 DVUHTXLUHGE\WKH/HQGHU
            C. ,IDQ\H[SHQVHH[FHHGVDQDPRXQWH[SUHVVO\VWDWHGLQWKLV&RQWUDFWIRUVXFKH[SHQVHWREHSDLGE\D3DUW\WKDW3DUW\PD\WHUPLQDWHWKLV
               &RQWUDFWXQOHVVWKHRWKHU3DUW\DJUHHVWRSD\VXFKH[FHVV%X\HUPD\QRWSD\FKDUJHVDQGIHHVH[SUHVVO\SURKLELWHGE\)+$9$VWDWH
               FRRUGLQDWHGYHWHUDQ¶VKRXVLQJDVVLVWDQFHSURJUDPVRURWKHUJRYHUQPHQWDOORDQSURJUDPUHJXODWLRQV
      18. PRORATIONS OF TAXES7D[HVIRUWKHFXUUHQW\HDULQWHUHVWPDLQWHQDQFHIHHVDVVHVVPHQWVGXHVDQGUHQWVZLOOEHSURUDWHGWKURXJKWKH
          &ORVLQJ'DWH,IWD[HVIRUWKHFXUUHQW\HDUYDU\IURPWKHDPRXQWSURUDWHGDWFORVLQJWKH3DUWLHVVKDOODGMXVWWKHSURUDWLRQZKHQWD[VWDWHPHQWV
          IRUWKHFXUUHQW\HDUDUHDYDLODEOH,IWD[HVDUHQRWSDLGDWRUSULRUWRFORVLQJ%X\HUVKDOOSD\WD[HVIRUWKHFXUUHQW\HDU5HQWDOVZKLFKDUH
          XQNQRZQDWWLPHRIFORVLQJZLOOEHSURUDWHGEHWZHHQ%X\HUDQG6HOOHUZKHQWKH\EHFRPHNQRZQ
      19. CASUALTY LOSS,IDQ\SDUWRIWKH3URSHUW\LVGDPDJHGRUGHVWUR\HGE\¿UHRURWKHUFDVXDOW\DIWHUWKH7LPH5HIHUHQFH'DWHRIWKLV&RQWUDFW
          6HOOHUVKDOOUHVWRUHWKH3URSHUW\WRLWVSUHYLRXVFRQGLWLRQDVVRRQDVUHDVRQDEO\SRVVLEOHEXWLQDQ\HYHQWE\WKH&ORVLQJ'DWH,I6HOOHUIDLOVWR
          GRVRGXHWRIDFWRUVEH\RQG6HOOHU¶FRQWURO%X\HUPD\ D WHUPLQDWHWKLV&RQWUDFWDQGWKH(DUQHVW0RQH\ZLOOEHUHIXQGHGWR%X\HU E H[WHQG
          WKHWLPHIRUSHUIRUPDQFHXSWRGD\VDQGWKH&ORVLQJ'DWHZLOOEHH[WHQGHGDVQHFHVVDU\RU F DFFHSWWKH3URSHUW\LQLWVGDPDJHGFRQGLWLRQ
          ZLWKDQDVVLJQPHQWRILQVXUDQFHSURFHHGVDQGUHFHLYHFUHGLWIURP6HOOHUDWFORVLQJLQWKHDPRXQWRIWKHGHGXFWLEOHXQGHUWKHLQVXUDQFHSROLF\
          6HOOHUREOLJDWLRQVXQGHUWKLVSDUDJUDSKDUHLQGHSHQGHQWRIDQ\REOLJDWLRQVRI6HOOHUXQGHUWKH$FFHSWDQFHRI3URSHUW\3DUDJUDSK
      20. DEFAULT6HOOHURU%X\HUZLOOEHLQGHIDXOWLIHLWKHUIDLOVWRFRPSO\ZLWKDQ\PDWHULDOFRYHQDQWDJUHHPHQWRUREOLJDWLRQZLWKLQWKHWLPHOLPLWV
          UHTXLUHGE\WKLV&RQWUDFWTIME IS OF THE ESSENCE IN THIS CONTRACT.
          A. ,I%X\HUIDLOVWRFRPSO\ZLWKWKLV&RQWUDFW%X\HUZLOOEHLQGHIDXOWDQG6HOOHUPD\
                HQIRUFHVSHFL¿FSHUIRUPDQFHVHHNVXFKRWKHUUHOLHIDVPD\EHSURYLGHGE\ODZRUERWKRU
                WHUPLQDWHWKLV&RQWUDFWDQGUHFHLYHWKH(DUQHVW0RQH\DVOLTXLGDWHGGDPDJHVWKHUHE\UHOHDVLQJERWK3DUWLHVIURPWKLV&RQWUDFW
          B. ,IGXHWRIDFWRUVEH\RQG6HOOHU¶FRQWURO6HOOHUIDLOVZLWKLQWKHWLPHDOORZHGWRPDNHDQ\QRQFDVXDOW\UHSDLUVRUGHOLYHUWKH&RPPLWPHQWRU
               VXUYH\LIUHTXLUHGRI6HOOHU%X\HUPD\
               1) extend the time for performance up to 15 days and the Closing Date will be extended as necessary; or
                WHUPLQDWHWKLV&RQWUDFWDVWKHVROHUHPHG\DQGUHFHLYHWKH(DUQHVW0RQH\
             ,I6HOOHUIDLOVWRFRPSO\ZLWKWKLV&RQWUDFWIRUDQ\RWKHUUHDVRQ6HOOHUZLOOEHLQGHIDXOWDQG%X\HUPD\ D HQIRUFHVSHFL¿FSHUIRUPDQFHVHHNVXFKRWKHU
             UHOLHIDVPD\EHSURYLGHGE\ODZRUERWKRU E WHUPLQDWHWKLV&RQWUDFWDQGUHFHLYHWKH(DUQHVW0RQH\WKHUHE\UHOHDVLQJERWK3DUWLHVIURPWKLV&RQWUDFW
      21. DISCLAIMER AND INDEMNIFICATION,WLVH[SUHVVO\XQGHUVWRRGE\6HOOHUDQG%X\HUWKDW/LVWLQJ%URNHUDQGLWVDႈOLDWHGOLFHQVHHVDQG6HOOLQJ
          %URNHUDQGLWVDႈOLDWHGOLFHQVHHVGRQRWZDUUDQWWKHSUHVHQWRUIXWXUHFURSSURGXFWLYLW\LQFOXGLQJJUDVVHVZDWHUDYDLODELOLW\DERYHRUEHORZJURXQG
          VL]HE\VTXDUHIRRWDJHRUDFUHDJHFRQGLWLRQVWUXFWXUHRUVWUXFWXUHV\VWHPVRIWKH3URSHUW\RUDQ\EXLOGLQJQRUGRWKH\KROGWKHPVHOYHVRXWWREH
          H[SHUWVLQTXDOLW\GHVLJQDQGFRQVWUXFWLRQ6HOOHUDQG%X\HUVKDOOKROGWKH/LVWLQJ%URNHUDQGLWVDႈOLDWHGOLFHQVHHVDQG6HOOLQJ%URNHUDQGLWV
          DႈOLDWHGOLFHQVHHVKDUPOHVVLQWKHHYHQWRIORVVHVFODLPVRUGHPDQGVE\RUDJDLQVW6HOOHURU%X\HU7KLVSDUDJUDSKVKDOOVXUYLYHWKH&ORVLQJ
      22. INCURRED EXPENSES AND RELEASE OF EARNEST MONEY.
           A. INCURRED EXPENSES. %X\HU DQG 6HOOHU DJUHH WKDW DQ\ H[SHQVHV LQFXUUHG RQ WKHLU EHKDOI VKDOO EH SDLG E\ WKH 3DUW\ LQFXUULQJ VXFK
               H[SHQVHVDQGVKDOOQRWEHSDLGIURPHDUQHVWPRQH\
           B. RELEASE OF EARNEST MONEY. ,QWKHHYHQWDGLVSXWHDULVHVSULRUWRWKHUHOHDVHRIHDUQHVWPRQH\KHOGLQHVFURZWKHHVFURZKROGHU
               VKDOOUHWDLQVDLGHDUQHVWPRQH\XQWLORQHRIWKHIROORZLQJRFFXU
               $ZULWWHQUHOHDVHLVH[HFXWHGE\%X\HUDQG6HOOHUDJUHHLQJWRLWVGLVEXUVHPHQW
               $JUHHPHQWRIGLVEXUVHPHQWLVUHDFKHGWKURXJK0HGLDWLRQ
               ,QWHUSOHDGHURUOHJDODFWLRQLV¿OHGDWZKLFKWLPHWKHHDUQHVWPRQH\VKDOOEHGHSRVLWHGZLWKWKH&RXUW&OHUNRU




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                                                 58 Lenna Rd
                Canadian River Ranch - 439 Acre Parcel,




 Roger C. Broach




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                                                              58 Lenna Rd
    Farm and Ranch Contract: Canadian River Ranch - 439 Acre Parcel,
                                                                                           3URSHUW\,GHQWL¿HU
           TERMINATION OF OFFER.  7KH DERYH 2ႇHU VKDOO DXWRPDWLFDOO\ WHUPLQDWH RQ BBBBBBBBBBBBBBBBBBBBBBB DW BBBBBBBBBBBBBBBBBBBBBB
           XQOHVVZLWKGUDZQSULRUWRDFFHSWDQFHRUWHUPLQDWLRQ
           AGREED TO BY SELLER: 6HOOHUDFFHSWVWKHIRUHJRLQJRႇHUDQGVKDOOVHOOWKHDERYHGHVFULEHG3URSHUW\RQWKHWHUPVDQGFRQGLWLRQVKHUHLQVWDWHG
           DQGVKDOOSD\WKH/LVWLQJ%URNHUWKHFRPSHQVDWLRQSUHYLRXVO\DJUHHGXSRQLQWKH/LVWLQJ$JUHHPHQWRURWKHUDJUHHPHQWRIHPSOR\PHQWEHWZHHQWKHP
           ZKLFKVKDOOVXUYLYHWKLV&RQWUDFWIRUSURIHVVLRQDOVHUYLFHVUHQGHUHGDQGWREHUHQGHUHGLQWKLVWUDQVDFWLRQSeller further acknowledges receipt of Seller’
           (VWLPDWHRI([SHQVHVLQUHJDUGWRWKLVWUDQVDFWLRQDQGWKH&RQ¿UPDWLRQDQG$FNQRZOHGJHPHQWRI'LVFORVXUHVSULRUWR6HOOHU¶V$FFHSWDQFH
           On This Date
           Gregory S. Milligan, Chapter 11 Trustee
          _______________________________________________                                   ________________________________________________
          Seller’s
           eller
              err’s
              e             Name
                 ’s Printed N am
                               me                                                           Seller’s Printed Name

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          Seller’s Signature
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           Darren K. Reed
          _______________________________________________                                   ________________________________________________
          Seller’s Printed Name                                                             Seller’s Printed Name

          _______________________________________________                                   ________________________________________________
          Seller’s Signature                                                                Seller’s Signature

           Julie Reed
          _______________________________________________                                   ________________________________________________
          Seller’s Printed Name                                                             Seller’s Printed Name

          _______________________________________________                                   ________________________________________________
          Seller’s Signature                                                                Seller’s Signature


                                                  EARNEST MONEY RECEIPT AND INSTRUCTIONS

     5HFHLSWRIBBBBBBBBBBBBBBBBBBBBB           &KHFN &DVKDV(DUQHVW0RQH\'HSRVLWWREHGHSRVLWHGLQDFFRUGDQFHZLWKWKHWHUPVDQGFRQGLWLRQV
     RIWKH7HUPV3DUDJUDSK%%URNHU V DFNQRZOHGJHVUHFHLSWRI(DUQHVW0RQH\DQG/LVWLQJ%URNHULIDSSOLFDEOHVKDOOGHSRVLWVDLGIXQGVLQ
     DFFRUGDQFHZLWK3DUDJUDSKRIWKLV&RQWUDFW,IGHSRVLWHGLQDQHVFURZDFFRXQWRWKHUWKDQWKH/LVWLQJ%URNHUWKH/LVWLQJ%URNHULIDSSOLFDEOHVKDOO
     SURYLGHDFRS\RIUHFHLSWWRWKH6HOOLQJ%URNHU

     SELLING BROKER/ASSOCIATE:                                                              LISTING BROKER/ASSOCIATE:

     Kelly Hurt 155768
     ___________________________________________                                            ____________________________________________
     OREC Associate License Number                                                          OREC Associate License Number
     Land Doctors
     ___________________________________________                                            ____________________________________________
     OREC Company Name                                                                      OREC Company Name
     175234
     ___________________________________________                                            ____________________________________________
     OREC Company License Number                                                            OREC Company License Number
     29848 Co Rd 1480, Allen, OK 74825
     ___________________________________________                                            ____________________________________________
     Company Address                                                                        Company Address
     580-421-7512
     ___________________________________________                                            ____________________________________________
     Company Phone Number                                                                   Company Phone Number
     Kelly@LandDoctors.com
     ___________________________________________                                            ____________________________________________
     Associate Email                Date                                                    Associate Email                Date




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         Farm and Ranch Contract: Canadian River Ranch - 439 Acre Parcel, Lenna Rd

                                  LEGAL DESCRIPTION


       Property ID                                   Legal Description


  0000-13-10N-14E-3-001-00                   SW/4 Section 13 10N 14E (160 Acres)

                              SE/4 Section 14 10N 14E less and except 1 acre beginning SE/C SE SE
  0000-14-10N-14E-4-001-00                        N208.71' W208.71' S208.71'
                                            E208.71' POB SEC 14-10-14 (159 Acres)

  0000-23-10N-14E-1-002-00          E/2 NE/4 and NE/4 SE/4 Section 23 10N 14E (120 acres)




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             ADDENDUM FOR STALKING HORSE BIDDER TERMS AND CONDITIONS

           THIS ADDENDUM FOR STALKING HORSE BIDDER (this “Addendum”) is made a part of
  that certain Oklahoma Uniform Contract of Sale of Real Estate - Farm, Ranch and Recreational Land (the
  “Contract”) by and between Gregory S. Milligan, in his capacity as Chapter 11 Trustee (the “Trustee”)
  for the chapter 11 cases of Canadian River Ranch, LLC and Daryl Greg Smith (together, the “Debtors”),
  owners of certain interests in the real property described therein (the “Property”), and Darren Keith and
  Julie Reed (“Reed”), owners of a 10% undivided interest in certain portions of the Property, together with
  the Trustee (“Sellers”), and Roger C. Broach or his assigns (“Buyer”). In addition to the obligations of
  Sellers and Buyer contained in the Contract, Sellers and Buyer hereby agree as follows:

          Reference is hereby made to that certain (i) Trustee’s Motion for (I) Order Approving: (A) Bid
  Procedures, Including Approval of Stalking Horse Bidder; (B) Notice of Auction and Sale Hearing; and
  (C) Related Relief, and (II) Order: (A) Approving the Sale of Real Estate Free and Clear of All Liens,
  Claims, Encumbrances and Other Interests Pursuant to Bankruptcy Code Sections 105, 363(b), (f), (h) and
  (m), 365, and 503; and (B) Granting Related Relief filed by the Trustee (the “Bid Procedures Motion”)
  [D.E. __] filed on [__], 2022 in the United States Bankruptcy Court for the Western District of Texas, Waco
  Division (the “Bankruptcy Court”), and (ii) Order Granting the Bid Procedures Motion (the “Bid
  Procedures Order”) [D.E. __]. The Bid Procedures Motion also sought to establish (i) an auction (the
  “Auction”), (ii) a hearing (the “Stalking Horse Hearing”) to approve Sellers’ selection of a stalking horse
  purchaser (“Stalking Horse Purchaser”) and provision of bid protections thereto, if any, and (iii) a final
  hearing (the “Sale Hearing”) to approve the sale of the Property. All capitalized terms used herein and not
  otherwise defined shall have the same meaning as ascribed to them in the Bid Procedures Motion and Bid
  Procedures Order.

          Upon both (i) the full execution of the Contract, and (ii) the Bankruptcy Court’s entry of an order
  (“Stalking Horse Approval Order”) (a) approving the Contract and (b) unconditionally establishing
  Buyer as the Stalking Horse Purchaser (whether or not Buyer is the actual eventual purchaser of the
  Property, or is entitled, instead, to the “Break Up Fee” (as defined below)) and a Qualified Bidder, a valid
  and binding contract shall exist.

  1.       TERM; CONTRACT APPROVAL; BID PROTECTIONS:

          (a)     The “Effective Date” of the Contract shall be the first business day after the entry of the
  Stalking Horse Approval Order. The parties hereto understand, acknowledge and agree that, upon entry of
  the Stalking Horse Approval Order, the parties shall abide by the “Bid Protections” (as defined below).

          (b)      As used herein, “Bid Protections” means that if Buyer is designated as the Stalking Horse
  Purchaser and thereafter, as a result of the Auction process whereby other potential buyers are permitted to
  bid to purchase the Property, a person other than Buyer is selected to purchase the Property (such person,
  the “Successful Bidder”) pursuant to an order entered by the Bankruptcy Court (the “Sale Order”), then
  Buyer shall receive a fee (the “Break Up Fee”) equal to the sum of (i) an amount equal to two percent
  (2.0%) of the Purchase Price (as defined in the Contract), plus (ii) the amount of actual, out-of-pocket
  expenses incurred by Buyer in the negotiation of the Contract, up to a maximum amount of Ten Thousand
  and 00/100 Dollars ($10,000.00) for reimbursement of actual expenses incurred in connection with Buyer’s
  pursuit of the purchase of the Property, which Break Up Fee shall be payable from the sale proceeds at the
  closing of the sale to the Successful Bidder.

  2.       PROPERTY: Sellers agree to sell to Buyer and Buyer agrees to purchase from Sellers the Property.
  Sellers and Buyer acknowledge and agree that the legal description for the Property technically may be
  legally insufficient for the purpose of supporting an action for enforcement of the Contract. Because the


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  parties desire to execute the Contract to provide for the right of enforcement, Sellers and Buyer agree that:
  (i) they are experienced in transactions of this nature; (ii) they are familiar with the location of the Property;
  and (iii) each party waives any and all claims of an insufficient legal description, including, but not limited
  to, any and all claims under the Statute of Frauds.

  3.      TITLE: The title to the Property shall be free and clear of liens, claims, interests and encumbrances
  pursuant to 11 U.S.C. § 363(f) of the United States Bankruptcy Code, subject only to (i) Section 7.C. of
  the Contract and (ii) an exception in the event that the Closing occurs before the Sale Order has become a
  Final Order. For purposes hereof, “Final Order” shall mean with respect to the Sale Order that (a) the time
  to appeal, seek certiorari, or request reargument or further review or rehearing (collectively, “Appeal”) has
  expired and no Appeal has been timely filed, or (b) any Appeal that has been or may be filed, has been
  resolved by the highest court to which the order or judgment was appealed, from which certiorari was
  sought, or to which the request was made, and no further Appeal has been or can be taken or granted.

  4.      PURCHASE PRICE: The total purchase price for the Property shall be as set forth in Section 4.A.
  of the Contract (as may be adjusted upward following the Auction, the “Purchase Price”). Buyer shall
  deposit with the escrow agent the earnest money as more particularly set forth in Section 4.B. of the Contract
  (the “Earnest Money”).

  5.      CLOSING DATE: The closing of the Contract (“Closing”) shall take place remotely on the
  earlier of (i) September 27, 2022, and (ii) no later than three (3) calendar days after the Sale Order
  becomes a Final Order, subject to any delay of Closing as provided in Section 7.C. of the Contract.
  For the avoidance of doubt, if Buyer is not the Successful Bidder at the Auction, the provisions of
  Section 10 herein will control the disposition of the Earnest Money and obligation under this
  Section 5.

  6.       INSPECTION: Buyer may not perform any intrusive testing of the Property. Buyer shall
  indemnify Sellers against all losses, damages, expenses, and claims that may arise by reason of any entry
  by Buyer or any agent, employee or contractor of Buyer into and upon and testing of the Property pursuant
  to this Section and shall repair any damage to the Property caused by such entry.

  7.      INSPECTIONS/AS-IS, WHERE-IS. Buyer has previously inspected the Property and, by
  executing the Contract, affirms that it has approved all aspects of the Property. It is understood that Buyer
  will be relying solely on its independent inspections and evaluations of the Property in determining the
  Property’s fitness for Buyer’s intended use. The Contract is an arms-length contract between the parties
  hereto. THE PURCHASE PRICE WAS BARGAINED FOR ON THE BASIS OF AN “AS-IS, WHERE-
  IS, WITH ALL FAULTS” TRANSACTION AND REFLECTS THE CONTRACT OF THE PARTIES
  THAT THERE ARE NO REPRESENTATIONS, DISCLOSURES, OR EXPRESS OR IMPLIED
  WARRANTIES, EXCEPT THOSE IN THE CONTRACT AND THE CLOSING DOCUMENTS. AT
  CLOSING, BUYER WILL ACCEPT THE PROPERTY IN ITS THEN CURRENT CONDITION AT
  CLOSING. BUYER IS NOT RELYING ON ANY REPRESENTATIONS, DISCLOSURES, OR
  EXPRESS OR IMPLIED WARRANTIES OTHER THAN THOSE EXPRESSLY CONTAINED IN THE
  CONTRACT AND THE CLOSING DOCUMENTS. BUYER IS NOT RELYING ON ANY
  INFORMATION REGARDING THE PROPERTY PROVIDED BY ANY PERSON, OTHER THAN
  BUYER’S OWN INSPECTION AND THE REPRESENTATIONS AND WARRANTIES CONTAINED
  IN THE CONTRACT AND THE CLOSING DOCUMENTS. IT IS EXPRESSLY UNDERSTOOD AND
  AGREED THAT BUYER ACCEPTS THE CONDITION OF THE PROPERTY WITHOUT ANY
  IMPLIED REPRESENTATION, WARRANTY OR GUARANTEE AS TO MERCHANTABILITY,
  FITNESS FOR A PARTICULAR PURPOSE OR OTHERWISE AS TO THE CONDITION, SIZE OR
  VALUE OF THE PROPERTY, EXCEPT ONLY AS MAY BE OTHERWISE EXPRESSLY PROVIDED


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  IN THE CONTRACT, AND SELLERS HEREBY EXPRESSLY DISCLAIM ANY AND ALL SUCH
  IMPLIED REPRESENTATIONS, WARRANTIES OR GUARANTEES, WITHOUT LIMITING THE
  GENERALITY OF THE FOREGOING, SELLERS MAKE NO REPRESENTATIONS OR
  WARRANTIES WITH RESPECT TO (A) THE VALUE, NATURE, QUALITY, OR CONDITION OF
  THE PROPERTY BEING SOLD, (B) THE SUITABILITY OF THE PROPERTY FOR ANY
  ACTIVITIES THAT BUYER MAY CONDUCT THEREON, (C) THE COMPLIANCE OF THE
  PROPERTY WITH ANY LAWS, ORDINANCES, OR REGULATIONS OF ANY APPLICABLE
  GOVERNMENTAL ENTITY, (D) COMPLIANCE OF THE PROPERTY WITH ANY
  ENVIRONMENTAL PROTECTION, POLLUTION, OR LAND USE LAWS, RULES, REGULATIONS,
  ORDERS, OR REQUIREMENTS, INCLUDING THE EXISTENCE IN OR THE PROPERTY OF
  HAZARDOUS MATERIALS, OR (E) ANY OTHER MATTER WITH RESPECT TO THE PROPERTY,
  EXCEPT AS SET FORTH IN THE CONTRACT.

  8.       REPRESENTATIONS: Buyer acknowledges that neither Sellers nor any party on Sellers’ behalf
  have made, nor do they hereby make, any representations as to the past, present or future condition, income,
  expenses, operation or any other matter or thing affecting or relating to the Property except as expressly set
  forth in the Contract.

  9.      DEFAULT AND REMEDIES: Sellers or Buyer shall be in default under the Contract if either fails
  to comply with any material covenant, agreement or obligation within any time limits required by the
  Contract (a “Default” or “Defaults”). In the event of any purported default by Sellers, Buyer must deliver
  a notice in writing to Sellers specifying the default and affording the Sellers five (5) Business Days (as
  defined below) to cure (the “Cure Period”). Following Default by either Sellers or Buyer under the
  Contract and the expiration of the Cure Period as it relates to Sellers, the other party shall have the following
  remedies:

           (a)     If Sellers Default, Buyer may either (i) cancel and terminate the Contract, and receive a
  full refund of the Earnest Money, or (ii) seek to enforce the order approving sale through the Bankruptcy
  Court.

          (b)    If Buyer Defaults, Sellers may terminate the Contract by written notice to Buyer and retain
  the Earnest Money as liquidated damages as Sellers’ sole remedy. The parties hereby acknowledge that it
  would be extremely difficult to ascertain the extent of actual damages caused by Buyer’s Default and that
  the Earnest Money represents as fair an approximation of such actual damages as the parties can now
  determine.

          (c)     If, as a result of an alleged Default under the Contract, either Sellers or Buyer employ an
  attorney to enforce their rights, the non-prevailing party in the dispute shall, unless prohibited by law,
  reimburse the prevailing party for all reasonable attorney’s fees, court costs and other legal expenses
  incurred by the prevailing party in connection with the Default.

  10.      DISPOSITION OF EARNEST MONEY AND OTHER FUNDS AND DOCUMENTS: The
  Earnest Money shall be non-refundable upon entry of the Stalking Horse Approval Order and shall be paid
  to Sellers in the event of any termination of the Contract except as expressly set forth (i) in Section 9(a)
  hereof or (ii) this Section 10 as follows:

           (a)     The Earnest Money shall be held in a segregated account by the Title Company until no
  later than ten (10) days after the Sale Hearing.

          (b)     If the Buyer is not the Successful Bidder or the Back-Up Bidder, the Earnest Money shall
  be refundable and shall be returned to the Buyer no later than ten (10) days after the Sale Hearing.

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          (c)      If the Buyer is the Successful Bidder, upon delivery of the special warranty deed, as more
  particularly described in Section 14.C.1. of the Contract (the “Deed”), at Closing, the Earnest Money shall
  be credited against the Purchase Price.

           (d)      If the Buyer is the Back-Up Bidder, the Earnest Money shall continue to be held by the
  Sellers until the first to occur of (i) sixty (60) days after completion of the Auction, (ii) consummation of
  the transaction with the Successful Bidder, or (iii) the Back-Up Bidder’s receipt of notice from the Sellers
  of the release by Sellers of the Back-Up Bidder’s obligations, at which time the Earnest Money shall be
  returned to the Buyer. Following the Sale Hearing, if the Successful Bidder fails to consummate an
  approved Sale Transaction because of a breach or failure to perform on part of such Successful Bidder or
  otherwise, the Back-Up Bidder will be deemed to be the new Successful Bidder, and the Sellers will be
  authorized to consummate the sale with the Back-Up Bidder, at which time, upon delivery of the Deed at
  Closing, the Earnest Money shall be credited against the Purchase Price. Additionally, the Earnest Money
  will become immediately non-refundable upon the Buyer becoming the new Successful Bidder.

  11.      REVERSAL ON APPEAL. If the Buyer is the Successful Bidder and pays the Purchase Price and
  if the Sale Order is reversed on Appeal and such reversal affects the validity of the sale to Buyer, then the
  Buyer shall be entitled to a refund of the Purchase Price from the Sellers in proportion to their ownership
  interests as set forth in the recitals hereto.

  12.     FIDUCIARY OUT. Notwithstanding any of the terms of the Contract or this Addendum, in the
  event that prior to entry of the Stalking Horse Approval Order the Trustee determines in good faith, after
  consultation with counsel, that it is necessary to do so in order to comply with his fiduciary duties to the
  Debtors’ bankruptcy estates, the Trustee may adjourn, withdraw, or modify the Bid Procedures Motion or
  otherwise elect to not seek Bankruptcy Court approval of the Contact. In the event the Stalking Horse
  Approval Order is not entered as a result of the Trustee’s failure to seek entry of such order pursuant to this
  Section 12 or otherwise, the Contract shall be of no force and effect.

  13.      NOTICES: All notices required under the Contract shall be deemed to be properly served if
  reduced to writing and sent by (i) certified or registered mail; (ii) Federal Express or similar overnight
  courier; (iii) facsimile transmission; or (iv) personal delivery and the date of such notice will be deemed to
  have been the date on which such notice is delivered or attempted to be delivered as shown by the certified
  mail return receipt or a commercial delivery service record, or in the case of facsimile on the date of receipt
  of the transmission as shown on a successful transmission confirmation receipt; provided, however, if the
  date for the performance of any action or obligation, or any time period specified hereunder occurs on a
  day other than a Business Day, then such date or time period shall be extended until the next Business Day.
  All notices shall be addressed as follows, unless otherwise specified in writing:

   SELLERS:                                                 BUYER:

   Daryl Greg Smith                                         Roger C. Broach
   5826 Cooksey Lane                                        7667 East 46th Place
   Waco, Texas 76706                                        Tulsa, OK 74145
   Email: dsmith1114@gmail.com                              Email: roger@broach.com

   With a Copy to:                                          With a Copy to:

   c/o Gregory S. Milligan                                  __________________________
   Chapter 11 Trustee for Canadian River Ranch,             __________________________
   LLC and Daryl Greg Smith                                 __________________________
   P.O. Box 90099                                           __________________________

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   Austin, TX 78709                                         Email:
   Email: gmilligan@harneypartners.com

   and

   Waller Lansden Dortch & Davis, LLP
   c/o Morris Weiss
   100 Congress Ave., Suite 1800
   Austin, Texas 78701
   Fax: (512) 685-6417
   Email: Morris.Weiss@Wallerlaw.com


   Darren Keith and Julie Reed
   611 S. Llano
   Whitney, Texas 76692
   Email: dkeithreed@yahoo.com

   With a Copy to:

   R. Rene Escobedo
   6800 Park Ten Blvd., Suite 135-E
   San Antonio, Texas 78213
   Fax: (210) 223-3815
   Email: rene.escobedo@rre-law.com


  14.     TIME AND EXACT PERFORMANCE ARE OF THE ESSENCE UNDER THE CONTRACT.
  Buyer and Sellers hereby agree to perform each and every obligation hereunder in a prompt and timely
  manner; provided, however, if the date for the performance of any action or obligation, or any time period
  specified hereunder occurs on a day other than a Business Day, then the date or time period shall be
  extended until the next Business Day. As used herein “Business Day” shall mean any calendar day other
  than a Saturday, Sunday, or Oklahoma or Federal legal holiday.

  15.      ADDITIONAL TERMS:

          (a)     Permits and Approvals. Sellers shall reasonably cooperate with Buyer in verifying any
  existing governmental approvals and in seeking and making any inquiries related to the Property, as
  reasonably determined necessary by Buyer, provided such cooperation is at no cost or expense to Sellers.
  Sellers make no representations or warranties about the existence of or effectiveness of any governmental
  approvals.

          (b)       Assignment. Buyer may assign the Contract to any entity formed by Buyer for the purpose
  of taking title to the Property, provided the assignee assumes, in writing, all obligations and liabilities of
  Buyer under the Contract and has the same beneficial ownership as the Buyer, and with approval of the
  Bankruptcy Court. Unless agreed to by Sellers, Buyer shall not be relieved of any liability hereunder upon
  such an assignment.

          (c)    Miscellaneous. This Addendum shall be governed by, and construed and interpreted under,
  the laws and judicial decisions of the State of Oklahoma. This Addendum and all covenants, terms,
  conditions, warranties, and undertakings contained herein, and all amendments, modifications and

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  extensions hereof, as applicable, shall be binding upon and shall inure to the benefit of the parties hereto
  and their respective heirs, executors, administrators, personal representatives, successors and permitted
  assigns. This Addendum may be executed in multiple counterparts, each of which shall be deemed an
  original, but taken together shall constitute one instrument. Sole and exclusive jurisdiction over any disputes
  related to this Addendum and the Contract shall be in the United States Bankruptcy Court for the Western
  District of Texas, Waco Division.

        (d)   CONFLICTS OF PROVISIONS. SELLERS AND BUYER HEREBY ACKNOWLEDGE
  AND AGREE THAT THE TERMS AND CONDITIONS OF THIS ADDENDUM SUPERSEDE ANY
  DIFFERENT OR INCONSISTENT PROVISIONS IN THE CONTRACT AND, AS A RESULT, IN THE
  EVENT OF ANY CONFLICT BETWEEN THE TERMS AND CONDITIONS OF THE CONTRACT
  AND THE TERMS AND CONDITIONS OF THIS ADDENDUM, THE TERMS AND CONDITIONS
  OF THIS ADDENDUM SHALL CONTROL.

  16.     ENTIRE AGREEMENT AND MANNER OF MODIFICATION: The Contract, and any
  attachments or addenda thereto, constitutes the complete agreement of the parties concerning the Property,
  and supersedes all other agreements and may be modified only by both parties initialing changes in the
  Contract or by written agreement. However, in the event of any conflict between the Contract and the Sale
  Order, the terms of the Sale Order shall prevail.

  17.      NO RULE OF STRICT CONSTRUCTION: Each party and its counsel has reviewed and jointly
  participated in the establishment of the Contract and the attachments or addenda thereto. No rule of strict
  construction or presumption that ambiguities will be construed against any drafter will apply, and no
  presumptions will be made or inferences drawn because of the final inclusion of a term not contained in a
  prior draft or the final deletion of a term contained in a prior draft.


                                        [Signatures on Following Page]




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          IN WITNESS WHEREOF, Sellers and Buyer execute this Addendum on the date(s) indicated
  below their respective signatures.

   SELLERS:                                         BUYER:

                                                    _______________________________
   GREGORY
       EGOR
       EG  RY S.S M
                  MILLIGAN,
                    ILLIGA
                    IL     AN, C
                               Chapter 11 Trustee   Roger Broach
       Canadiian River Ranch,
   for Canadian        Ranch LLC
                              LL and Daryl Greg
   Smith in Case No. 21-60162 before the United     Date:_______________________________
   States Bankruptcy for the Western District of
   Texas, Waco Division

   Date: July 14, 2022




   DARREN KEITH REED and JULIE REED

   Date:




                                                                                          Signature Page
                                                                        Stalking Horse Bidder Addendum

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